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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

JOHN STEVEN GARDNER                                 )
               Petitioner                           )
                                                    )        1:10-CV-610
v.                                                  )
                                                    )
RICK THALER, Director                               )
Texas Department of Criminal Justice,               )        (Death Penalty Case)
Correctional Institutions Division,                 )
                       Respondent                   )




                      PETITION FOR WRIT OF HABEAS CORPUS
                                           &
                            Motion for Evidentiary Hearing
                             Motion To Expand the Record
                              (separately filed pleadings)

                                               &
                                             Exhibits
                                        in Support Thereof



                                DEATH-PENALTY CASE




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                                  TABLE OF ABBREVIATIONS

        The following are a list of abbreviations used within the pleading:

CR __:__                CR is the abbreviation for Clerk’s Record, as required by TEX . R. APP . PROC.
                        34.1. It is followed by the volume number before the colon, and the page
                        numbers after the colon.

RR __:__                RR is the abbreviation for Reporter’s Record, pursuant to TEX . R. APP . PROC.
                        34.1,which is the trial transcript testimony recorded by the court reporter.
                        The abbreviation RR is followed by the volume number before the colon, and
                        the page numbers after the colon.




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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

JOHN STEVEN GARDNER                                      )
               Petitioner                                )
                                                         )      1:10-CV-610
v.                                                       )
                                                         )
RICK THALER, Director                                    )
Texas Department of Criminal Justice,                    )      (Death Penalty Case)
Correctional Institutions Division,                      )
                       Respondent                        )



           _____________________________________________________________


                          PETITION FOR WRIT OF HABEAS CORPUS


        JOHN STEVEN GARDNER (hereinafter also referred to as Petitioner, Applicant, or

GARDNER) petitions pursuant to 28 U.S.C. § 2241 & 28 U.S.C.§ 2254 for a writ of habeas corpus

because he is confined by the State of Texas under a sentence of death, in violation of the laws and

Constitution of the United States.

        JOHN STEVEN GARDNER has never sought federal habeas corpus relief for this

conviction and sentence before. This is his first appearance in federal district court for any purpose.




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                                          INTRODUCTION

        Estrangement killings, which are named “uxoricide” when the wife is killed, take place

when one spouse leaves or attempts to leave the other. This phenomena was well established and

published in the research literature at least six years prior to Petitioner’s trial. The leading

researcher is Donald G. Dutton, Ph.D. See Donald G. Dutton and Greg Kerry, Modus Operandi and

Personality Disorder in Incarcerated Spousal Killers, 22 International Journal of Law & Psychiatry

287, 287 (1999). Testifying at a divorce proceeding is irrelevant. Uxoricide occurs even absent a

divorce proceeding.

        Dutton and Kerry explain that men, who kill their female companions with excessive force

when faced with recent or imminent abandonment, are men who experience abandonment rage

(“abandonment rage theory”). Abandonment rage has its origins in early development and is

predicated on attachment disorder. Real or threatened termination of the relationship – as in the case

at bar – are the most typical scenarios that result in uxoricide. See Exhibit C: Affidavit of Gilda

Kessner, Psy.D., para. 26.

        The claims raised in this (and in the state) habeas petition pivot on – and prove by clear and

convincing evidence that the mitigation investigation was not adequate. These claims – contrary

to the prosecution’s assertions – are not about whether the abandonment rage theory was or was

not an efficacious theory. Set aside the abandonment rage theory altogether. What remains is the

glaring fact that the mitigation investigation was inadequate, and that no one on the defense team,

or their consultants, had adequate information about Mr. Gardner’s psycho-social history throughout

any phase of the trial. As a result, the defense was completely unable to identify, develop and

present any coherent theme or theory that was effective in all phases of the trial to explain the


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behavior of Mr. Gardner – such as the abandonment rage theory with its genesis in attachment

disorder.

         Trial counsel themselves made an admission-against-interest in state habeas by attesting that

their trial expert, Dr. Allen, “decided she didn’t want to testify [to attachment disorder] because of

lack of information....” Affidavit of House and Hultkrantz, p. 9. Contrast this admission-against-

interest by the defense lawyers against FFCL No. 68 d., which conveniently omits this crucial fact.

Drafted by the prosecutors, and signed verbatim by the state judge, FFCL No. 68 d. recites that Dr.

Allen did not want to testify solely because Dr. Allen “concluded that Applicant was psychotic....”

Compare FFCL No. 68, d. with Affidavit of House and Hultkrantz, p. 9.

         Dr. Kessner, another trial expert, attested in state habeas that she had “had a telephone

conference and in-person conferences with the defense attorneys and various members of the

defense team. I voiced my concern that there were important corroborating witnesses who were not

being located and interviewed for mitigation.”State Habeas Exhibit C: Affidavit of Gilda Kessner,

Psy.D.

         And in its September 15, 2010 order, the Texas Court of Criminal Appeals, explicitly refused

to adopt FF No. 67 that defense counsel “did not believe that their investigation was impaired....”1

Put another way, the TCCA implicitly ruled that the mitigation investigation was impaired.




   1
        FF No. 67 recited that defense counsel “did not believe that their investigation was
impaired,” because “their mitigation expert, Shelli Schade, was ‘overly close’ with Applicant
and his family.” (Emphasis supplied)

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         The capital guidelines instruct that mitigation is not separate from issues relating to guilt

or innocence.2 The trial attorneys could not defend against the enhancement elements of retaliation

or burglary, because they did not have sufficient information about their client’s psycho-social

history. Absent this information, they lack any “strategic” choice by which to challenge the

burglary/retaliation elements in the guilt/innocence phase. Compare FF No. 46. Had the mitigation

investigation been adequate, the defense could have shown that the killing of Tammy Gardner was

the result of abandonment rage and trauma (which at best, was a non-capital offense resulting in a

term of years, instead of a sentence of death) – and not because Tammy was going to testify, or

because Petitioner entered Tammy house without consent.

        Similarly, in the punishment phase, it was impossible for the defense “to humanize Steve.”

Compare FF No. 48. They did not have the crucial information to do so. To the contrary, the

“defense” of Mr. Gardner, such as it was, left unanswered the state’s case-in-chief. The State had

contrasted Mr. Gardner, as a child, raised by a “mother and father [who] made him pray on his knees

every morning,” and whose “parents are still together,” and who visit the grandchildren, (Vol.

23:114-115), against Mr. Gardner, as an adult male, who made repeated choices to perpetrate

violence on women, sexually molest and/or physically assault the daughters of his former wives, and

commit acts of sexual indecency in public. (Vol. 23:28).

        Although the state court labeled the state habeas mitigation evidence and theory as

“significantly harmful information,” “not compelling,” and “not [making] a difference,” there is



   2
        The capital guidelines instruct that “it is important to dispel any motion that mitigation is
        separate from issues relating to the guilt or innocence of the accused. They are
        intricately linked.” al ABA GUIDELINE 10.4 (2008) located in O’BRIEN , 36 HOFSTRA L.
        REV . 693, 703 (6/15/2008).

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clear and convincing evidence that proves otherwise. The mitigation evidence discovered in state

habeas revealed that the repeated instances of domestic violence, and a depraved lifestyle, engaged

in by Petitioner, had its origins in attachment disorder – a concept well-recognized in the mental

health field. Not novel, the abandonment rage theory is itself predicated on attachment disorder. The

abandonment rage theory is the product of years of research by Dr. Dutton into domestic abuse and

spousal killing, and was long established in the research literature prior to trial. See State Habeas

Exhibit C: Affidavit of Gilda Kessner, Psy.D., paras. 13, 24; Donald G. Dutton and Greg Kerry,

Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, 22 International Journal

of Law & Psychiatry 287, 287 (1999).

        The state-habeas mitigation-investigation revealed that there were lay witnesses whose

testimony would have provided first-hand accounts about the rigid religious environment and

childhood abuse experienced by Mr. Gardner. Expert witness testimony would have explained

Petitioner’s domestic violence, with its origins in Petitioner’s psycho-social history. At the

psychological level, Dr. Dutton’s work would have explained how the violent-Gardner-household,

with rigid enforcement of strict rules by a remote, depressed, angry, former alcoholic father, resulted

in Petitioner’s depraved lifestyle. At the neurobiological level, Dr. Dutton’s work provides an

explanation and context for domestic abuse and spousal killings by demonstrating a neurobiological

link between abandonment and homicidal rage. And the jurors’ affidavits obtained in state habeas

– which contradict trial counsel’s attestations in state habeas – affirm that Collin County juries

would have responded to the abandonment rage theory.

        Accordingly, Mr. Gardner had made a prima facie showing in each of his claims in state

court, so Panetti v. Quarterman, 551 U.S. 930, 953 (2007) requires that this court conduct a full de


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novo review without deference to the state court fact findings. See also Rivera v. Quarterman, 505

F.3d 349, 356 (5th Cir. 2007). (“[i]f the state court's decision runs afoul of [AEDPA’s] limits [in

determining if a state court decision is “contrary to” or “unreasonable application of” federal law],

then federal court review ‘is unencumbered by the deference AEDPA normally requires.’”).

        Thereafter, habeas relief should be granted because without an adequate investigation into,

and development of, Mr. Gardner’s psycho-social history, defense counsel was constitutionally

ineffective in all phases of the trial. Strickland v. Washington, 466 U.S. 668, 686 (1984); Rompilla

v. Beard, 545 U.S. 374 (2005), Wiggins v. Smith, 539 U.S. 510 (2003); U.S. CONST . Amend. VI.




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                                     PROCEDURAL HISTORY

        A.      BASIS OF CONFINEMENT.

        John Steven Gardner, inmate number #999-516, is confined by the Texas Department of

Criminal Justice, Institutional Division, by Rick Thaler, Director, Texas Department of Criminal

Justice. Petitioner is being denied his liberty and also faces execution under an unconstitutional

conviction for capital murder and the concomitant sentence of death.



        B.      OVERVIEW OF PROCEDURAL HISTORY .

        1.      Indictment. By re-indictment filed on May 23, 2006, Gardner was charged in trial

court cause number 219-81121-06 with capital murder, because on or about January 23, 2005, he

did then and there

        intentionally and knowingly cause the death of Tammy Dawn Gardner, an
        individual, hereinafter called deceased, by shooting deceased with a firearm, a deadly
        weapon, while the defendant was in the course of committing or attempting to
        commit the offense of burglary by then and there intentionally and knowingly
        entering a habitation without the effective consent of deceased, the owner thereof,
        and committing the felony offense of murder; and while the defendant was in the
        course of committing or attempting to commit the offense of retaliation by then and
        there intentionally and knowingly harming or threatening to harm deceased by an
        unlawful act, to wit: causing the death of deceased in retaliation for or on account of
        deceased’s service or status as a prospective witness.

(CR 1:6). This was a re-indictment from Cause Nos. 219-80411-05 and 219-81637-05. (Cause No.

219-81121-06, CR 1:6; Cause No. 219-80411-05, CR 2:637; Cause No. 219-81637-05, CR 2:491).

        2.      Jury Trial. On February 3, 2005, W.B. House, SBOT 10044000, was appointed as

first chair to represent Mr. Gardner in his capital trial. (Cause No. 219-80411-05, CR 1:10).

        On February 16, 2005, the court granted the defense motion for a fact investigator, Randi

Ray. (Cause No. 219-80411-05, CR 1:4).

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        January, 2006 was scheduled for the hearing on pre-trial motions. (Cause No. 219-81637-05,

CR 2:445). The pre-trial motions hearing was rescheduled because lead counsel, House, had been

admitted to Presbyterian Hospital for a medical emergency on 1-17-06. (Cause No. 219-80411-05,

CR 2:597).

        In October and November, 2006, individual voir dire took place, with both sides announcing

ready to proceed on November 7, 2006. (Cause No. 219-81121-06, Docket Sheet).

        On November 7, 2006, the jury was sworn in and the trial began. (Cause No. 219-81121-06,

Docket Sheet). On November 7, 2006 and November 8, 2006, the State presented its case. (Cause

No. 219-81121-06, Docket Sheet). On November 8, 2006, the defense rested. (Cause No. 219-

81121-06, Docket Sheet).

        On November 9, 2006, following a two day trial on the merits, and only 4.5 hours of

deliberation (10:30 am jury out; returned 3:00 pm), the jury returned a verdict of guilty of capital

murder. (Cause No. 219-81121-06, Docket Sheet; CR 2:608).

        On November 13, 2006, the State presents its case-in-chief in the punishment phase. On

November 14, 2006, the defense presents its case. The defense did not call any expert witnesses.

Instead, it called William Miles to testify that he believed that Petitioner had “full confidence in the

finished work of Christ on the cross” in his heart. (RR 2311). The defense called Kelly Dowdy to

testify that Petitioner was “a good worker,” when she worked with him at Wal-Mart. (RR 23:17).

 The defense also called Juan Sewell, the victim’s former husband, who testified that Tammy

Gardner could be manipulative. (RR 23:23). And finally, the defense called Elaine Holified,

Petitioner’s sister, who testified that their father (a preacher) forced her and Petitioner to have daily




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devotionals, that their parents were violent with one another, and that she and Petitioner suffered

physical abuse at the hands of their parents. (RR 23:29,32-33, 35).

          The State put on rebuttal witnesses, and both sides closed. In closing argument, the

prosecutor argued: “the evidence shows, after looking at all of it, there is nothing sufficiently

mitigating to warrant a life sentence for this defendant.” (Cause No. 219-81121-06, Docket Sheet;

RR 23: 85). The jury deliberated a mere 2 hours. (Cause No. 219-81121-06, Docket Sheet). The

jury answers special issue 1, future dangerousness, “yes.” The jury answers special issue 2,

mitigation, no. (Cause No. 219-81121-06, Docket Sheet; CR 2:616-617, 619-620).

          On November 14, 2006, Mr. Gardner was sentenced to death for the 1-23-05 capital murder

of Tammy Gardner, with a deadly weapon finding. (Cause No. 219-81121-06, Docket Sheet; CR

2:618).



          3.     Direct Appeal. On November 21, 2006, Manuel Gonzalez was appointed as direct

appeal counsel. (Cause No. 219-81121-06, CR 2:624). Because he was not on the “approved list,”

he was replaced by Steven Miears, as direct appeal counsel. (Trial Court Order, dated April 11,

2008).

          On December 14, 2006, direct appeal counsel filed a Motion for New Trial, arguing the

verdict was contrary to the law and weight of the evidence because of an impermissible comment

by the trial judge on the weight of the evidence prior to jury deliberations. (Cause No. 219-81121-

06, CR 2:625).

          Mr. Gardner filed his direct appeal brief, which contained eleven (11) issues:




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        1.      The Evidence is Legally Insufficient to Sustain the Jury’s Determination of
                Guilt.

        2.      The Evidence is Factually Insufficient to Sustain the Jury’s Determination of
                Guilt.

        3.      The Trial Court Improperly Denied Defense Challenges to Veniremembers,
                Donna Kay Williams, Donna Crabtree, William Chambers, David Sanford,
                and Susan McMillan.

        4.      The Trial Court Improperly Disqualified Veniremember Charles Perry.

        5.      The Trial Court Erred in Permitting a State’s Witness to Testify About and
                Describe the Contents of a 9-1-1- Call.

        6.      The Trial Court Erred in Admitting State’s Exhibit 36.

        7.      The Trial Court Erred in Admitting State’s Exhibit 61.

        8.      The Trial Court Erred in Refusing to Submit A Court’s Charge Requiring a
                Unanimous Verdict on Guilt Innocence.

        9.      The Trial Court Erred in Overruling Appellant’s Written Objections to the
                Court’s Charge on Punishment.

        10.     The Trial Court Erred in Failing to Sustain Defense Counsel’s
                Objection to Improper Jury Argument by Counsel for the State.

        11.     The Trial Court Erred in Failing to Provide Appellant the
                Opportunity to Prove His Allegations in a Hearing on Appellant’s
                Motion for New Trial.

        In a published opinion, Gardner v. State, 306 S.W.3d 274 (Tex. Crim. App. 2010), the Texas

Court of Criminal Appeals affirmed the conviction and sentence of death holding that 1) the

evidence was legally and factually sufficient to support murder conviction; (2) the evidence was

legally and factually sufficient, as to underlying felony of burglary, to prove that defendant did not

have wife's consent to enter her home; (3) the wife's statement during 911 call that defendant had

shot her was admissible as dying declaration; (4) the red robe was sufficiently authenticated as


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wife's; (5) the defendant was not “in custody” at time of phone conversation with detective; (6) the

trial court did not abuse its discretion in denying defendant's for-cause challenges to prospective

jurors; (7) the jury did not need to be unanimous concerning which felony defendant was in the

course of committing at time of killing; (8) there was no presumption in favor of a life sentence in

capital murder case; (9) any impropriety in punishment-phase closing argument was not so

manifestly improper as to constitute reversible error; and (10) the trial court did not abuse its

discretion in failing to conduct a hearing on motion for new trial.

        On October 04, 2010, the U.S. Supreme Court denied the petition for writ of certiorari.

Gardner v. Texas, 131 S.Ct. 103 (2010).



        4.      State Habeas. On December 29, 2006, undersigned counsel, Lydia Brandt, was

appointed to represent Mr. Gardner in this state habeas. (CR 5:1876; Order of Texas Court of

Criminal Appeal, dated Dec. 29, 2006). The State of Texas filed its direct appeal brief on May 11,

2009. Under TEX . CODE CRIM . PROC. 11.071 § 4(a), the application for writ of habeas corpus is due

“not later than the 45th day after the date the state’s original brief is filed on direct appeal with the

court of criminal appeals....” However, TEX . CODE CRIM . PROC. 11.071 § 4(b) permits the trial

judge to grant one, ninety (90) day extension for good cause. Mr. Gardner requested that ninety (90)

day extension, and the trial court granted it, making the application for writ of habeas corpus due

on or before September 23, 2009. The Application was timely filed.

        On May 12, 2010, the state district judge denied the request for an evidentiary and signed

verbatim the Findings of Fact and Conclusions of Law drafted by the State of Texas. On September

15, 2010, the Texas Court of Criminal Appeals entered an order, which reads in pertinent part:


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        Applicant presented five allegations in his application in which he challenges the
        validity of his conviction and sentence. The trial court did not hold a live evidentiary
        hearing. As to all of these allegations, the trial judge entered findings of fact and
        conclusions of law and recommended that relief be denied.

        This court has reviewed the record with respect to the allegations made by applicant.
        We agree with the trial judge’s recommendation and adopt the trial judge’s findings
        and conclusions, except for findings paragraphs 67, 85, and 86. In addition, we do
        not adopt the phrase, “at China Blue’s direction,” in findings paragraph 81. We also
        observe that the work, “first,” in findings paragraph 94 ( c) should be changed to the
        word, “second.” Based upon the trial court’s findings and conclusions and our own
        review of the record, relief is denied.

Ex parte John Steven Gardner, Order, Texas Court of Criminal Appeals (Sept 15, 2010).



        5.      Federal Habeas. Pursuant to 18 U.S.C. § 3599(a), and within the fifteen (15) day

time period required by TEX . CODE CRIM . PROC. 11.071, sec. 2(e), undersigned counsel, Lydia

Brandt, was appointed to represent Mr. Gardner in this federal habeas proceeding.




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                                     STANDARD OF REVIEW

        Title 28, section 2254(d) of the United States Code provides:

        An application for a writ of habeas corpus on behalf of a person in custody pursuant
        to the judgment of a State court shall not be granted with respect to any claim that
        was adjudicated on the merits in State court proceedings unless the adjudication of
        the claim –

                (1)     resulted in a decision that was contrary to, or involved an
                        unreasonable application of, clearly established Federal law, as
                        determined by the Supreme Court of the United States; or

                (2)     resulted in a decision that was based on an unreasonable
                        determination of the facts in light of the evidence presented in the
                        State court proceeding.

28 U.S.C. § 2254(d) (emphasis supplied).

        The threshold question the court must answer under 28 U.S.C. § 2254(d) is whether the claim

“was adjudicated on the merits in State court proceedings.” “An ‘adjudication on the merits’ occurs

when the state court resolves the case on substantive grounds, rather than procedural grounds.”

Valdez v. Cockrell, 274 F.3d 941, 946-947 (5th Cir. 2001), citing Mercadel v. Cain, 179 F.3d 271,

273 (5th Cir.1999) (holding that whether an adjudication on the merits has occurred is whether the

state court disposed of the case on substantive or procedural grounds).



                A.      Adjudication on the Merits

        When the state court adjudicated the claim on the merits, pure questions of law and mixed

questions of law and fact are reviewed under the contrary to, or unreasonable application prong of

§ 2254(d)(1), Valdez v. Cockrell, 274 F.3d 941, 946 (5th Cir. 2001); Martin v. Cain, 246 F.3d 471,

475 (5th cir. 2001).



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                1.      Contrary to federal law – § 2254(d)(1). “[A] state-court decision is

contrary to [U.S. Supreme] Court’s precedent if the state court arrives at a conclusion opposite to

that reached by this Court on a question of law. Second, a state-court decision is also contrary to

[U.S. Supreme] Court’s precedent if the state court confronts facts that are materially

indistinguishable from a relevant Supreme Court precedent and arrives at a result opposite to [that

of the U.S. Supreme Court]....” Williams v. Taylor, 529 U.S. 362, 405 (2000).

                2.      Unreasonable application of federal law – § 2254(d)(1). “[A] state-court

decision involves an unreasonable application of [U.S. Supreme] Court’s precedent if the state court

identifies the correct governing legal rule from [U.S. Supreme] Court’s cases but unreasonably

applies it to the facts of the particular state prisoner's case. Second, a state-court decision also

involves an unreasonable application of [U.S. Supreme] Court’s precedent if the state court either

unreasonably extends a legal principle from our precedent to a new context where it should not

apply or unreasonably refuses to extend that principle to a new context where it should apply.”

Williams v. Taylor, 529 U.S. 362, 407 (2000). “[A]n unreasonable application of federal law is

different from an incorrect application of federal law.” Williams, 529 U.S. at 410. “Under §

2254(d)(1)’s ‘unreasonable application’ clause, then, a federal habeas court may not issue the writ

simply because that court concludes in its independent judgment that the relevant state-court

decision applied clearly established law erroneously or incorrectly. Rather, that application must

also be unreasonable.” Williams, 529 U.S. at 411.

                3.      Unreasonable determination of facts – §2254(d)(2). When the state court

adjudicated the claim on the merits, questions of fact are reviewed under § 2254(d)(2). Hill v.

Johnson, 210 F.3d 481, 485 (5th Cir. 2000). “Under [28 U.S.C. § 2254](d)(2), a state court decision


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may be overturned on factual grounds if its determinations of fact are "objectively unreasonable in

the light of the evidence presented in the state-court proceeding". Guidry v. Dretke, 397 F.3d 306,

316-317 (5th Cir. 2005) citing Miller-El, 537 U.S. 322, 340 (2003).

                4.      Presumption of correctness of fact issue – § 2254(e)(1). A determination

of a factual issue made by a State court shall be presumed to be correct. Gardner v. Johnson, 247

F.3d 551, 557 (5th Cir. 2001). The “presumption of correctness not only applies to explicit findings

of fact, but it also applies to those unarticulated findings which are necessary to the state court's

conclusions of mixed law and fact.” Valdez v. Cockrell, 274 F.3d 941, 948 n.11 (5th Cir. 2001). The

presumption of correctness can be rebutted by clear and convincing evidence. Barnes v. Johnson,

160 F.3d 218, 222 (5th Cir. 1998), quoting 28 U.S.C. § 2254(e)(1).

                5.      Richter (summary disposition), and Pinholster (facts presented for first

time in federal habeas).      In Harrington v. Richter, 131 S.Ct. 770 (2011), the Supreme Court

addressed the issue of whether the limitation on relief found in § 2254(d) applied when the denial

of the claim on the merits took the form of a “summary disposition.” The Court held: “Under §

2254(d), a habeas court must determine what arguments or theories supported or, as here [in

Richter], could have supported, the state court's decision; and then it must ask whether it is possible

fairminded jurists could disagree that those arguments or theories are inconsistent with the holding

in a prior decision of this Court.”

        In Cullen v. Pinholster, 131 S.Ct. 1388 (2011) at issue was whether facts presented for the

first time during federal habeas proceedings could be considered by a federal court when deciding

if a state court denial of relief was contrary to, or involved an unreasonable application of, clearly




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established federal law under § 2254(d)(1).3 The Supreme Court observed: “Our cases emphasize

that review under § 2254(d)(1) focuses on what a state court knew and did.” Pinholster, 131 S.Ct.

at 1399. The Court held: “evidence introduced in federal court has no bearing on § 2254(d)(1)

review. If a claim has been adjudicated on the merits by a state court, a federal habeas petitioner

must overcome the limitation of § 2254(d)(1) on the record that was before that state court.”

Pinholster, 131 S.Ct. at 1400.

        Pinholster did not allege that the state court in any way prevented or impeded his

development of facts in support his claims. At least since Williams v. Taylor, 529 U.S. 410 (2000),

it has been settled law that a prisoner who diligently attempted to develop the facts, but was

prevented from doing so by the state court, will not be barred by 28 U.S.C. § 2254(e)(2) from fact

development in federal habeas. “Comity is not served by saying a prisoner ‘has failed to develop

the factual basis of a claim’ where he was unable to develop his claim in state court despite diligent

efforts.” Williams v. Taylor, 529 U.S. at 437. Pinholster did nothing to change this holding.

        A petitioner can still develop and present his evidence in federal court, even when the factual

basis of a claim previously adjudicated on the merits of an underdeveloped record that was before

the state court, provided he can overcome the limitation of § 2254(d). In making a showing to

overcome the limitation of § 2254(d), the federal court asks if, assuming the truth of all of the



   3
        It is to be noted that Pinholster did not allege that the state court in any way prevented or
impeded his development of facts in support his claims. At least since Williams v. Taylor, 529
U.S. 410 (2000), it has been settled law that a prison who diligently attempted to develop the
facts, but was prevented from doing so by the state court, will not be barred by 28 U.S.C. §
2254(e)(2) from fact development in federal habeas. “Comity is not served by saying a prisoner
‘has failed to develop the factual basis of a claim’ where he was unable to develop his claim in
state court despite diligent efforts.” Williams v. Taylor, 529 U.S. at 437. Pinholster did nothing
to change this holding.

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allegations and evidence that the petitioner put before the state court, that state court’s determination

that the petitioner failed to state a claim for relief was “contrary to” or “involved an unreasonable

application of” clear established federal law, or “was based on an unreasonable determination of the

facts.” Put another way, the federal court asks if “there is no possibility fairminded jurists could

disagree that the state court's decision conflicts” with clearly established federal law, or with the

evidence taken in the light most favorable to the petitioner. Richter, 131 S.Ct. at 786.

        Indeed, the lower federal courts did just that in Skipwith v. McNeil, 2011 WL 1598829 (S.D.

Fla. 2011), and Hale v. Davis, 2011 WL 3163375 (E.D. Michigan 2011). The federal courts granted

an evidentiary hearing in accord with Justice Breyer’s concurrence in Pinholster:

        if the state-court rejection assumed the habeas petitioner's facts (deciding that, even
        if those facts were true, federal law was not violated), then (after finding the state
        court wrong on a(d) ground) an (e) hearing might be needed to determine whether
        the facts alleged were indeed true.

Pinholster, 131 S.Ct. at 1412 (emphasis in original).



                B.      No Adjudication on the Merits

        De Novo Review: Where there is no adjudication on the merits, the court is to review the

claim de novo. See Fisher v. Texas, 169 F.3d 295, 300 (5th Cir.1999) (finding that where a state

habeas court decided the habeas Petitioner's claim on procedural grounds, there had not been an

"adjudication on the merits").



                C.      Evidentiary Hearing

        Section 2254(e)(2), Title 28, U.S.C., prescribes the circumstances under which a district

court can conduct a hearing.     “Not withstanding AEDPA’s requiring substantial deference for state

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court determinations . . . “deference does not imply abandonment or abdication of judicial review.”

Guidry at 326 (quoting Miller El at 540 (2005). So long as a hearing is not barred under 28 U.S.C.

§ 2254(e)(2), a district court may conduct a hearing on whether the presumption of correctness is

rebutted by clear and convincing evidence and to aid its determination under 2254(d)(2). Guidry.

 Under § 2254(e)(2), the district court may not conduct a hearing if the petitioner “failed to develop

the factual basis” for his claim in state court. 28 U.S.C. § 2254(e)(2). However,

        a failure to develop the factual basis of a claim is not established unless there is a
        lack of diligence, or some greater fault, attributable to the prisoner or the prisoner’s
        counsel. Michael Williams, 529 U.S. at 432, 120 S.Ct. 1479; see also Dowthitt v.
        Johnson, 230 F.3d 733, 758 (5th Cir.2000). Restated, if a petitioner develops a
        factual basis for a claim in state court (or sufficiently attempts to do so), subpart
        (e)(2) does not bar an evidentiary hearing in district court.

Guidry at 323.




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REASONS TO ISSUE THE WRIT OF HABEAS CORPUS

        Petitioner’s conviction and death sentence were obtained in violation of his rights under the

Sixth, Eighth, and Fourteenth amendments to the United States Constitution. V U.S. CONST . amend.

VI; U.S. CONST . amend. VIII; U.S. CONST . amend. XIV.

        Set out below are the grounds that warrant the issuance of the writ of habeas corpus. All

factual and legal allegations presented in any claim in this petition are fully incorporated into each

and every other claim in this petition.




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AS TO ALL GROUNDS: Clear and convincing evidence shows the Fact Findings are not entitled
to a presumption of correctness. They are not entitled to any deference by the federal court.

        Because there are Findings of Fact that are common to all claims, rather than repeat the

objection in each claim, Mr. Gardner sets out his objections below, and incorporates those objections

as to each and every claim in this petition.



        A.      The fact finding procedures are “not adequate for reaching reasonably
                correct results” or, at a minimum, resulted in a process that appeared
                to be “seriously inadequate for the ascertainment of the truth”

        In Panetti v. Quarterman, 551 U.S. 930, 953-54 (2007), which involved a Ford execution-

competency-claim, the Supreme Court held:

        Under AEDPA, a federal court may grant habeas relief, as relevant, only if the state
        court’s “adjudication of [a claim on the merits] . . . resulted in a decision that . . .
        involved an unreasonable application” of the relevant law. When a state court’s
        adjudication of a claim is dependent on an antecedent unreasonable application of
        federal law, the requirement set forth in § 2254(d)(1) is satisfied. A federal court
        must then resolve the claim without the deference AEDPA otherwise requires. . . .
        Here, due to the state court’s unreasonable application of Ford, the factfinding
        procedures upon which the court relied were “not adequate for reaching
        reasonably correct results” or, at a minimum, resulted in a process that appeared
        to be “seriously inadequate for the ascertainment of the truth.” 477 U.S., at
        423-424, 106 S. Ct. 2595, 91 L. Ed. 2d 335 (Powell, J., concurring in part and
        concurring in judgment) (internal quotation marks omitted). We therefore consider
        petitioner’s claim on the merits and without deferring to the state court’s finding of
        competency.

(Emphasis supplied).

        In the specific context of developing evidence of incompetency for execution, Panetti found

that "these basic requirements include an opportunity to submit evidence and argument from the

prisoner's counsel, including expert psychiatric evidence that may differ from the State's own

psychiatric examination." Id. at 2856 (internal quotation marks omitted). After making the


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requisite threshold showing of incompetency, Panetti filed motions for appointment of counsel and

funds to hire a mental health expert, along with a request for an evidentiary hearing in an attempt

to develop the facts of his Ford claim. Id. at 2857. Because the state court denied these motions,

and refused Panetti even the "rudimentary process" of "an opportunity to submit psychiatric

evidence as a counterweight to the report filed by the court-appointed experts," the Supreme Court

concluded that Texas deprived Panetti of "a constitutionally adequate opportunity to be heard." Id.

at 2858. See also Jefferson v. Upton, 130 S.Ct. 2217 (2010) (in which the U.S. Supreme Court

criticized the practice where findings of fact are “adopted verbatim by the [state] court.” Jefferson,

130. S.Ct. at 2219-2220, quoting Anderson v. Bessemer City, 470 U.S. 564, 572 (1985)).

        Citing Panetti, the Fifth Circuit in Wiley v. Epps, 625 F.3d 199, 207 (5th Cir. 2010) held:

        when a petitioner makes a prima facie showing of [his federal constitutional law
        claim], a state court's failure to provide him with an opportunity to develop his claim
        deprives the state court decision of the deference ordinarily due under the AEDPA.

        As in Panetti and in Wiley, the fact finding procedures in Mr. Gardner’s case are “not

adequate for reaching reasonably correct results” or, at a minimum, resulted in a process that

appeared to be “seriously inadequate for the ascertainment of the truth.” This is because the

Findings of Fact were drafted by the State of Texas, and signed verbatim by the trial judge, who

denied Petitioner’s request for discovery and/or evidentiary hearing.

        Thus, Mr. Gardner was denied federal procedural due process in state habeas court because

the state factual determination is not fairly supported by the record as a whole; nor was the fact-

finding procedure employed by the state court adequate to afford a full and fair hearing. The Fact

Findings are not entitled to a presumption of correctness. 1 R.HERTZ & J. LIEBMAN , FEDERAL

HABEAS CORPUS PRACTICE AND PROCEDURE §20.2c, pp. 915–918 (5th ed. 2005). See Jefferson v.


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Upton, __ S.Ct. __, 2010 WL 2025209 (May 24, 2010) (“Although we have stated that a court’s

“verbatim adoption of findings of fact prepared by prevailing parties” should be treated as findings

of the court, we have also criticized that practice.”) citing Anderson v. City of Bessemer City, N.C.,

470 U. S., 564, 572 (1985) (“We, too, have criticized courts for their verbatim adoption of findings

of fact prepared by prevailing parties, particularly when those findings have taken the form of

conclusory statements unsupported by citation to the record. [citations omitted] .... We are also

aware of the potential for overreaching and exaggeration on the part of attorneys preparing findings

of fact when they have already been informed that the judge has decided in their favor.”)



        B.      The credibility of trial counsel is not at issue; their constitutional
                effectiveness is

        In particular, Mr. Gardner objects to Findings of Fact (FF) Nos. 11-16. Among other things,

these fact findings recite: “In the court’s experience with these attorneys in this trial and other

appearances before this Court, House and Hultkrantz have proven themselves to be at all time

forthright and credible.” Such superfluous statements are irrelevant. The issue(s) in this federal

habeas petition pertain(s) to claims of ineffective assistance of counsel – not allegations of

deception or fraud. An attorney, who is “forthright and credible,” see FF No. 14, may nonetheless

be ineffective because of an act or omission in the representation of his/her client, which does not

rise to the level of constitutionally effective representation as recited in the ABA and Texas capital

guidelines. Such is the case at bar.

        Mr. Gardner objects to each Finding of Fact, whose sum and substance pivots on testimony

or affidavit from his own defense counsel concerning their acts and omissions that give rise of each

of the ineffective assistance of counsel claims. See e.g., Ground One FF 17-43; Ground Two FF 44-

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62; Ground Three FF 63-83; Ground Five FF 84-96. The objection is predicated on TEX . CODE

CRIM . PROC. 26.052, which provides that if counsel are found to be ineffective, they are not eligible

for appointment in the trial or direct appeal of a capital case.           To make his showing of

ineffectiveness, and to circumvent trial counsel’s inherent conflict of interest in voluntarily

providing proof of their own constitutionally deficient representation, Mr. Gardner had requested

discovery and an evidentiary hearing, which were denied. Accordingly, without the power of the

court, and given the conflict-of-interest-defense counsel would find itself in addressing the IAC

claims, there were – and continue to be – obstacles external to Mr. Gardner, which prevented him

from offering the proof that the fact findings recite he allegedly failed to make. For these reasons,

Mr. Gardner once again requests discovery and an evidentiary hearing to make the requisite

showing.



        C.      The state court denied Mr. Gardner his substantive and procedural due
                process rights in striking the juror affidavits, but using the same
                evidence to support the State’s position that Collin County juries would
                not have responded to the abandonment rage theory

        The FFCL Nos. 8-10, recite that the affidavits are inadmissible, and purport to “strike” them,

because they violate TEX . R. EVID . 606(b) – which they do not. TEX . R. EVID . 606(b) provides:

        (b)     Inquiry into Validity of Verdict or Indictment. Upon an inquiry into the
                validity of a verdict or indictment, a juror may not testify as to any matter or
                statement occurring during the jury’s deliberations, or to the effect of
                anything on any jurors mind or emotions or mental processes, as influencing
                any juror’;s assessment to or dissent from the verdict or indictment. Nor may
                a juror’s affidavit or any statement by a juror concerning any matter about
                which the juror would be precluded from testifying be admitted in evidence
                for any of these purposes.




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        Remarkably, the Fact Findings strike the juror affidavits on the basis that state statute makes

them inadmissible because they concern the jurors’ deliberation of the effect certain evidence had

or might have had ...” on the verdict. See Fact Finding Nos. 8-10. Yet at the same time, the fact

findings as drafted by the prosecutors and signed verbatim by the judge, use this same evidence to

support “the effect [this] evidence had or might have had” on the verdict. For example, they refer

to it as proof that juries would be distrustful of such evidence, characterize the abandonment rage

theory as a “novel” theory, FF No. 53; “would not have affected the jury’s decision on future

dangerousness,” FF No. 58, 82; and “would not have affected the jury’s decision on mitigation,”

FF No. 59, 81. This inconsistent application of the statute arising from Fact Finding Nos. 8-10

violates Mr. Gardner’s due process, substantive and procedural rights.

        Putting aside this aside, the juror affidavits go above and beyond any inquiry into the validity

of a verdict. Instead, the juror affidavits refute FF No. 53. The theory of abandonment rage is not

a “novel” theory. At least as early as 1999, there were published studies as to it. Donald G. Dutton

and Greg Kerry, Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, 22

International Journal of Law & Psychiatry 287, 287 (1999). The affidavits prove by clear and

convincing evidence that the unsubstantiated, conclusory and self-serving assertions of defense

counsel that “local juries’[in Collin County] distrust ... ‘novel’ defensive theories” were incorrect.

 Compare Affidavit of House and Hultkrantz, p.3 with State Habeas Exhibit B4: Declaration of Gail

Stafford: “I believe that had I seen the reports of Toni Knox and Gilda Kessner, I would have

seriously considered that testimony ....” and with State Habeas Exhibit B3: Declaration of Paul

Reichenbach: “The mitigation evidence investigated by Toni Knox and Gilda Kessner may have

[made me] ... more willing to consider a life sentence;” and with State Habeas Exhibit B2: Affidavit


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of Wendy Duerr: “The declaration of Gardner’s friends and his psychological evaluation would have

affected my deliberations.”

         Accordingly, these affidavits refute that “counsel’s reasons for not pursuing such a defense

were reasonable,” and refute that a Collin County jury would have been distrustful of such a defense

theory. FF No. 53.

         In sum, and although the Texas Court of Criminal Appeals adopted the FFCL and denied

relief, the aforementioned findings are not entitled to a presumption of correctness. They are

“‘objectively unreasonable in the light of the evidence presented in the state-court proceeding,’”

Guidry v. Dretke, 397 F.3d 306, 326 (5th Cir. 2005), citing Miller-El v. Cockrell, 537 U.S. 322, 340

(2003); 28 U.S.C. § 2254(d)(2). They also were not the product of a full and fair hearing in state

court. Jefferson v. Upton, __ S.Ct. __, 2010 WL 2025209 (May 24, 2010); 1 R.HERTZ & J.

LIEBMAN , FEDERAL HABEAS CORPUS PRACTICE              AND   PROCEDURE §20.2c, pp. 915–918 (5th ed.

2005).

         Justice Breyer’s concurrence in Pinholster is instructive:

         if the state-court rejection assumed the habeas petitioner's facts (deciding that, even
         if those facts were true, federal law was not violated), then (after finding the state
         court wrong on a(d) ground) an (e) hearing might be needed to determine whether
         the facts alleged were indeed true.

Pinholster, 131 S.Ct. at 1412 (emphasis in original).


         The conflict in the evidence, coupled with the objectively unreasonable determination by

the state courts, gives rise to the need for an evidentiary hearing. 28 U.S.C. § 2254(e); Pinholster,

131 S.Ct. at 1412 . Further, habeas relief should be granted because the state court adjudication




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resulted in a decision that was based on an unreasonable determination of the facts in light of the

evidence presented in the State court proceeding. 28 U.S.C. § 2254(d)(2).




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GROUND ONE (KILLING IN RETALIATION – 6TH & 14 AMENDMENT VIOLATIONS). Mr. Gardner
was denied his Sixth Amendment right to effective assistance of counsel, who failed to provide
a fair defense and negate an essential element of capital murder – “retaliation for status as
a prospective witness”

A.      Statement of Facts.

        On January 11, 2005, Tammy Gardner had initiated divorce proceedings, styled: In the

Matter of the Marriage of Tammy Dawn Gardner and John Steen Gardner, Cause No. 401-50106-

05, in the District Court, Collin County, Texas. State’s Trial Exhibit 39 and State Hab. Exhibit A:

Divorce Papers (hereinafter Divorce Papers). The original petition for divorce reflects that the

couple had ceased living together as husband and wife on or about 12-25-04, that there were no

children under the age of 18 years of age and Tammy was not expecting a child. It also reflects that

there was no community property to divide.

        The Divorce Papers also contain a Waiver of Citation, signed by Petitioner. In it, he agreed

“that the cause may be taken up and considered by the court without further notice to [him], that he

“waive[d] the making of a record of testimony in this cause, and that he “agree[d] and consent[ed]

to the entry of a decree in this case. Exhibit A: Divorce Papers.

        The divorce proceedings were dismissed with a record notation by the judge that “Pet

[Tammy Gardner] died 01/11/05.” Exhibit A: Divorce Papers.

        On January 23, 2005, Petitioner was indicted for the capital murder of Tammy Gardner. The

indictment reads that:

        John Steven Gardner hereinafter called defendant on or about the 23rd day of January
        in the year of our Lord Two Thousand Five, in said county and State, did then and
        there intentionally and knowingly cause the death of Tammy Dawn Gardner, an
        individual, hereinafter called deceased, by shooting deceased with a firearm, a deadly
        weapon, while the defendant was in the course of committing or attempting to
        commit the offense of burglary by then and there intentionally and knowingly
        entering a habitation without the effective consent of deceased, the owner thereof,

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        and committing the felony offense of murder; and while the defendant was in the
        course of committing or attempting to commit the offense of retaliation by then and
        there intentionally and knowingly harming or threatening to harm deceased ... by an
        unlawful act, to wit: causing the death of deceased ... in retaliation for or on
        account of deceased’s service or status as a prospective witness.

(Cause No. 219-81121-06 – CR 1:6).4

        On November 7, 2006, the jury was sworn in and the trial began. (Cause No. 219-81121-06,

Docket Sheet). The guilt/innocence phase of the trial last lasted two (2) days, November 7 and 8,

2006. On November 7, 2006 and November 8, 2006, the State presented its case. (Cause No. 219-

81121-06, Docket Sheet). On November 8, 2006, the defense rested. (Cause No. 219-81121-06,

Docket Sheet). November 9, 2006 was a day dedicated to closing argument by both sides. After




   4
        The jury charge read in pertinent part:

        A person commits capital murder when he intentionally causes the death of an
        individual in the course of committing or attempting to commit the offense of
        burglary or the offense of retaliation.
        ....
        Our law provides that a person commits the offense of retaliation if he intentionally
        or knowingly harms or threatens to harm another by an unlawful act in retaliation
        for or on account of the service or status of another as a witness or prospective
        witness.
        ....
        Now bearing in mind the foregoing instructions, if you believe from the evidence
        beyond a reasonable doubt that on or about January 23, 2005, the defendant, John
        Steven Gardner, did intentionally cause the death of Tammy Gardner, an individual,
        hereinafter called deceased, by shooting deceased with a firearm, a deadly weapon,
        and the defendant intentionally did cause the death of deceased while the defendant
        was in the course of committing or attempting to commit the offense of burglary or
        offense of retaliation, you will find the defendant guilty of capital murder as charged
        in the indictment.

(Cause No. 219-81121-06 – CR 1:598, 599, 603).


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only 4.5 hours of deliberation (10:30 am jury out; returned 3:00 pm), the jury returned a verdict of

guilty of capital murder. (Cause No. 219-81121-06, Docket Sheet; CR 2:608).

         The prosecution’s theory of the case was that Petitioner shot and killed Tammy Gardner,

his wife,“in retaliation for or on account of the service or status of another as a witness or

prospective witness.” TEX . PENAL CODE 36.36(a)(1). The alternative theory was that Petitioner shot

Tammy Gardner in the course of committing or attempting to commit the offense of burglary by

intentionally and knowingly entering her house, without her effective consent, and committed the

felony offense of murder. (CR 1:6).

        To advance its theories of the case, on November 7 and 8, 2006, the prosecution presented

testimony from twenty-two (22) witnesses, the salient points of which were as follows:



        (a)     Burglary: A Non-Consensual Entry

        The evidence presented by the prosecution on the burglary enhancement came from Diane

Stubbs and Robert Yeager, both criminal investigators, from John White, Tammy’s son by a

previous marriage, and from Kay Tate, who had raised Tammy Gardner. Ms. Tate testified that she

had owned a house, that she allowed Tammy to live in rent free, provided Tammy paid the utilities.

Ms. Tate testified that Tammy could treat the house as her home, and Tammy could admit or

exclude whomever Tammy wanted. (RR 20:109, 112-114, 116). This was the house in which

Tammy was shot and ultimately died from the gunshot wounds.

        Investigators Stubbs and Yeager testified that the doors to the house had been locked, as

were the windows. Both investigators testified that except for the forced entry by the first

responders following the 911 call by Tammy, there were no other signs of forced entry into the


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home. (RR 19:102, 125; RR 20:14). Both law enforcement officers testified that a burglary can

occur when a person enters even through an open door. The issue is whether the owner gave

consent. (RR 19:128; RR 20:17). Neither officer had any personal knowledge as to whether

Tammy gave consent to Petitioner’s entry into the house. (RR 19:128; RR 20:17).

          John White, Tammy’s son by another marriage, testified that both Tammy and Petitioner had

told Mr. White that they were divorcing. (RR 19:259). Mr. White testified that his mother had told

him that there were two sets of keys to her house and to the shed. (RR 19:261). Mr. White testified

that Petitioner told him that because of the divorce, Petitioner was going to live with his parents in

Mississippi. At that time, Petitioner gave Mr. White one set of keys to the house and the shed. (RR

19:261).

          In closing argument, the prosecutor argued:

          “you basically heard him [defense attorney] in closing argument, and it didn’t sound
          like the defense is he didn’t kill her, but that if he was there, that somehow she
          consented to allow him in the house.” (RR 21:52).5

          “there’s no way Tammy could have effectively consented to allow him to come in
          the home to kill her. Consent was not effective.” (Emphasis supplied) (RR 21:24).




          (b)    Retaliation for Testifying

          To prove retaliation for her service or status as a witness, the prosecution called Erin

Whitefield, the dispatcher who spoke with Tammy on the 9-1-1- call. Ms. Whitefield testified that

during the question and answer form of their conversation, she learned the victim’s address and that



   5
          The defense had argued a negative: “no evidence exists that consent was not given.” (RR
21:35).

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her blue Ford pickup truck was parked outside, that the victim had been shot by her husband, and

that the victim’s husband had left in a white Ford pickup truck with Mississippi license plates. (RR

19:24-26).

        The prosecution also called three witnesses who had been associated with Tammy’s

employer: Jacquie West, a former co-worker of the victim; Candace Akins, Tammy’s manager; and

David Young, the VP for the company that employed Tammy. Ms. West testified that Tammy had

told her that Tammy would not get out of the relationship alive, and that she had filed for divorce.

(RR 19:201, 205). Tammy had told West that the divorce would never be final because Petitioner

would kill her. (RR 19:209). Tammy’s former manager, Candace Akins testified that Tammy had

told West that she would never get to the date when her divorce would become final, because

Petitioner would kill her before then. (RR 19:240-241). David Young, the VP for the company that

employed Tammy, testified that they were trying to help Tammy disappear for her safety. (RR

19:312). The last time he saw her, was the day that she was shot. (RR 19:309).

        The prosecution called family members Jessie Mangum, the daughter of Tammy by another

marriage, and Elaine and David Holifield, the sister and brother-in-law of Petitioner. Jessie

Mangum, the daughter of Tammy, testified that Tammy and Petitioner were divorcing, that she was

afraid for her mother’s safety, and that her mother told her that she did not think she would make

it out of the divorce. (RR 19:292). Mangum also testified to text messages from Petitioner asking

if Tammy were going through with the divorce. (RR 19:294).

        Elaine Holifield, Petitioner’s sister, testified that in December 2004, Petitioner came to live

with her and her husband, David, who also testified for the prosecution. (RR 20:30). David allowed

Petitioner to drive his white Ford pickup truck. (RR 20:22). The Holifield’s testified that Petitioner


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left in the truck, but did not know where he had gone the day Tammy had been shot. (RR 20:22).

The police retrieved a gun that belonged to David Holifield, which had one spent round. David had

not fired the gun. (RR 20:25-26). Elaine told Petitioner to turn himself in, and he went to his

parents home to wait for law enforcement, who arrested him. (RR 20:38-41).

        And finally, the prosecution called Eric Higgins, a family law attorney. Mr. Higgins testified

that before a divorce can be finalized, a petition must be filed, and the filing is followed by a 60 day

waiting period. (RR 20:99). After the waiting period, there is a “prove up.” In the prove up, a

petitioner is sworn in like any witness to swear to the facts alleged in the petition, and provides some

testimony to support the divorce decree. (RR 20:100). Mr. Higgins testified that in the Gardner

divorce case, the petition was filed January 11, 2005, so that the prove-up would have occurred

some time in the second week of March, at the earliest. (RR 20:101-103). Mr. Higgins also testified

that there was a Waiver of Citation that had been signed by Petitioner on January 13, 2005, which

means that the person giving the waiver would not have to be served with the lawsuit, so the divorce

proceeding could go forward without further notice to him. (RR 20:101, 105).

        In closing, the prosecutor argued:

        “We have many of her friends who came in to testify about her fears of the defendant
        killing her... She told them he is going to kill me. I will not get out of this
        relationship alive...” (RR 21:17)

        “Eric Higgins, the family law lawyer, talked about the process of getting the divorce
        in Collin County. ... After that 60-day waiting period that person must come to
        court, must take an oath, must testify to prove up the petition... [Tammy] was a
        prospective witness. But Tammy’s words came back to haunt her as she told her
        friends, ... He will not let me out of this relationship....” (RR 21:25)

        And later in the argument, the prosecutor asserted: “the reason he [Petitioner] drove
        to Texas is because of the divorce. The reason he drove to Texas and shot Tammy
        Gardner in the head was because she was divorcing him; and that’s retaliation.”
        (RR 21:63).

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        The defense theory was that the prosecution failed to prove its case beyond a reasonable

doubt. (RR 21:31). There was no evidence that Petitioner was there at the residence at all, but if

he was there, there was no evidence that consent was not given. (RR 21:34-36). There was no

burglary because there was no forced entry. (RR 21:32). The defense argued that there was no

retaliation because the divorce papers did not reflect any request for a protective order, which would

have shown that Tammy was afraid of the Petitioner. (RR 21:37). The prosecution witnesses

testified about a “perceived” fear; but none of them, testified they were afraid of Petitioner, and none

of them took any action to help her. (RR 21:38). There is no evidence that Petitioner fired the gun.

(RR 21:45). The thrust of the defense was that “there’s very little forensic or physical evidence that

links Steve Gardner to this case, very little.” (RR 21:49).




B.      No Presumption of Correctness for Fact Findings

        Findings of Fact Nos. 17-43, labeled: Presentation of Defense to Murder in Course of

Retaliation, are not entitled to a presumption of correctness, as will be more fully discussed below.

Guidry v. Dretke, 397 F.3d 306, 326 (5th Cir. 2005), citing Miller-El v. Cockrell, 537 U.S. 322, 340

(2003); 28 U.S.C. § 2254(d)(2). Further, habeas relief should be granted because the state court

adjudication resulted in a decision that was based on an unreasonable determination of the facts in

light of the evidence presented in the State court proceeding. 28 U.S.C. § 2254(d)(2).




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                1.      Because the mitigation investigation was not adequate, defense counsel
                        failed to challenge the retaliation element, and instead reinforced the
                        prosecution’s theory that Petitioner killed Tammy because she was
                        divorcing him

        FF Nos. 17-20 recite that it was defense counsel’s “strategy” to challenge the retaliation

element that raise the offense to capital murder. There is clear and convincing evidence in the record

that shows that defense did not do this. Defense counsel failed to distinguish between a killing

arising from estrangement, and capital murder arising from retaliation.             The prosecution

continuously asserted, contrary to state law, that shooting an individual in the head because the

couple is divorcing proved capital murder under Texas law. (RR 21:63). It does not. The killing

of Tammy Gardner was the result of abandonment rage predicated on attachment disorder (which

at best, was a non-capital offense resulting in a term of years, instead of a sentence of death) – and

not because of the status of Tammy Gardner as a prospective witness who would testify against him,

as was required by TEX . PENAL CODE 36.36(a)(1). See Giles v. California, 554 U.S. 353 (2008).6

        The prosecutor had argued to the jury in closing: “the reason he [Petitioner] drove to Texas

is because of the divorce. The reason he drove to Texas and shot Tammy Gardner in the head was

because she was divorcing him; and that’s retaliation.” (RR 21:63).        Not only did the defense


   6
       In Giles, at issue was an exception to the right to confrontation when a spouse is
“absent” from proceedings because of domestic abuse and violence. The United States Supreme
Court held that in the typical domestic homicide case, the issue does not pivot on a defendant
merely causing the absence of the witness. Rather, there had to be a

        “showing that the defendant intended to prevent a witness from testifying. In cases
        where the evidence suggested that the defendant had caused a person to be absent,
        but had not done so to prevent the person from testifying – as in the typical
        murder case involving accusatorial statements by the victim – the testimony was
        excluded unless it was confronted or fell within the dying-declaration exception.”

Giles, 554 U.S. at 361.

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counsel fail to object, they themselves mislead the jury into conflating divorce and retaliation

because they failed to distinguish a non-capital offense based on an estrangement killing, from

capital murder based on retaliation to prevent Tammy from testifying.

        The defense was not capable of making this distinction in fact or law because the mitigation

investigation was not adequate. Trial counsel themselves attested in state habeas that their trial

expert, Dr. Allen, “decided she didn’t want to testify [to attachment disorder] because of lack of

information....” Affidavit of House and Hultkrantz, p. 9. Dr. Kessner, another trial expert, attested

in state habeas that she had “had a telephone conference and in person conferences with the defense

attorneys and various members of the defense team. I voiced my concern that there were important

corroborating witnesses who were not being located and interviewed for mitigation.”State Habeas

Exhibit C: Affidavit of Gilda Kessner, Psy.D. And in its September 15, 2010 order, the Texas Court

of Criminal Appeals, explicitly refused to adopt FF No. 67 that defense counsel “did not believe that

their investigation was impaired....”7 Put another way, the TCCA implicitly ruled that the mitigation

investigation was impaired. Accordingly, there is clear and convincing evidence that refutes FF No.

22 that defense counsel made a “strategic decision not to seek a complex psychological defense...”




   7
        FF No. 67 recited that defense counsel “did not believe that their investigation was
impaired,” because “their mitigation expert, Shelli Schade, was ‘overly close’ with Petitioner
and his family.” (Emphasis supplied)

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                2.      The inadequate mitigation investigation prevented any defense expert
                        from identifying a mental health theme

         FFCL Nos. 23, 24, and 30 are not entitled to a presumption of correctness.8 First, the

defense experts placed defense counsel on notice prior to trial that there was a lack of adequate

information concerning Petitioner’s psychosocial history. Second, the TCCA’s September 15, 2010

order implicitly ruled that the mitigation investigation was impaired.

        Until the mitigation investigation is adequately performed, no mental health expert is in a

position to identify a mental health theme.      And unless and until there is an adequate mitigation

investigation into the life history of the client, no theory can be developed or implemented. Hence,

there is clear and convincing evidence that trial attorneys House and Hultkrantz were incapable of

“strategically” deciding on a theory to present. See ABA GUIDELINE 10.4 (2008) located in

O’BRIEN , 36 HOFSTRA L. REV . 693, 703 (6/15/2008) (“It is the duty of counsel to lead the team in

conducting an exhaustive investigation into the life history of the client. It is therefore incumbent

upon the defense to interview all relevant persons and obtain all relevant records and documents that

enable the defense to develop and implement an effective defense strategy.”)


                3.      The inadequate mitigation investigation lead the defense to misperceive
                        and characterized Petitioner’s conduct as “random violence”

        There is clear and convincing evidence that proves that the fact findings Nos. 32-36 are not

entitled to a presumption of correctness. Contrary to trial counsel’s misperception, Petitioner’s

behavior was not “random violence.” No. 34. Nor was the “impending divorce [the] impetus for


   8
         These FFCL recite that Dr. Kessner “never informed counsel of the abandonment rage
theory prior to trial or suggested that it could be applicable to Applicant,” or that “Dr. Kessner
did not claim on habeas that the abandonment rage theory had any application to the guilt phase
of the trial.”

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Tammy’s murder.” No. 35. Rather, the adequate mitigation investigation done in state habeas

confirmed that Petitioner’s conduct was predictable behavior arising from attachment disorder:

        Steve Gardner’s history of violence with his wives.... [t]he shooting of his second
        wife Rhoda, leading to her death six weeks later, the threats to his third wife
        Margaret and the assault of her daughter Rebecca and the details of the abuse toward
        Tammy and her eventual death tell the story of man who uses violence to manage his
        relationships and who has a chronic inability to maintain a mutually satisfying
        marital relationship. ....

Exhibit C: Affidavit of Gilda Kessner, Psy.D.

        Contrary to the fact findings, not only was this defensive theory supported by the evidence,

it also negated the enhancement elements (both burglary and retaliation, as will be more fully

discussed in the prejudice section below) that made the killing of Tammy “capital murder.”

Compare FF Nos. 36, 38, 41-43.




C.      Argument and Authorities

        1.      Standard of Review

        The Supreme Court in Strickland held that the "benchmark for judging any claim of

ineffectiveness must be whether counsel's conduct so undermined the proper functioning of the

adversarial process that the trial cannot be relied on as having produced a just result." Strickland

v. Washington, 466 U.S. 668, 686 (1984). Strickland stated a two-pronged test for judging claims

of ineffective assistance of counsel:

        First, "whether, in light of all the circumstances, [counsel's] acts or omissions were
        outside the wide range of professional competent assistance," and

        Second, "whether there is a reasonable probability that, absent the errors, the fact
        finder would have had a reasonable doubt respecting guilt"


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Strickland, 466 U.S. at 695.

        The Wiggins Court wrote that “[i]n assessing the reasonableness of an attorney's

investigation ... a court must consider not only the quantum of evidence already known to counsel,

but also whether the known evidence would lead a reasonable attorney to investigate further."

Wiggins v. Smith, 539 U.S. 510, 527 (2003).


                                         The ABA Guidelines

        In evaluating an ineffective assistance of counsel claim, the United States Supreme Court

has looked for guidance to the ABA Guidelines for the Appointment and Performance of Counsel

in Death Penalty Cases. Rompilla v. Beard, 545 U.S. 374, 125 S.Ct. 2456, 2466 (2005), citing

Wiggins v. Smith, 539 U.S. 510, 522 (2003) (“[W]e long have referred [to these ABA Standards] as

‘guides to determining what is reasonable.’").

        In the case at bar, GUIDELINES     FOR THE   APPOINTMENT   AND   PERFORMANCE     OF   DEFENSE

COUNSEL IN DEATH PENALTY CASES, specifically ABA GUIDELINE 10.7 – INVESTIGATION (rev. ed.

Feb. 2003), and GUIDELINES AND STANDARDS FOR TEXAS CAPITAL COUNSEL, specifically TEXAS

GUIDELINE 11.1 – TRIAL INVESTIGATION (adopted April, 2006) are applicable.



        a.      Counsel has an obligation to conduct a thorough and independent investigation

        ABA GUIDELINE 10.7 – INVESTIGATION specifically provides:

        A.      Counsel at every stage have an obligation to conduct thorough and
                independent investigations relating to the issues of both guilt and penalty....

                2.      The investigation regarding penalty should be conducted regardless
                        of any statement by the client that evidence bearing upon penalty is
                        not to be collected or presented.


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        The ABA Guidelines were supplemented in 2008. Supplemental ABA GUIDELINE 10.11

– The Defense Case: Requisite Mitigation Functions of the Defense Team to impose an obligation

on the defense team to “conduct an ongoing, exhaustive and independent investigation of every

aspect of the client’s character, history, record and any circumstances of the offense, or other factors,

which may provide a basis for a sentence less than death. [followed by an enumeration of the kind

and type of sources].”

        The commentary to the capital guidelines explain:

        A second potential danger identified by seasoned practitioners is that articulating
        standards specifically directed to the mitigation function could create the false
        impression that mitigation is separate from issues related to the guilt or innocence
        of the accused – that the mitigation effort only comes into play at the penalty stage
        of trial. ... The Supplementary Guidelines build on the requirement of the ABA
        Guidelines that counsel harmonize the defense presentation of both guilt-
        innocence and punishment issues by recognizing counsel’s duty to address the
        mitigation function from the very beginning and throughout the representation:

                [T]he responsibility for the development and presentation of
                mitigation evidence must be incorporated into the defense case at all
                stages of the proceedings from the moment the client is taken into
                custody, and extending to all stages of every case in which the
                jurisdiction may be entitled to seek the death penalty, ....

(Emphasis supplied) Commentary, B. Integrating the Defense Theory, Supplemental ABA

GUIDELINE 10.4 (2008) located in O’BRIEN , 36 HOFSTRA L. REV . 693, 705-707 (6/15/2008).




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        2.      Defense counsel was constitutionally ineffective

                a.      Defense counsel’s performance was deficient

                        (1)     Even absent divorce proceedings, uxoricide occurs as a result of
                                real or threatened termination of the relationship by men who
                                have experienced significant attachments disorders in early
                                childhood

        Estrangement killings, which are named “uxoricide” when the wife is killed, take place when

one spouse leaves or attempts to leave the other, as described by Donald G. Dutton and Greg Kerry,

Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, 22 International Journal

of Law & Psychiatry 287, 287 (1999). Divorce proceedings are irrelevant, except to the extent that

they are an overt signal of a wife’s attempt to leave the relationship.

        Dutton and Kerry explain that men, who kill their female companions with excessive force

when faced with recent or imminent abandonment, are men who experience abandonment rage,

which has its origins in early development. Real or threatened termination of the relationship – as

in the case at bar – are the most typical scenarios for uxoricide. See Exhibit C: Affidavit of Gilda

Kessner, Psy.D., para. 26. Thus, the status of Tammy Gardner as a prospective witness who would

testify against him in the divorce proceedings, pursuant to TEX . PENAL CODE 36.36(a)(1), was both

superfluous and irrelevant. Yet, defense counsel allowed the prosecution to conflate divorce

(estrangement) with retaliation for testifying in the divorce proceeding. See e.g. (Prosecutor:

“the reason he [Petitioner] drove to Texas is because of the divorce. The reason he drove to Texas

and shot Tammy Gardner in the head was because she was divorcing him; and that’s retaliation.”

(RR 21:63)).




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                        (2)     The state habeas record evidence reflects the killing was an
                                “estrangement killing,” refuting capital murder based on
                                retaliation for testifying

        In Giles v. California, 554 U.S. 353 (2008), at issue was an exception to the right to

confrontation when a spouse is “absent” from proceedings because of domestic abuse and violence.

In Giles, the United States Supreme Court held that in the typical domestic homicide case, the issue

does not pivot on a defendant merely causing the absence of the witness. Rather, there had to be a

“showing that the defendant intended to prevent a witness from testifying. In cases where the

evidence suggested that the defendant had caused a person to be absent, but had not done so to

prevent the person from testifying – as in the typical murder case involving accusatorial

statements by the victim – the testimony was excluded unless it was confronted or fell within the

dying-declaration exception.” Giles, 554 U.S. at 361.

        The rationale of Giles is equally applicable in the case at bar. The Divorce Papers reflect

that even if Petitioner killed Tammy Gardner, he had not done so to prevent her from testifying.

Instead, the real or threatened termination of the relationship by Tammy Gardner, triggered

abandonment rage in Petitioner as a result of his severe and significant attachment disorder, and the

concomitant uxoricide of Tammy Gardner. In her affidavit, Dr. Kessner attests to the abandonment

rage and trauma experienced by Petitioner, which arose from childhood environmental factors, and

which resulted in his history of domestic abuse, and in particular in spousal killing (uxoricide), when

the spouse attempts to leave the relationship (estrangement killings). Dr. Kesser states:

        I have concluded based on the records and literature review, that had I been allowed
        to testify in the 2006 Case about the impact of the developmental trauma cited by
        family members, that I could have provided a context for the jury to understand the
        etiology of Mr. Gardner’s personality and behavior. At the time of trial, there was
        a large and growing body of literature addressing the issue of perpetrators of
        domestic violence.

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                  Briefly, John Steven Gardner was born into a chaotic and dysfunctional
           family and events in his infancy and early childhood had a profound effect on his
           early and life long psychosocial development. Events taking place at critical
           developmental periods for trust, interpersonal relationships and self-concept had a
           damaging effect on his ability to relate to others in an intimate and sexual way. The
           modeling of violence and jealousy between his parents in their marital relationship
           served as a template for behavior in his future romantic relationships. These factors
           would have provided an explanation to the jurors, as to why John Steven Gardner
           perpetrated violence and threats of violence against his domestic partners, ....

Exhibit C: Affidavit of Gilda Kessner, Psy.D. See also Donald G. Dutton & Greg Kerry, (1999a),

Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, International Journal

of Law & Psychiatry, 22(3-4), 287-299; DonaldG. Dutton,(1999b),Traumatic Origins of Intimate

Rage, Aggression and Violent Behavior, 4(4), 431-447.

           Indeed, Petitioner’s violent domestic history further supports the fact that he abused or killed

his spouses, not because of their status as prospective witnesses who would testify against him, as

was required by TEX . PENAL CODE 36.36(a)(1), but because they were leaving him. Dr. Kessner

attests:

           11.     The trial transcript details Steve Gardner’s history of violence with his
           wives. The shooting of his second wife Rhoda, leading to her death six weeks later,
           the threats to his third wife Margaret and the assault of her daughter Rebecca and the
           details of the abuse toward Tammy and her eventual death tell the story of man who
           uses violence to manage his relationships and who has a chronic inability to
           maintain a mutually satisfying marital relationship. ....

Exhibit C: Affidavit of Gilda Kessner, Psy.D.




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                        (3)     Defense counsel failed to object when the prosecution conflated
                                estrangement with retaliation for testifying, and themselves
                                compounded the legal error

        During closing argument, the prosecutor argued that the evidence showed that Petitioner was

guilty of capital murder because “the reason he [Petitioner] drove to Texas is because of the divorce.

The reason he drove to Texas and shot Tammy Gardner in the head was because she was

divorcing him; and that’s retaliation.” (RR 21:63). Shooting an individual in the head because the

couple is divorcing is not capital murder under Texas law. Yet, defense counsel failed to object.

        Worse, defense counsel himself, compounded the mistake of law by arguing to the jury in

closing:

        To make it a capital murder, then they have to prove beyond all reasonable doubt,
        and we talked about that, there’s two separate things going on, that Steve either
        committed retaliation, and that must be proven beyond all reasonable doubt, and in
        this case the State’s theory is because of the divorce;.....”

(RR 21:31).

        In summary, the performance of defense counsel was deficient because they failed to object

to the misleading statement of the prosecutor. They themselves conflated retaliation for testifying

estrangement overtly manifested by divorce. More importantly, the defense theory altogether failed

to explore, explain and clarify how and why an estrangement killing is not the same as murder

committed to prevent a person from testifying.




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                b.      The constitutionally deficient performance of defense counsel raised the
                        reasonable probability that the outcome would have been different

                        (1)     The Strickland prejudice prong

        In Strickland v. Washington, 466 U.S. 668, 695-696 (1984), the Court held:

        In making this determination, a court hearing an ineffectiveness claim must consider
        the totality of the evidence before the judge or jury. Some of the factual findings will
        have been unaffected by the errors, and factual findings that were affected will have
        been affected in different ways. Some errors will have had a pervasive effect on the
        inferences to be drawn from the evidence, altering the entire evidentiary picture, and
        some will have had an isolated, trivial effect. Moreover, a verdict or conclusion only
        weakly supported by the record is more likely to have been affected by errors than
        one with overwhelming record support. Taking the unaffected findings as a given,
        and taking due account of the effect of the errors on the remaining findings, a
        court making the prejudice inquiry must ask if the defendant has met the burden
        of showing that the decision reached would reasonably likely have been different
        absent the errors.


                (2)     The prosecution’s theory of the case and its trial evidence

         The prosecution’s theory of the case was that Petitioner shot and killed Tammy Gardner,

his wife,“in retaliation for or on account of the service or status of another as a witness or

prospective witness.” TEX . PENAL CODE 36.36(a)(1). The alternative theory was that Petitioner shot

Tammy Gardner in the course of committing or attempting to commit the offense of burglary by

intentionally and knowingly entering her house, without her effective consent, and committed the

felony offense of murder. (CR 1:6).

        To advance its theories of the case, on November 7 and 8, 2006, the prosecution presented

testimony from twenty-two (22) witnesses, the salient points of which were as follows:




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                        (a)     Burglary: A Non-Consensual Entry

        The evidence presented by the prosecution on the burglary enhancement neither directly

proved or disproved that Petitioner entered the house without consent. Investigators Stubbs and

Yeager testified that the doors to the house had been locked, as were the windows. Both

investigators testified that except for the forced entry by the first responders following the 911 call

by Tammy, there were no other signs of forced entry into the home. (RR 19:102, 125; RR 20:14).

No witness had any personal knowledge as to whether Tammy gave consent to Petitioner’s entry

into the house. (RR 19:128; RR 20:17).

        John White, Tammy’s son by another marriage, testified that his mother had told him that

there were two sets of keys to her house and to the shed. (RR 19:261). Mr. White testified that

Petitioner told him that because of the divorce, Petitioner was going to live with his parents in

Mississippi. At that time, Petitioner gave Mr. White one set of keys to the house and the shed. (RR

19:261).

        In closing argument, the prosecutor argued by inference that “there’s no way Tammy could

have effectively consented to allow him to come in the home to kill her. Consent was not

effective.” (Emphasis supplied) (RR 21:24).




                (b)     Retaliation for Testifying

        To prove retaliation for her service or status as a witness, the prosecution called Erin

Whitefield, the dispatcher who spoke with Tammy on the 9-1-1- call. Ms. Whitefield testified that

during the question and answer form of their conversation, she learned the victim’s address and that

her blue Ford pickup truck was parked outside, that the victim had been shot by her husband, and

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that the victim’s husband had left in a white Ford pickup truck with Mississippi license plates. (RR

19:24-26).

        The prosecution also called three witnesses who had been associated with Tammy’s

employer: Jacquie West, a former co-worker of the victim; Candace Akins, Tammy’s manager; and

David Young, the VP for the company that employed Tammy. All of them testified that Tammy

had told them of the fear she had for Petitioner and that Tammy believed that the divorce would

never be final because Petitioner would kill her. (RR 19:209). Jessie Mangum, the daughter of

Tammy by another marriage, testified that she was afraid for her mother’s safety, and that her

mother told her that she did not think she would make it out of the divorce. (RR 19:292).

        Elaine Holifield, Petitioner’s sister, testified that in December 2004, Petitioner came to live

with her and her husband, David, who also testified for the prosecution. (RR 20:30). David allowed

Petitioner to drive his white Ford pickup truck. (RR 20:22). The Holifield’s testified that Petitioner

left in the truck, but did not know where he had gone the day Tammy had been shot. (RR 20:22).

The police retrieved a gun that belonged to David Holifield, which had one spent round. David had

not fired the gun. (RR 20:25-26). Elaine told Petitioner to turn himself in, and he went to his

parents home to wait for law enforcement, who arrested him. (RR 20:38-41).

        And finally, the prosecution called Eric Higgins, a family law attorney. Mr. Higgins testified

that before a divorce can be finalized, there is a “prove up,” in which a petitioner is sworn in like

any witness to swear to the facts alleged in the petition, and provides some testimony to support the

divorce decree. (RR 20:100).




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        In closing, the prosecutor argued, among other things that “the reason he [Petitioner] drove

to Texas is because of the divorce. The reason he drove to Texas and shot Tammy Gardner in the

head was because she was divorcing him; and that’s retaliation.” (RR 21:63).




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                c.      State habeas evidence revealed a reasonable probability the outcome
                        would have been different

                        (1)     The Abandonment Rage Theory made a prima facie showing that
                                the act of leaving – and not testifying in the formal divorce
                                proceeding – is what triggered the domestic killing

        The prosecution assertions concerning the enhancements – burglary based on “no effective

consent to allow him to come in the home to kill her,” (RR 21:24), and retaliation when Petitioner

“shot Tammy Gardner in the head was because she was divorcing him; and that’s retaliation,” (RR

21:63) – were errors of law and fact, and would have been refuted and clarified had there been an

adequate mitigation investigation.

        The abandonment rage evidence demonstrates that it was the act of leaving the relationship

that culminated in Tammy’s death by Petitioner. Indeed, none of the witnesses referred to above,

spoke about Tammy telling them that she would be killed because she was going to testify against

Petitioner. Nor did any of them relate any incident about Tammy changing the locks to the house,

or otherwise prevent Petitioner from entering. Rather, all the prosecution witnesses testified that

Tammy told them that it was the “divorce” – that is, the estrangement – that would get her killed.

To use the language of the Supreme Court in Giles, the Petitioner had caused Tammy to be absent,

but he had not done so to prevent her from testifying. Giles, 554 U.S. at 361.

        The presence of a serious and significant mental health impairment (abandonment rage

originating in attachment disorder), would have explained at the outset why Petitioner, if guilty, was

guilty of a lesser offense than capital murder. Abandonment rage was also consistent with the

evidence presented by the prosecution, making maximum use of undisputed facts. (See e.g., the

prosecutor argued: “whatever communication [the text messages] was going on, causes this




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defendant to make the decision. Because whatever communication, either by not communicating

with him or by telling him it’s going through, this defendant loses control.” (RR 21:61)).

        It had internal logical force and was easy to believe. (See e.g., Dr. Kessner attested to the

consistency of Petitioner’s domestic violence. “The shooting of his second wife Rhoda, leading to

her death six weeks later, the threats to his third wife Margaret and the assault of her daughter

Rebecca and the details of the abuse toward Tammy and her eventual death tell the story of man who

uses violence to manage his relationships and who has a chronic inability to maintain a mutually

satisfying marital relationship.). Exhibit C: Affidavit of Gilda Kessner, Psy.D. Abandonment rage

would have satisfied the national standard of practice.9


   9
       Having an effective theory of the case for life is a national standard of practice when
representing persons accused of capital crimes. NATIONAL LEGAL AID AND DEFENDER
ASSOCIATION , Guidelines for Criminal Defense Representation (1995). ABA GUIDELINE 11.7.1
(1989). An effective theory of the case satisfies the following essential elements:

        •       It is logical. A winning theory has internal logical force. It is based
                upon a foundation of undisputed or otherwise provable facts, all of
                which lead in a single direction. The facts upon which your theory
                is based should reinforce (and never contradict) each other. Indeed,
                they should lead to each other, each fact or premise implying the next
                in an orderly and inevitable fashion.

        •       It speaks to the legal elements of your case. All of your trial
                persuasion must be in aid of a ‘legal’ conclusion. Your theory must
                not only establish that your client is good or worthy (or that the other
                side is bad and unworthy), but also that the law entitles you to relief.
                Your theory therefore must be directed to prove every legal element
                that is necessary to both justify a verdict on your behalf and to
                preserve it on appeal.

        •       It is simple. A good theory makes maximum use of undisputed facts.
                It relies as little as possible on evidence that may be hotly
                controverted, implausible, inadmissible, or otherwise difficult to
                prove.


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        Evidence of abandonment rage in guilt/innocence would have refuted burglary, and/or

retaliation for testifying, and shown that those enhancements were both irrelevant and superfluous.

Yet, without insight into abandonment rage based on Petitioner’s attachment disorder whose genesis

lay in early childhood, the only response by the defense was that the prosecutor failed in its burden

of proof beyond a reasonable doubt. As a result of the absence of an effective theory of the case for

life, Petitioner was denied his Sixth and Fourteenth amendment rights to effective assistance of

counsel who failed to provide him with a fair defense.



                        (2)     The defense attorneys attestations about their “beliefs” are not
                                evidence of “strategy”


        The defense attested in state habeas that an abandonment rage theory would present two

problems, and these problems were based on their “beliefs”:

                First, by raising the issue it is our belief that the State would have been able
        to bring in the shooting of his second wife Rhonda and all of the other bad acts
        entered through testimony during the punishment phase of trial. We can only image
        the small amount of evidence that the jury would need to convict Steve of shooting
        Tammy after listening to everything the State had to present about him from
        incidents prior to Tammy.




        •       It is easy to believe. Even “true” theories may be difficult to believe
                because they contradict everyday experience, or because they require
                harsh judgments. You must strive to eliminate all implausible
                elements from your theory. Similarly, you should attempt to avoid
                arguments that depend upon proof of deception, falsification, ill
                motive, or personal attack. An airtight theory is able to encompass
                the entirety of the other side’s case and still result in your victory by
                sheer logical force.

Steven Lubet, MODERN TRIAL ADVOCACY : ANALYSIS & PRACTICE 8-9 (NITA 2nd ed. 1999).


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                 Secondly, this type of defense, specifically in Collin County, more than likely
        would not be an effective trial strategy. ... This is a very conservative county that
        tend to believe the State more often than not and who don’t respond to “novel”
        defense theories. If given the option again, neither attorney believes that
        abandonment rage as a defense in guilt innocence would be effective nor benefit
        their client Mr. Gardner.”

Affidavit of House and Hultkrantz, p. 3. These “beliefs” are not trial strategy. Moreover, these

beliefs are not predicated on any objective and reliable evidence.

        The first “belief” of the defense attorneys was that the State would be allowed to bring in and

“all of the other bad acts entered through testimony during the punishment phase of trial.” This

attestation overlooks the capital guidelines instruction that “it is important to dispel any motion that

mitigation is separate from issues relating to the guilt or innocence of the accused. They are

intricately linked.” ABA GUIDELINE 10.4 (2008) located in O’BRIEN , 36 HOFSTRA L. REV . 693, 703

(6/15/2008).

        The extra offenses concerning domestic abuse and violence were going to come into

evidence regardless, because the best the defense had to offer was that the “prosecution-failed-to-

prove-it.” An abandonment rage theory could have been used by the defense at the outset to explain

why Petitioner, if guilty, was guilty of a lesser offense than capital murder. And even if the jury

returned a capital murder verdict, it would have been a consistent theory that in the punishment

phase would have reflected why Petitioner was less morally culpable.

        The commentary to the capital guidelines explain:


        A second potential danger identified by seasoned practitioners is that articulating
        standards specifically directed to the mitigation function could create the false
        impression that mitigation is separate from issues related to the guilt or innocence
        of the accused – that the mitigation effort only comes into play at the penalty stage
        of trial. ... The Supplementary Guidelines build on the requirement of the ABA
        Guidelines that counsel harmonize the defense presentation of both guilt-innocence

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        and punishment issues by recognizing counsel’s duty to address the mitigation
        function from the very beginning and throughout the representation:

                 [T]he responsibility for the development and presentation of
                 mitigation evidence must be incorporated into the defense case at all
                 stages of the proceedings from the moment the client is taken into
                 custody, and extending to all stages of every case in which the
                 jurisdiction may be entitled to seek the death penalty, ....

Commentary, B. Integrating the Defense Theory, Supplemental ABA GUIDELINE 10.4 (2008)

located in O’BRIEN , 36 HOFSTRA L. REV . 693, 705-707 (6/15/2008).

        With respect to the second “belief,” the theory of abandonment rage is not a “novel” theory.

At least as early as 1999, there were published studies as to it. Donald G. Dutton and Greg Kerry,

Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, 22 INTERNATIONAL

JOURNAL    OF   LAW & PSYCHIATRY 287, 287 (1999).               The juror affidavits prove by clear and

convincing evidence that the unsubstantiated, conclusory and self-serving assertions of defense

counsel that “local juries’[in Collin County] distrust ... ‘novel’ defensive theories” were incorrect.

 Compare Affidavit of House and Hultkrantz, p.3 with State Habeas Exhibit B4: Declaration of Gail

Stafford: “I believe that had I seen the reports of Toni Knox and Gilda Kessner, I would have

seriously considered that testimony ....” and with State Habeas Exhibit B3: Declaration of Paul

Reichenbach: “The mitigation evidence investigated by Toni Knox and Gilda Kessner may have

[made me] ... more willing to consider a life sentence;” and with State Habeas Exhibit B2: Affidavit

of Wendy Duerr: “The declaration of Gardner’s friends and his psychological evaluation would have

affected my deliberations.”

        The jurors affidavits refute that “counsel’s reasons for not pursuing such a defense were

reasonable,” and refute that a Collin County jury would have been distrustful of such a defense

theory. FF No. 53.

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        Taking the unaffected findings in the guilt/innocence phase of the trial as a given, and taking

due account of the effect of the errors on the remaining findings, Mr. Gardner satisfied his burden

of showing that there is a reasonable probability that the outcome would have been different, but for

the deficient performance of defense counsel. The “prosecution-failed-to-prove-it” theory in

guilt/innocence, ensured a verdict of capital murder. This theory increased the likelihood of

Petitioner’s execution when the prosecution just served up even more unexplained acts of

Petitioner’s repeated domestic violence in the punishment phase of the trial. The deficient

performance of defense counsel resulted in a directed verdict for the State of Texas. See Miller v.

Dretke, 420 F.3d 356, 364 (5th Cir. 2005) (“While not presenting a potential bar to prosecution,

Miller’s claim that she was suffering from mental and emotional injuries, ... was significant in that

it constituted a basis for minimizing her culpability”). For all of the aforementioned reasons, habeas

relief should be granted.




D.      The Conclusions of Law Nos. 97-102 are contrary to, and an unreasonable application
        of federal law

        The State court decision denying relief on the basis that trial counsel was not ineffective, and

specifically Conclusions of Law Nos. 97-102 are contrary to, and an unreasonable application of,

Strickland and its progeny. 28 U.S.C. § 2254(d)(1)(2).

        Had there been a thorough mitigation investigation, coupled with an adequate time line, a

unified theme of abandonment rage and trauma could have emerged. This theme would have made

maximum use of the undisputed fact of Petitioner’s history of domestic abuse and violence, and




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would have given rise to the distinction between a non-capital killing arising from estrangement, and

capital murder arising from retaliation or burglary.

        For all the aforementioned reasons, the state court decision to deny relief on the merits is not

entitled to the deference ordinarily due under the AEDPA. Mr. Gardner had made a prima facie

showing that he was denied his Sixth Amendment right to both effective assistance of counsel and

to a fair defense, by refuting and explaining the enhancement elements of capital murder (e.g.,

burglary and retaliation for testifying). Strickland, 466 U.S. at 695; U.S. CONST . Amend. VI. Yet,

the state court denied him an opportunity to develop his claim in an evidentiary hearing, particularly

as to the retaliation enhancement.         At such a hearing, Petitioner would have show by a

preponderance of the evidence that the killing was the result of attachment disorder, a long-standing

mental impairment, whose origins were in Petitioner’s early childhood, and not because Tammy was

to testify in the divorce proceeding.        Instead, the state court proceeded to a merits-based

determination of the factual questions and essentially required Petitioner to prove his claim at the

prima facie stage, pretermitting the opportunity for the hearing and the fuller development of the

evidence that Petitioner contemplated. Compare Wiley v. Epps, 625 F.3d 199, 211 (5th Cir. 2010).

        In cases such as Petitioner’s, when the state court pretermits the opportunity for a hearing

and the fuller development of the evidence, no deference is due the state court decision on the

merits. Indeed, in Wiley v. Epps, 625 F.3d 199, 207 (5th Cir. 2010), the Fifth Circuit made clear that

when a mental impairment is at issue (mental retardation in Atkins; incompetency to be executed in

Ford) federal “due process jurisprudence ... required a hearing in accord with fundamental fairness

and procedural due process ...” citing Atkins v. Virginia, 536 U.S. 304 (2002) and Ford v.

Wainwright, 477 U.S. 399, 424 (1986). See Panetti v. Quarterman, 551 U.S. 930, 953-54 (2007),


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Wiley v. Epps, 625 F.3d 199, 207 (5th Cir. 2010) (“[W]hen a petitioner makes a prima facie showing

of [his federal constitutional law claim], a state court's failure to provide him with an opportunity

to develop his claim deprives the state court decision of the deference ordinarily due under the

AEDPA.”).

        Following therefrom, a de novo review of the state court decision reflects that the state court

decision on the merits is both contrary to, and an objectively unreasonable application of, Strickland

and its progeny. In light of the aforementioned arguments and authorities, habeas relief is in order.




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GROUND TWO (IAC & FAILURE TO TIMELY INVESTIGATE AND DEVELOP CRUCIAL EVIDENCE &
NO EFFECTIVE THEORY – 6T H & 14T H AMENDMENT VIOLATIONS ). Trial counsel presented
multiple, inconsistent and implausible theories because they failed to timely investigate and
develop crucial information



A.      Statement of Facts.

        Grounds One and Two involve a common set of facts. Accordingly, all factual and legal

allegations are fully incorporated into each and every other ground.




B.      No Presumption of Correctness for Fact Findings

        Findings of Fact Nos. 44-62, labeled: Ground Two: Presentation of a Consistent Theory of

the Case are not entitled to a presumption of correctness, as will be more fully discussed below.

Guidry v. Dretke, 397 F.3d 306, 326 (5th Cir. 2005), citing Miller-El v. Cockrell, 537 U.S. 322, 340

(2003); 28 U.S.C. § 2254(d)(2). Further, habeas relief should be granted because the state court

adjudication resulted in a decision that was based on an unreasonable determination of the facts in

light of the evidence presented in the State court proceeding. 28 U.S.C. § 2254(d)(2).

        The findings of fact recite, among other things, that “counsel elected to pursue separate

strategies during the guilt and punishment phase of trial,” FF No. 45; that counsel engaged in

making “choices” of “strategies” for the guilt/innocence and punishment phases, that were the result

of “reasoned decisions,” FF No. 47-50;




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                1.      Because mitigation is linked to issues relating to guilt/innocence, and
                        because the mitigation investigation was not adequate, defense counsel
                        could not have developed any effective theory of the case whatsoever

        There is clear and convincing evidence that proves the mitigation investigation was

inadequate. Trial counsel themselves attested in state habeas that their trial expert, Dr. Allen,

“decided she didn’t want to testify [to attachment disorder] because of lack of information....”

Affidavit of House and Hultkrantz, p. 9. Dr. Kessner, another trial expert, attested in state habeas

that she had “had a telephone conference and in person conferences with the defense attorneys and

various members of the defense team. I voiced my concern that there were important corroborating

witnesses who were not being located and interviewed for mitigation.”State Habeas Exhibit C:

Affidavit of Gilda Kessner, Psy.D. And in its September 15, 2010 order, the Texas Court of

Criminal Appeals, explicitly refused to adopt FF No. 67 that defense counsel “did not believe that

their investigation was impaired....”10 Put another way, the TCCA implicitly ruled that the

mitigation investigation was impaired.

        Setting aside whether the abandonment rage theory was an appropriate theory to present, and

focusing solely on the work product of trial counsel in the Gardner trial, it is apparent that defense

counsel could not have developed any an effective theory of the case whatsoever – contrary to FF

Nos. 44-52. This is because no one on the defense team, or their consultants, had adequate

information about Mr. Gardner’s psycho-social history The capital guidelines instruct that




   10
        FF No. 67 recited that defense counsel “did not believe that their investigation was
impaired,” because “their mitigation expert, Shelli Schade, was ‘overly close’ with Applicant
and his family.” (Emphasis supplied)

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mitigation is not separate from issues relating to guilt or innocence.11 Hence, because the defense

did not have sufficient information about their client, they could not make a “strategic” choice to

challenge the enhancement element of burglary or retaliation as the theory in the guilt/innocence

phase. Compare FF No. 46. Had the mitigation investigation been adequate, the defense could have

shown that the killing of Tammy Gardner was the result of abandonment rage and trauma (which

at best, was a non-capital offense resulting in a term of years, instead of a sentence of death) – and

not because of the status of Tammy Gardner as a prospective witness who would testify against him,

as was required by TEX . PENAL CODE 36.36(a)(1). See Giles v. California, 554 U.S. 353 (2008).12

        Similarly, in the punishment phase, it was impossible for them “to humanize Steve.”

Compare FF No. 48. They did not have the crucial information to do so. To the contrary, the

“defense” of Mr. Gardner, such as it was, left unanswered the state’s case-in-chief. The State had

contrasted Mr. Gardner as a child raised by a “mother and father [who] made him pray on his knees

every morning,” and whose “parents are still together,” and who visit the grandchildren, (Vol.


   11
        The capital guidelines instruct that “it is important to dispel any motion that mitigation is
separate from issues relating to the guilt or innocence of the accused. They are intricately
linked.” al ABA GUIDELINE 10.4 (2008) located in O’BRIEN , 36 HOFSTRA L. REV . 693, 703
(6/15/2008).
   12
       In Giles, at issue was an exception to the right to confrontation when a spouse is
“absent” from proceedings because of domestic abuse and violence. The United States Supreme
Court held that in the typical domestic homicide case, the issue does not pivot on a defendant
merely causing the absence of the witness. Rather, there had to be a

        “showing that the defendant intended to prevent a witness from testifying. In cases
        where the evidence suggested that the defendant had caused a person to be absent,
        but had not done so to prevent the person from testifying – as in the typical
        murder case involving accusatorial statements by the victim – the testimony was
        excluded unless it was confronted or fell within the dying-declaration exception.”

Giles, 554 U.S. at 361.

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23:114-115), against Mr. Gardner, the adult male, who made repeated choices to perpetrate violence

on women, sexually molest and/or physically assault the daughters of his former wives, and commit

acts of sexual indecency in public. (Vol. 23:28).



                2.      Unlike the defense presentation, an adequate mitigation investigation
                        would have revealed Petitioner’s attachment disorder, that refutes and
                        explains the prosecution’s future dangerousness presentation

        FF Nos. 56-61, recite that trial counsel “subjected the prosecution’s evidence to meaningful

adversarial testing,” and that the abandonment rage theory “would have reinforced” that Petitioner

was a future danger, thus, it would not have caused a different result in the punishment phase. The

evidence proves otherwise. Because of an inadequate mitigation investigation, left uncontested was

the prosecution’s assertion that even if there was evidence of child abuse:

        1.      there was “nothing in his [Petitioner’s] background [that] explain[s] or
                justifies his behavior;”

        2.      his sister grew up in the same household and was able to lead a normal life;
                and

        3.      the parents have remained together, visiting “grandkids and greatgrand
                children on a regular basis.”

(Vol. 23:85, 86, 92, 115).

        Dr. Allen “decided she didn’t want to testify [to attachment disorder] because of lack of

information....” Affidavit of House and Hultkrantz, p. 9. And Dr. Kessner, another trial expert,

attested in state habeas that she had “had a telephone conference and in person conferences with the

defense attorneys and various members of the defense team. I voiced my concern that there were

important corroborating witnesses who were not being located and interviewed for mitigation.” State

Habeas Exhibit C: Affidavit of Gilda Kessner, Psy.D.

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        Although FFCL Nos. 23, 30-25-36 were drafted to address Ground 1, they are important to

include in this Ground 2 because they touch and concern the development of a consistent and

effective theory of the case. FFCL Nos. 23, 30-25-36 recite in part that Dr. Kessner “never

informed counsel of the abandonment rage theory prior to trial or suggested that it could be

applicable to Applicant,” and that “Dr. Kessner did not claim on habeas that the abandonment rage

theory had any application to the guilt phase of the trial.” FF No. 70 recites that “Applicant has

identified no evidence or themes that counsel failed to recognize....” These fact findings border on

the frivolous. Until the mitigation investigation is adequately performed, no mental health expert

can suggest a theme or theory. And given that Dr. Kessner herself placed defense counsel on notice

prior to the inception of trial that the mitigation investigation was deficient, she was not in a position

to advise defense counsel about possible mental health theories. See State Habeas Exhibit C:

Affidavit of Gilda Kessner, Psy.D.

        Likewise, no defense expert was willing to testify in the punishment phase about mitigation

for the same reason: the mitigation investigation was inadequate. As a result, Mr. Gardner was left

without any defense, to refute and explain the prosecution’s picture of Mr. Gardner’s “pattern in

his life that has repeated over and over,” of being “violent and abusive toward women and children.”

 (Vol. 23:85, 86).

        The Supplemental Guidelines make clear “it is important to dispel any notion that mitigation

is separate from issues relating to the guilt or innocence of the accused. They are intricately linked.”

O’B RIEN, 36 H OFSTRA L. R EV. 693, 703 (6/15/2008).

        The abandonment rage theory, which is predicated in attachment disorder, would not have

“reinforced the jury’s conclusion that Applcant was a future danger,” or “reinforced the State’s


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theory that applicant murdered Tammy because he ‘lost that control’ and emphasized his violent

nature. FF 58, 61. Likewise, there was nothing “internally contradictory” about it. See FF No. 58,

59.

        An adequate mitigation investigation would have provided the necessary foundation that

would have revealed that Petitioner had attachment disorder – a concept well-recognized in the

mental health field, and a mental health impairment that was continuous and pervasive throughout

Petitioner’s life and relationships. Attachment disorder would have been the springboard from

which, an expert would have explained Petitioner’s depraved lifestyle as well as domestic violence,

using the work of Dr. Dutton on domestic violence and killings. This theory would have given

a defense expert the foundation on which to testify about “the critical phase of development

for attachment insecurity that leads to abandonment rage.” (Vol. 23:28); State Habeas Exhibit

C: Affidavit of Gilda Kessner, Psy.D., paras. 13, 24. Instead, the trial defense left future

dangerousness unexplained. The outcome was inevitable – a vote for yes to special issue, and it

concomitant sentence of death.



                3.      Jurors’ affidavits refute trial counsel’s attestations and the fact findings
                        that Collin County juries would not have responded to the abandonment
                        rage theory

        The FFCL Nos. 8-10, recite that the affidavits are inadmissible, and purport to “strike” them,

because they violate TEX . R. EVID . 606(b) – which they do not. TEX . R. EVID . 606(b) provides:

        (b)     Inquiry into Validity of Verdict or Indictment. Upon an inquiry into the
                validity of a verdict or indictment, a juror may not testify as to any matter or
                statement occurring during the jury’s deliberations, or to the effect of
                anything on any jurors mind or emotions or mental processes, as influencing
                any juror’;s assessment to or dissent from the verdict or indictment. Nor may
                a juror’s affidavit or any statement by a juror concerning any matter about

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                  which the juror would be precluded from testifying be admitted in evidence
                  for any of these purposes.

        Remarkably, the Fact Findings strike the juror affidavits on the basis that state statute makes

them inadmissible because they concern the jurors’ deliberation of the effect certain evidence had

or might have had ...” on the verdict. Fact Finding Nos. 8-10. Yet at the same time, the fact findings

as drafted by the prosecutors and signed verbatim by the judge, use this same evidence to support

“the effect [this] evidence had or might have had” on the verdict. For example, they refer to it as

proof that juries would be distrustful of such evidence, FF No. 53; “would not have affected the

jury’s decision on future dangerousness,” FF No. 58, 82; and “would not have affected the jury’s

decision on mitigation,” FF No. 59, 81. This inconsistent application of the statute arising from Fact

Finding Nos. 8-10 violates Mr. Gardner’s due process, substantive and procedural rights.

        Putting aside this aside, the juror affidavits go above and beyond any inquiry into the validity

of a verdict. Instead, the juror affidavits refute FF No. 53. They prove by clear and convincing

evidence that the unsubstantiated, conclusory and self-serving assertions of defense counsel that

“local juries’[in Collin County] distrust ... ‘novel’ defensive theories....” Compare Affidavit of

House and Hultkrantz, p.3 with State Habeas Exhibit B4: Declaration of Gail Stafford: “I believe

that had I seen the reports of Toni Knox and Gilda Kessner, I would have seriously considered that

testimony ....” and with State Habeas Exhibit B3: Declaration of Paul Reichenbach: “The mitigation

evidence investigated by Toni Knox and Gilda Kessner may have [made me] ... more willing to

consider a life sentence;” and with State Habeas Exhibit B2: Affidavit of Wendy Duerr: “The

declaration of Gardner’s friends and his psychological evaluation would have affected my

deliberations.”




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        Accordingly, these affidavits refute that “counsel’s reasons for not pursuing such a defense

were reasonable,” and refute that a Collin County jury would have been distrustful of such a defense

theory. FF No. 53.



C.      Argument and Authorities.

        1.      Standard of Review

        The Supreme Court in Strickland held that the "benchmark for judging any claim of

ineffectiveness must be whether counsel's conduct so undermined the proper functioning of the

adversarial process that the trial cannot be relied on as having produced a just result." Strickland v.

Washington, 466 U.S. 668, 686 (1984). Strickland stated a two-pronged test for judging claims of

ineffective assistance of counsel:

        First, "whether, in light of all the circumstances, [counsel's] acts or omissions were
        outside the wide range of professional competent assistance," and

        Second, "whether there is a reasonable probability that, absent the errors, the fact
        finder would have had a reasonable doubt respecting guilt"

Strickland, 466 U.S. at 995.



        ABA GUIDELINE 10.7 Investigation (rev. ed. Feb. 2003) provides:

        A.      Counsel at every stage have an obligation to conduct thorough and
                independent investigations relating to the issues of both guilt and penalty.

                1.      The investigation regarding guilt should be conducted
                        regardless of any admission or statement by the client
                        concerning the facts of the alleged crime, or overwhelming
                        evidence of guilt, or any statement by the client that evidence
                        bearing upon guilt is not to be collected or presented.




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See also GUIDELINES     AND   STANDARDS     FOR   TEXAS CAPITAL COUNSEL, Guideline 11.1 – Trial

Investigation.



        Additionally, the Commentary to ABA GUIDELINE 10.11 – The Defense Case Concerning

Penalty (rev. ed. Feb. 2003) provides:

        The Importance of an Integrated Defense

                During the investigation of the case, counsel should begin to develop a
        theme that can be presented consistently through both the first and second phases
        of the trial. Ideally, “the theory of the trial must complement, support, and lay the
        groundwork for the theory of mitigation.” Consistency is crucial because, as
        discussed in the commentary to Guideline 10.10.1, counsel risks losing credibility
        by making an unconvincing argument in the first phase that the defendant did not
        commit the crime, then attempting to show in the penalty phase why the client
        committed the crime.


        2.       Trial counsel was constitutionally ineffective

                 a.     Counsel’s performance was deficient

        Trial counsel’s performance was deficient because they failed to adequately and thoroughly

investigate and develop crucial information about Mr. Gardner’s life history. As attested to by Toni

Knox, because the dates in the abbreviated time line that the mitigation investigator had provided

defense counsel “were vague and the time line did not document what records the information was

obtained from, .... the trial team did not have this basic organizing tool ... [which] can frequently

reveal trends, patterns of behavior and causal factors.” Exhibit D: Affidavit of Toni Knox, LCSW

at p. 4. Following therefrom, defense counsel was unable to formulate and present an effective

theory of the case in all phases of the trial.




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        Specifically, absent an adequate mitigation investigation, the defense was unable to advance

the any theme or theory that would have been effective throughout the trial.




                        (1)     An effective theory of the case for life is a national standard in
                                capital cases

        Having an effective theory of the case for life is a national standard of practice when

representing persons accused of capital crimes.             NATIONAL LEGAL AID        AND   DEFENDER

ASSOCIATION , Guidelines for Criminal Defense Representation (1995). ABA GUIDELINE 11.7.1

(1989). An effective theory of the case satisfies the following essential elements:


        •       It is logical. A winning theory has internal logical force. It is based
                upon a foundation of undisputed or otherwise provable facts, all of
                which lead in a single direction. The facts upon which your theory
                is based should reinforce (and never contradict) each other. Indeed,
                they should lead to each other, each fact or premise implying the next
                in an orderly and inevitable fashion.

        •       It speaks to the legal elements of your case. All of your trial
                persuasion must be in aid of a ‘legal’ conclusion. Your theory must
                not only establish that your client is good or worthy (or that the other
                side is bad and unworthy), but also that the law entitles you to relief.
                Your theory therefore must be directed to prove every legal element
                that is necessary to both justify a verdict on your behalf and to
                preserve it on appeal.

        •       It is simple. A good theory makes maximum use of undisputed facts.
                It relies as little as possible on evidence that may be hotly
                controverted, implausible, inadmissible, or otherwise difficult to
                prove.

        •       It is easy to believe. Even “true” theories may be difficult to believe
                because they contradict everyday experience, or because they require
                harsh judgments. You must strive to eliminate all implausible
                elements from your theory. Similarly, you should attempt to avoid
                arguments that depend upon proof of deception, falsification, ill

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                 motive, or personal attack. An airtight theory is able to encompass
                 the entirety of the other side’s case and still result in your victory by
                 sheer logical force.13

Steven Lubet, MODERN TRIAL ADVOCACY : ANALYSIS & PRACTICE 8-9 (NITA 2nd ed. 1999).

        Despite this national standard, there was no effective unifying theme at trial. See Exhibit

D: Affidavit of Toni Knox, LCSW at p. 17 (“By the choice of mitigation witnesses, I could not

identify the mitigation themes the defense was attempting to present”).




                          (2)      There was an absence of a consistent, unified and effective theme
                                   in any phase of the trial


                                   (a)      Voir Dire: selecting jurors who could vote for other than
                                            death

        Other than seeking potential jurors who were capable of voting for other than death, there

was a glaring absence of a consistent unified theme.



                                   (b)      Guilt/Innocence: Petitioner was not at the scene, but if he
                                            was, there was no burglary and the divorce was
                                            uncontested

        To the extent that there was a defense theory in the guilt/innocence phase, it was limited to

the assertion that “the evidence will not show any forensic link to Mr. Steven Gardner, no physical

link ..., nothing that places that gun in his hand.” (RR 19:18). This theory failed to account for the

role of circumstantial evidence, and inferences that jurors could draw.


   13
       See also S TEPH EN C. R ENCH , Building the Powerfully Persuasive Criminal Defense, 42 M ERCER L. R EV . 569,
570 (1991) (“The story allows the jury to understand and organize the myriad of facts and to judge plausibility.
Studies show that in order to be plausible, a story or case must be: 1) consistent; 2) complete; 3) in context; 4)
organized; 5) believable; and 6) positive and persuasive.”).

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        Worse, the closing argument of the defense aided the prosecution’s theory when he told the

jury:

        To make it a capital murder, then they have to prove beyond all reasonable doubt,
        and we talked about that, there’s two separate things going on, that Steve either
        committed retaliation, and that must be proven beyond all reasonable doubt, and in
        this case the State’s theory is because of the divorce;.....”

(RR 21:31).

        The prosecution had introduced the divorce petition into evidence. Then it called Eric

Higgins, a family-law practitioner who testified that even in an uncontested divorce proceeding, a

petitioner, such as Tammy Gardner, would come to court for a “prove up.” That is, “the petitioner

typically would come to court and provide some testimony to the court to support the judgment or

the divorce decree.” (RR 20:100).

        The closing argument of the defense pointed the jury in the direction of a verdict of capital

murder based on two facts: First, the prosecutor had introduced evidence, that even in an

uncontested divorce, there must be a “prove-up.” Second, Tammy Gardner was dead. Hence, a

reasonable juror could infer that because Tammy Gardner was going to testify in the “prove up,” that

Petitioner killed her. But testifying in a prove-up is irrelevant in a uxoricide. All that is relevant in

an estrangement killing is that one spouse leaves or attempts to leave the other.




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                                (c)      Punishment: Petitioner’s leaving one woman for another,
                                         is the type of thing that “happens everyday”

        In the punishment phase, there was no defense theory whatsoever as reflected in the

disjointed opening statement of defense counsel. He first told the jury that after assaulting Margaret

and being imprisoned, Margaret and Petitioner continued to have a conjugal relationship. Then

defense counsel told the jury that Petitioner later divorced Sandra, to marry Tammy. And finally,

defense argued in opening statement, that this sort of thing “happens everyday.” (RR 22:11-13).



                        (3)     An adequate pre-trial investigation would have revealed the
                                theme of abandonment rage, which made use of the undisputed
                                facts of domestic abuse, while leading to the conclusion that
                                Petitioner was not deserving of death

        Had an adequate and thorough pre-trial investigation been performed, the defense could have

developed a unified them that the killing was not in “retaliation for testifying” at the prove-up.

Rather, the killing of Tammy Gardner was an estrangement killing – which is not a capital murder

offense.

        An effective theory of the case, would have begun by testing each potential juror’s views

concerning “abandonment rage.” These views would have allowed the defense to cull those persons

whose view on the topic were within their “latitude of rejection,” from those who views on the topic

were within their “latitude of non-commitment.”14




   14
       Social Judgment Theory posits three possible perspectives by a potential juror: latitude
of acceptance; latitude of non-commitment; and latitude of rejection. “The latitude of
acceptance” are those positions which are acceptable. The “latitude of non-commitment” are
those positions which are neither accepted nor rejected. The “latitude of rejection” are positions
which will be actively opposed.

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        Having at least identified those jurors who were capable of listening to the theme, the

defense could then have segued into guilt/innocence where the defense would have sponsored

forensic evidence that showed that men who kill their female companions with excessive force, are

men who are faced with recent or imminent abandonment and that this abandonment rage has its

origins in early development.” Exhibit C: Affidavit of Gilda Kessner, Psy.D., para. 26. See also

Donald G. Dutton and Greg Kerry, Modus Operandi and Personality Disorder in Incarcerated

Spousal Killers, 22 International Journal of Law & Psychiatry 287, 287 (1999a).

        In particular, the testimony would have revealed that Petitioner experienced abandonment

rage and trauma originating in his early childhood trauma,15 which consisted of three meaningful

childhood environmental factors. Specifically, the Petitioner

        1.      witnessed/experienced violence, which was the first source of trauma,

        2.      was shamed, which was a second source of trauma, and

        3.      had an insecure attachment, which was a third source of trauma.


Accordingly, the theme of abandonment rage was consistent with the prosecution’s assertion that

Petitioner had a history of domestic abuse and violence, while at the same time refuting that the

killing of Tammy Gardner was done in retaliation for potential testimony at a prove-up.

        And finally, the theme of abandonment rage and trauma would have naturally segued into

the punishment phase to explain how and why Petitioner was less morally culpable and not


   15
       There was evidence of trauma, despite the self-serving statements of the trial counsel that
there was none:

        “There was no – we checked on whether there was any mental health treatment
        that would aid in mitigation in this case and also to the cohesiveness of the
        family.” RR 23:77.

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deserving of death. The research literature reflects that abandonment rage has a neurobiological

component.16

        As a result, the theme of abandonment rage, with its concomitant neurobiological effects,

would have embraced the prosecutor’s admonishment:

         “all of this defendant’s adult life, he has been violent and abusive toward women
        and children. It’s been a behavior, a pattern in his life that has repeated over and
        over,....”

(RR 23: 85), while at the same time providing an explanation to the jurors that these very facts of

a “pattern of domestic violence” were not the product of volitional, evil intent, but instead a product

of brain impairment.17

   16
      See DONALD G. DUTTON . (2002). The Neurobiology of Abandonment Homicide,
Aggression and Violent Behavior, 7, 407-421.

        “A review is made of the typical modus operandi and psychological profile of
        uxoricide (wife murder) perpetrators. Typically, most had traumatic childhood and
        have current personality disorders (PD; typically Dependent, Passive–Aggressive,
        or Borderline PD). The uxoricide occurred during attempted abandonment of the
        relationship by the female and was characterized by extreme violence and elements
        of disorganized behavior by the perpetrator. A review is also made of the
        neuroanatomy and neurobiology of aggression. It is found that the orbitofrontal
        cortex (OFC) is implicated in control of aggressive impulses. This cortical area
        matures during the critical ‘‘rapprochement subphase’’ of early development (1.5–2
        years). Attachment dysfunction during this period may interfere with critical
        development. It is found that low levels of serotonin (5-HT) and high levels of
        norepinephrine (NE) are implicated in aggression. It is also found that low levels of
        5-HT and high levels of NE are long-term neurobiological sequelae of trauma.
        Attachment trauma can occur during the rapprochement subphase. It is suggested
        that a biological basis may serve to connect early trauma experience with a specific
        rage response to abandonment and spousal homicide. Neural networks containing
        malignant memories may be the neural mechanism by which perceived
        abandonment generates such symbolic terror and rage.”
   17
      See DONALD G. DUTTON . (2002). The Neurobiology of Abandonment Homicide,
Aggression and Violent Behavior, 7, 407-421.

        “.... It is found that the orbitofrontal cortex (OFC) is implicated in control of

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        In summary, had the pre-trial investigation been adequate, an effective theory of the case

would have been available to the defense in the guilt/innocence phase to the capital-murder-

enhancements. Further, evidence of abandonment rage and trauma could have naturally segued into

the punishment phase. It would have allowed defense counsel to urge the jurors that Mr. Gardner

was not as morally culpable as someone who did not suffer from his impairments, and thus did not

deserve death.




        aggressive impulses. This cortical area matures during the critical ‘‘rapprochement
        subphase’’ of early development (1.5–2 years). Attachment dysfunction during this
        period may interfere with critical development. It is found that low levels of
        serotonin (5-HT) and high levels of norepinephrine (NE) are implicated in
        aggression. It is also found that low levels of 5-HT and high levels of NE are
        long-term neurobiological sequelae of trauma. Attachment trauma can occur during
        the rapprochement subphase. It is suggested that a biological basis may serve to
        connect early trauma experience with a specific rage response to abandonment
        and spousal homicide. Neural networks containing malignant memories may be
        the neural mechanism by which perceived abandonment generates such symbolic
        terror and rage.”

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                b.      Prejudice is presumed

        Trial counsel’s deficient performance was complete; prejudiced is presumed. This is because

in the case at bar, the absence of a theory that was effective in all phases of the trial made it

improbable – if not impossible – for counsel to have been effective at any stage of the trial

proceedings. Without an effective theory, counsel had no roadmap to guide them in their efforts to

persuade the jury to sentence to life.

        The United States Supreme Court has made clear that "[i]f no actual 'Assistance' 'for' the

accused's 'defense' is provided, then the constitutional guarantee [to effective counsel] has been

violated." United States v. Cronic, 466 U.S. 648, 654 (1984). Echoing Cronic, the Fifth Circuit held:

“The right to the assistance of counsel for one's defense . . . encompasses the right to have an

advocate for one's cause.” Childress v. Johnson, 103 F.3d 1221, 1226, 1228 (5th Cir.1997). The lack

of an effective theory of the case for life deprived Mr. Stroman of a fair trial and resulted in a

complete failure to subject the prosecution’s case to meaningful adversarial testing. Bell v. Cone,

535 U.S. 685, 697 (2002) . . .       Bell v. Cone, 535 U.S. 685, 697 (2002). Hence, prejudice is

presumed. Habeas relief must be granted.



                c.      Alternatively, but for the deficient performance of counsel, there is a
                        reasonable probability the outcome would have been different



                        (1)     The Strickland prejudice prong

        In Strickland v. Washington, 466 U.S. 668, 695-696 (1984), the Court held:

        In making this determination, a court hearing an ineffectiveness claim must consider
        the totality of the evidence before the judge or jury. Some of the factual findings will
        have been unaffected by the errors, and factual findings that were affected will have

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        been affected in different ways. Some errors will have had a pervasive effect on the
        inferences to be drawn from the evidence, altering the entire evidentiary picture, and
        some will have had an isolated, trivial effect. Moreover, a verdict or conclusion only
        weakly supported by the record is more likely to have been affected by errors than
        one with overwhelming record support. Taking the unaffected findings as a given,
        and taking due account of the effect of the errors on the remaining findings, a
        court making the prejudice inquiry must ask if the defendant has met the burden
        of showing that the decision reached would reasonably likely have been different
        absent the errors.




                        (2)     The trial evidence

        The punishment phase of the trial last lasted two days: on November 13, 2006, the state’s

case-in-chief consisted of testimony from seven (7) witnesses as to the future dangerousness issue,

and then the state rested; on November 14, 2006, the defense called four (4) witnesses to refute the

state’s future dangerousness issue and then it rested; immediately followed by two prosecution

witnesses in rebuttal, again as to the future dangerousness issue only.




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        No mitigation was presented by the defense team.18 The affidavit of the defense attorneys

recited, among other things, that they did not present any evidence in mitigation because:

        •       the State had not proven future dangerousness beyond a reasonable doubt.
                Affidavit of Attorneys House and Hultkrantz, p. 5.

        •       “The fact of the matter there wasn’t much [mitigation] available given the
                life style Steve had lived including his past homosexual relationships, his
                past history of violence in many if not all of the relationships and the limited
                testimony available from his family;” Affidavit of Attorneys House and
                Hultkrantz, p. 5.

        •       “our mitigation expert had discovered little or nothing that was deemed
                useful for trial,” and although they had hired Dr. Allen to “examine and
                address about abandonment issues concerning Steve... [Dr. Allen] decided
                she didn’t want to testify because of lack of information....” Id. at 9;

        •       the mitigation expert “had developed an overly close relationship with the
                defendant,” and had “refused to share notes from her mitigation investigation
                and refused to summarize her findings in a report to the attorneys;” Affidavit
                of Attorneys House and Hultkrantz, pp. 4, 6, 7.

        •       testimony about Mr. Gardner’s “womanizing,” “his constant focus on sex,”
                and “his life style ... including homosexual relationships, his past history of


   18
        According to defense counsel, the mitigation investigation consisted of (Vol 23:77-78):

        •       Mr. Gardner’s prior childhood accidents and injuries, which did not reveal
                anything significant,
        •       there was no serious illnesses at any time;
        •       There was physical abuse to Mr. Gardner and Elaine Holifield, his sister, but
                no sexual abuse of any kind;
        •       The size of the immediate family “was four – plus grandchildren;”
        •       there was no drug or alcohol abuse by Mr. Gardner or any members of the
                family;
        •       there was no mental health treatment, issues as to family cohesiveness, or
                family standard of living and living conditions, that would aid in mitigation;
        •       “the social relationships with members of, basically, the opposite sex,
                marriage, divorces, etc; and that’s all come into evidence,”(as reflected in the
                state’s case-in-chief on the future dangerousness issue)
        •       all awards and honors shown by his military records


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                violence in many if not all of the relationships and the limited testimony
                available from his family,” would have been harmful because they were
                “well aware of what the feelings and reactions jurors [in conservative Collin
                County] are when it comes to presentation of evidence regarding transvestites
                and other alternative lifestyles.” Affidavit of Attorneys House and
                Hultkrantz, pp. 7, 8.

        Additionally, the prosecutor stated on the record in response to the defense attorneys

assertion at trial that it was their “trial strategy not to put [experts] on,” that “at approximately 11:15

a.m. that morning, we were summoned to the Chambers, and defense counsel was present. It was

our understanding at that point the defense team had consulted with their client and that he was of

the opinion that he did not want to put on a mitigation case.”19 Defense counsel did not respond.

(Vol 23:76).


                (a)     The aggravating evidence

        As result, the only story of Mr. Gardner was the one told by the prosecution during the

punishment phase on the issue of future dangerousness. The prosecution introduced evidence that

despite having been raised by a “mother and father [who] made him pray on his knees every

morning,” and whose “parents are still together,” and visit the grandchildren, (Vol. 23:114-115), Mr.

Gardner was a man who perpetrated violence on women, sexually molested and/or physically

assaulted the daughters of his former wives, and committed acts of sexual indecency in public.

        Specially, the evidence in aggravation included the testimony of:


   19
       In Rompilla v. Beard, 545 U.S. 374, 377 (2005), the Supreme Court made clear that
“even when a capital defendant's family members and the defendant himself have suggested that
no mitigating evidence is available, his lawyer is bound to make reasonable efforts to obtain and
review material that counsel knows the prosecution will probably rely on as evidence of
aggravation at the sentencing phase of trial.” And in Roe v. Flores-Ortega, 528 U.S. 470, 481
(2000), the U.S. Supreme Court stated that “[t]he relevant question is not whether counsel's
choices were strategic, but whether they were reasonable.”

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        •       Dr. Rohr, the medical examiner for Collin County, who testified from the
                Mississippi medical records of Rhoda Gardner. Rhoda was Mr. Gardner’s
                former spouse, who was pregnant at the time he ambushed and shot her three
                times, resulting in paraplegia. (Vol. 22:17). As a result of complications
                from having lost the fetus, she was required to undergo subsequent surgery
                and died as a result of cardiac arrhythmia. The medical records recited that
                the manner of death was homicide, and listed four reasons for her death:
                massive pulmonary embolism; paraplegia; gunshot wounds; homicide. (Vol
                22:21, 25).

        •       Margaret Westmoreland (Vol. 22:27) testified that during the marriage,
                although Mr. Gardner was work-capable, he was unemployed, (Vol. 22:39),
                that he was controlling, threatened to “hunt [her] down” and kill her and her
                children if she left him, (Vol. 22:54), and isolated her from her family.

        •       Rebecca Fethiere, the daughter of Ms. Westmoreland, testified Mr. Gardner
                had hit her in the head three times with his fist, causing injury, which
                required 78 stitches. (Vol. 22:74). Ms. Fethiere also testified to the
                inappropriate, “boyfriendish” approach of Mr. Gardner, who wanted to put
                her makeup on her, and suggested that if she had “sex with the devil,”
                meaning himself, she would get devil-like powers. (Vol. 22:65, 68).

        •       Several law enforcement officers testified to an incident by Mr. Gardner of
                indecent exposure and unlawful carrying of a weapon, (Vol. 22: 103);
                specifically for masturbating in his vehicle in the parking lot at the Irving
                Mall at Christmas time in December, 1992, where there were women and
                children. (Vol. 22:91, 96, 100).

        •       Jessie Mangum, the daughter of capital murder victim Tammy Gardner,
                testified that when she was in second grade and living with her mom and Mr.
                Gardner, Mr. Gardner acted sexually inappropriate with her by kissing her
                and touching her, and having her touch him. (Vol. 22:124-126).

        •       Both Ms. Mangum and Ms. Fethiere had testified that Mr. Gardner showed
                no remorse when he told each of them about his ambushing and shooting his
                former wife, Rhoda Gardner. (Vol. 22:77; Vol. 22:132-133). Ms. Mangum
                also testified that when a former wife of Mr. Gardner, Sandra, would dropped
                off Nicholas (biological son of Mr. Gardner and Sandra), Sandra appeared
                “frantic” around Mr. Gardner and wanted to “get out of there.” (Vol. 22:128-
                129).




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        In an attempt to refute the future dangerousness presentation, the defense called:

        •       two former co-workers (William Campbell Miles and Kelly Dowdy), who
                testified that Mr. Gardner was a diligent, responsible employee, (Vol.23:7-8;
                Vol 23: 17-18). Mr. Miles testified that based on his conversations with Mr.
                Gardner during his incarceration awaiting trial, that Mr. Gardner would have
                eternal security in God because he was a born-again Christian. (Vol. 23: 10-
                11).

        •       They called a former spouse of the victim, Juan Russel Sewell, who testified
                that he and Tammy were divorced after a year of marriage because they
                “couldn’t make it,” (Vol. 23:22), and that Tammy could be manipulative,
                and had a weakness for men. (Vol. 23:23).

        •       Only Elaine Hollifield, the older sister of Mr. Gardner, testified about
                repeated incidents of abuse of Mr. Gardner at the hands of his parents. (Vol.
                23:24).

        Elaine Holifield testified to the death of a sister who died in first grade of heart failure, and

how her illness and death caused financial stress in the family. (Vol. 23:26). Ms. Holifield also

testified to the violent temper of her father, the unhappy marriage and violent interaction of their

parents, (Vol. 23:30). The violence in her parents’ marriage was reflected in the presence of

knives, broom handles, and a gun. (Vol. 23:32).

        Ms. Holified also testified that their father was a Baptist preacher, who continuously moved

from church to church because the congregation would ask him to resign, (Vol. 23:26), and how he

would have them up at 5:30 am to do daily devotionals, only after their mother left for work at a

sewing factory at 4:00 am. Because playmates would have been forced to participate in this morning

ritual, Elaine and Steve did not invite friends to their home. (Vol. 23:28).

        Ms. Holified testified that their father would physically abuse her and, Steve Gardner. Their

father would interrupt a church service to take Steve to the fellowship hall to beat him with a belt




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while the congregants listened. The wails were heard by the parishioners, and the beating caused

welts on Steve’s body. (Vol 23: 35-36).

         Ms. Holifield testified to other physical and verbal abuse of Mr. Gardner, by his father and

mother. His father would beat Steve at least once a week for no apparent reason, not with his hand

but with a limb from a bush or with his belt. (Vol. 23:31-32, 34). Steve’s mother, who was a

screamer, would use her hand to slap the children, and Steve in particular. Ms. Holified could not

provide any particular reason for the beatings, and testified that their father would later take them

to the beach. (Vol. 23:40-41).



                (b)     The mitigating evidence

         As reflected above, there was no expert testimony to provide context and both refute and

explain the prosecution’s picture of Mr. Gardner’s “pattern in his life that has repeated over and

over,” of being “violent and abusive toward women and children.” (Vol. 23:85, 86). Such expert

testimony would have provided an explanation to the jury about “the critical phase of development

for attachment insecurity that leads to abandonment rage.”

         Also left uncontested was the prosecution’s assertion that even if there was evidence of child

abuse:

         1.     there was “nothing in his background [that] explain[s] or justifies his
                behavior;”

         2.     his sister grew up in the same household and was able to lead a normal life;
                and

         3.     the parents have remained together, visiting “grandkids and greatgrand
                children on a regular basis.”

(Vol. 23:85, 86, 92, 115).

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                d.      State habeas evidence revealed a reasonable probability the outcome
                        would have been different

        The evidence in state habeas sought to address the Strickland prejudice prong from the

psychological and the neurobiological perspective.20 Each perspective illustrates how and why Mr.

Gardner is less morally culpable for the death of his wife, Tammy Gardner, than someone who did

not experience the trauma he experienced at the hands of his parents, and the increased risk in all

aspects of his life as a result of the attachment disorder. These different perspectives seek to appeal

to those jurors who are inclined toward hard-data by presenting a neurobiological approach, and also

to appeal to those jurors who are receptive to the soft sciences, using the psychological-study

approach.


                        (1)     Adequate lay witness testimony would have provided personal
                                knowledge about the rigid religious environment and childhood
                                abuse experienced by Mr. Gardner

        The mitigation investigator, Toni Knox, LCSW, for this state habeas proceeding, attested to

the constitutional ineffectiveness of counsel as a result of the failure to adequately present lay

witness testimony in the penalty phase of the trial, such as Sylvia and Donald Reeves; Steve’s third

wife, Margaret; Steve’s son, Randall Reeves. Ms. Knox attests that the failure of trial counsel to

present this additional lay witness testimony resulted in a “disjointed” mitigation “with no unifying

theme.”


   20
        Social Judgment Theory posits three perspectives from which a juror views the evidence:
latitude of acceptance; latitude of non-commitment; and latitude of rejection. “The latitude of
acceptance are those positions which are acceptable. The latitude of non-commitment are those
positions which are neither accepted nor rejected. The latitude of rejection are positions which
will be actively opposed.” Social Judgment Theory,
http://changingminds.org/explanations/theories/social_judgment.htm


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        Had these additional lay witnesses been called, they would have provided additional

information at the punishment phase, which would have given credence to testimony about the rigid

religious environment and abuse and violence in Steve’s family home. It would have refuted the

prosecutor’s suggestion that the testimony of Steve’s sister, Elaine, was a biased effort to save her

brother from a sentence of death. And it would have bolstered expert testimony concerning Steve’s

life history. See Exhibit D: Affidavit of Toni Knox, LCSW at pp. 10-13.



                        (2)     Expert witness testimony would have explained Petitioner’s
                                domestic violence, with its origins in Petitioner’s psycho-social
                                history

        The mitigation investigator, Toni Knox, LCSW, for this state habeas proceeding, attested to

the constitutional ineffectiveness of counsel as a result of the failure to adequately present expert

witness testimony in the penalty phase of the trial to address the issue of domestic violence.    Ms.

Knox attests:

        Rather than allow their expert witnesses to come in to present Steve’s life history and
        attempt to possibly explain his behavior in the abusive relationships, Mr. House
        announced in his closing statement:

                But here is my question to you: This abuse by itself, how does that
                work? How many people do you know that are in abusive
                relationships? How many people do you know that are in those
                relationships, stay in those relationships when they shouldn’t? They
                do. And you know why? Because they still love them.

        The reason for remaining in an abusive relationship is not this simple as there are
        a myriad of reasons for people remaining in abusive relationships, other than they
        still love the person. This is not the testimony that would have been presented by
        a mental health expert to the jury.

Exhibit D: Affidavit of Toni Knox, LCSW at p.17 (emphasis supplied).




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        Ms. Knox further attests:

               Two expert witnesses were retained by the defense to testify and present
        Steve’s life history and provide some research data concerning Steve’s behavior
        when he believed he was being abandoned.

                Dr. Gilda Kessner, a psychologist, spent hours interviewing Steve and his
        sister. Additionally, she reviewed numerous records and researched the literature in
        preparation of her testimony. [See exhibit 10, to Knox affidavit] If Dr. Kessner had
        been allowed to testify, she would have provided information to the jury
        concerning the neurobiology of abandonment homicide. Additional rather than
        the simplistic explanation given by Mr. House concerning domestic violence, she
        would have provided research based information about domestic violence. ....

               Dr. Kate Allen, a social worker, was also retained to provide life history
        testimony at the trial. As with Dr. Kessner, she was not called to testify, although
        she was present and ready to testify.

Exhibit D: Affidavit of Toni Knox, LCSW at pp.15-16 (emphasis supplied).



        Dr. Kessner attests in this state habeas proceeding:

                 I have concluded based on the records and literature review, that had I been
        allowed to testify in the 2006 Case about the impact of the developmental trauma
        cited by family members, that I could have provided a context for the jury to
        understand the etiology of Mr. Gardner’s personality and behavior. At the time
        of trial, there was a large and growing body of literature addressing the issue of
        perpetrators of domestic violence.

                Briefly, John Steven Gardner was born into a chaotic and dysfunctional
        family and events in his infancy and early childhood had a profound effect on his
        early and life long psychosocial development. Events taking place at critical
        developmental periods for trust, interpersonal relationships and self-concept had
        a damaging effect on his ability to relate to others in an intimate and sexual way.
        The modeling of violence and jealousy between his parents in their marital
        relationship served as a template for behavior in his future romantic relationships.
        These factors would have provided an explanation to the jurors, as to why John
        Steven Gardner perpetrated violence and threats of violence against his domestic
        partners, and therefore, would have given them a basis to find that he was less
        morally culpable and not worthy of death.




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Exhibit C: Affidavit of Gilda Kessner, Psy.D, para. 12 (emphasis supplied). Thereafter, Dr. Kessner

explains the concept of abandonment rage and its neurobiological effects.

        As the aforementioned state habeas evidence revealed, the psycho-social history of Mr.

Gardner reflects his insecurity, possessiveness, jealousy, and probable sex addiction, as well as

abandonment rage that had its genesis in early childhood.


                        (3)     At the psychological level, Dr. Dutton’s work could have
                                explained how Petitioner’s family origin resulted in a depraved
                                lifestyle

        At the psychological level, Dutton’s work could have explained how the violent Gardner

household, with rigid enforcement of strict rules by a remote, depressed, angry, former alcoholic

father, may have affected Mr. Gardner’s development and behavior, and resulted in a depraved

lifestyle. (Vol. 23:28). Relying on the work of Dutton, Dr. Kessner attests: “[T]he critical phase

of development for attachment insecurity that leads to abandonment rage ... is seen in all of Steve

Gardner’s relationships and especially in his relationship with Tammy.” State Habeas Application,

Exhibit C: Affidavit of Kessner, Psy.D., p. 8, para. 21.


                        (4)     At the neurobiological level, Dr. Dutton’s work could have shown
                                the link between abandonment and homicidal rage

        At the neurobiological level, Dutton’s work on domestic abuse and spousal killings reflects

a neurobiological link between abandonment and homicidal rage. Once again, relying on the work

of Dutton, Dr. Kessner attests: “... Gardner’s early childhood history of exposure to extreme trauma

provided the basis for his insecurity, dependence and over-controlled hostility in intimate

relationships.” State Habeas Application, Exhibit C: Affidavit of Kessner, Psy.D., p. 10, para. 25.




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                        (5)     Jurors’ affidavits refute that they would not have responded to
                                the abandonment rage theory

        The FFCL Nos. 8-10, recite that the affidavits are inadmissible, and purport to “strike”

them, because they violate T EX. R. E VID. 606(b) – which they do not. T EX. R. E VID. 606(b)

provides:

        (b)     Inquiry into Validity of Verdict or Indictment. Upon an inquiry into the
                validity of a verdict or indictment, a juror may not testify as to any matter or
                statement occurring during the jury’s deliberations, or to the effect of
                anything on any jurors mind or emotions or mental processes, as influencing
                any juror’;s assessment to or dissent from the verdict or indictment. Nor may
                a juror’s affidavit or any statement by a juror concerning any matter about
                which the juror would be precluded from testifying be admitted in evidence
                for any of these purposes.

        Remarkably, the Fact Findings strike the juror affidavits on the basis that state statute makes

them inadmissible because they concern the jurors’ deliberation of the effect certain evidence had

or might have had ...” on the verdict. Fact Finding Nos. 8-10. Yet at the same time, the fact findings

as drafted by the prosecutors and signed verbatim by the judge, use this same evidence to support

“the effect [this] evidence had or might have had” on the verdict. For example, they refer to it as

proof that juries would be distrustful of such evidence, characterize abandonment rage theory as a

“novel” theory FF No. 53; which “would not have affected the jury’s decision on future

dangerousness,” FF No. 58, 82; and which “would not have affected the jury’s decision on

mitigation,” FF No. 59, 81. This inconsistent application of the statute arising from Fact Finding

Nos. 8-10 violates Mr. Gardner’s due process, substantive and procedural rights.

        Putting aside this aside, the juror affidavits go above and beyond any inquiry into the validity

of a verdict. Instead, the juror affidavits refute FF No. 53. The theory of abandonment rage is not

a “novel” theory. At least as early as 1999, there were published studies as to it. Donald G. Dutton


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and Greg Kerry, Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, 22

International Journal of Law & Psychiatry 287, 287 (1999). Further, the juror affidavits refute, by

clear and convincing evidence, that the unsubstantiated, conclusory and self-serving assertions of

defense counsel that “local juries’[in Collin County] distrust ... ‘novel’ defensive theories” were not

correct. Compare Affidavit of House and Hultkrantz, p.3 with State Habeas Exhibit B4: Declaration

of Gail Stafford: “I believe that had I seen the reports of Toni Knox and Gilda Kessner, I would

have seriously considered that testimony ....” and with State Habeas Exhibit B3: Declaration of Paul

Reichenbach: “The mitigation evidence investigated by Toni Knox and Gilda Kessner may have

[made me] ... more willing to consider a life sentence;” and with State Habeas Exhibit B2: Affidavit

of Wendy Duerr: “The declaration of Gardner’s friends and his psychological evaluation would have

affected my deliberations.”


        Accordingly, these affidavits refute that “counsel’s reasons for not pursuing such a defense

were reasonable.” FF No. 53.In the case at bar, there was no strategic reason for the failure of trial

counsel to adequately present lay and expert witness testimony to explain Mr. Gardner’s actions.21


   21
        ABA GUIDELINE 10.11 – THE DEFENSE CASE CONCERNING PENALTY specifically
        provides:

        F.      In deciding which witnesses and evidence to prepare concerning penalty, the
                areas counsel should consider include the following:

                1.      Witnesses familiar with and evidence relating to the client’s life and
                        development, from conception to the time of sentencing, that would
                        be explanatory of the offense(s) for which the client is being
                        sentenced, would rebut or explain evidence presented by the
                        prosecutor, would present positive aspects of the client’s life, or
                        would otherwise support a sentence less than death;

                2.      Expert and lay witnesses along with supporting documentation (e.g.,

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        The deficient performance resulted in a failure to “integrate all of the facts and circumstances

of the defendant’s life and the crime and present a persuasive narrative of the events that encourages

values of accountability over retribution, grace over vengeance, and life over death.” RICHARD G.

DUDLEY , Getting It Right: Life History Investigation as the Foundation for a Reliable Mental

Health Assessment, SUPPLEMENTARY GUIDELINES             FOR THE   MITIGATION FUNCTION     OF   DEFENSE

TEAMS IN DEATH PENALTY CASES, Vol. 36, No. 3 HOFSTRA L. REV . at 963, 965 (Spring 2008).

Following therefrom, the one-sided story of the prosecution, in the absence of a thoroughly

investigated and developed mitigation presentation were “errors [of trial counsel] ... which had a

pervasive effect on the inference to be drawn from the evidence, altering the entire evidentiary

picture ....” Strickland, 466 U.S. at 695-696.



D.      The Conclusions of Law Nos. 97-102 are contrary to, and an unreasonable application
        of federal law

        The State court decision denying relief on the basis that trial counsel was not ineffective, and

specifically Conclusions of Law Nos. 97-102 are contrary to, and an unreasonable application of,

Strickland and its progeny. 28 U.S.C. § 2254(d)(1)(2).

        Had there been a thorough mitigation investigation, coupled with an adequate time line, a

unified theme of abandonment rage and trauma could have emerged. This theme would have made

maximum use of the undisputed fact of Petitioner’s history of domestic abuse and violence, while



                        school records, military records) to provide medical, psychological,
                        sociological, cultural or other insights into the client’s mental and/or
                        emotional state and life history that may explain or lessen the client’s
                        culpability for the underlying offense(s); ... [to] support a sentence
                        less than death; ....


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at the same time providing a viable explanation of the shooting of Rhoda and the subsequent

shooting of Tammy.

        In the guilt/innocence phase, an adequate mitigation investigation would have given rise to

the distinction between a non-capital killing arising from estrangement, and capital murder arising

from retaliation for testifying. Because of an inadequate mitigation investigation, the defense failed

to object to the prosecution’s focus on the “divorce.” The defense too mislead the jury into finding

retaliation by eliciting testimony about the “divorce,” and conflating it with retaliation for testifying.

(RR 19:37, 143, 164, 166, 209, 292, 294, 259, 260, 266), Thrust of TEX . PENAL CODE 36.36(a)(1)

is not about whether a couple is divorcing. It is about whether a defendant intends to prevent a

witness from testifying. The defense was not capable of making this distinction in fact or law

because the mitigation investigation was not adequate.

        In the punishment phase, an adequate mitigation investigation would have demonstrated why

Petitioner was not as morally culpable as someone who did not experience such childhood trauma,

and supported a verdict other than death. Strickland, 466 U.S. at 695.

        For all the aforementioned reasons, the state court decision to deny relief on the merits is not

entitled to the deference ordinarily due under the AEDPA. Mr. Gardner had made a prima facie

showing that trial counsel were constitutionally ineffective in failing to fulfill their obligation to

conduct an adequate, thorough and independent investigation, and therefore, presented multiple,

inconsistent and implausible theories of the case. U.S. CONST . Amend. VI. Yet, the state court

denied him an opportunity to develop his claim in an evidentiary hearing. See Panetti v.

Quarterman, 551 U.S. 930, 953-54 (2007), Wiley v. Epps, 625 F.3d 199, 207 (5th Cir. 2010)

(“[W]hen a petitioner makes a prima facie showing of [his federal constitutional law claim], a state


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court's failure to provide him with an opportunity to develop his claim deprives the state court

decision of the deference ordinarily due under the AEDPA.”). Hence, the state court decision is

both contrary to, and an objectively unreasonable application of, Strickland and its progeny. In light

of the aforementioned arguments and authorities, habeas relief is in order.




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GROUND THREE (FAILURE TO ADEQUATELY INVESTIGATE AND DEVELOP MITIGATING
EVIDENCE – IAC): Mr. Gardner was denied his Sixth, Eighth and Fourteenth amendment
rights to individualized sentencing because trial counsel failed to adequately investigate and
develop crucial mitigating evidence

GROUND FOUR (FAILURE TO ADEQUATELY PRESENT MITIGATING EVIDENCE – IAC): Mr.
Gardner was denied his Sixth, Eighth and Fourteenth amendment rights to individualized
sentencing because trial counsel failed to adequately present crucial mitigating evidence

        Because FFCL Nos.63-83 treat Grounds Three and Four together, they are addressed

together here. Further, all factual and legal allegations presented in Grounds Three and Four as they

pertain to mitigation, are fully incorporated into each and every other ground.



A.      Statement of Facts.

        The punishment phase of the trial last lasted two days: on November 13, 2006, the state’s

case-in-chief consisted of testimony from seven (7) witnesses as to the future dangerousness issue,

and then the state rested; on November 14, 2006, the defense called four (4) witnesses to refute the

state’s future dangerousness issue and then it rested; immediately followed by two prosecution

witnesses in rebuttal, again as to the future dangerousness issue only.




        1.      The aggravating evidence

        The only story of Mr. Gardner was the one told by the prosecution during the punishment

phase on the issue of future dangerousness. The prosecution introduced evidence that despite having

been raised by a “mother and father [who] made him pray on his knees every morning,” and whose

“parents are still together,” and visit the grandchildren, (Vol. 23:114-115), Mr. Gardner was a man




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who perpetrated violence on women, sexually molested and/or physically assaulted the daughters

of his former wives, and committed acts of sexual indecency in public.

        Specially, the evidence in aggravation included the testimony of:

        •       Dr. Rohr, the medical examiner for Collin County, who testified from the
                Mississippi medical records of Rhoda Gardner. Rhoda was Mr. Gardner’s
                former spouse, who was pregnant at the time he ambushed and shot her three
                times, resulting in paraplegia. (Vol. 22:17). As a result of complications
                from having lost the fetus, she was required to undergo subsequent surgery
                and died as a result of cardiac arrhythmia. The medical records recited that
                the manner of death was homicide, and listed four reasons for her death:
                massive pulmonary embolism; paraplegia; gunshot wounds; homicide. (Vol
                22:21, 25).

        •       Margaret Westmoreland (Vol. 22:27) testified that during the marriage,
                although Mr. Gardner was work-capable, he was unemployed, (Vol. 22:39),
                that he was controlling, threatened to “hunt [her] down” and kill her and her
                children if she left him, (Vol. 22:54), and isolated her from her family.

        •       Rebecca Fethiere, the daughter of Ms. Westmoreland, testified Mr. Gardner
                had hit her in the head three times with his fist, causing injury, which
                required 78 stitches. (Vol. 22:74). Ms. Fethiere also testified to the
                inappropriate, “boyfriendish” approach of Mr. Gardner, who wanted to put
                her makeup on her, and suggested that if she had “sex with the devil,”
                meaning himself, she would get devil-like powers. (Vol. 22:65, 68).

        •       Several law enforcement officers testified to an incident by Mr. Gardner of
                indecent exposure and unlawful carrying of a weapon, (Vol. 22: 103);
                specifically for masturbating in his vehicle in the parking lot at the Irving
                Mall at Christmas time in December, 1992, where there were women and
                children. (Vol. 22:91, 96, 100).

        •       Jessie Mangum, the daughter of capital murder victim Tammy Gardner,
                testified that when she was in second grade and living with her mom and Mr.
                Gardner, Mr. Gardner acted sexually inappropriate with her by kissing her
                and touching her, and having her touch him. (Vol. 22:124-126).

        •       Both Ms. Mangum and Ms. Fethiere had testified that Mr. Gardner showed
                no remorse when he told each of them about his ambushing and shooting his
                former wife, Rhoda Gardner. (Vol. 22:77; Vol. 22:132-133). Ms. Mangum
                also testified that when a former wife of Mr. Gardner, Sandra, would dropped
                off Nicholas (biological son of Mr. Gardner and Sandra), Sandra appeared

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                “frantic” around Mr. Gardner and wanted to “get out of there.” (Vol. 22:128-
                129).



        In an attempt to refute the future dangerousness presentation, the defense called:

        •       two former co-workers (William Campbell Miles and Kelly Dowdy), who
                testified that Mr. Gardner was a diligent, responsible employee, (Vol.23:7-8;
                Vol 23: 17-18). Mr. Miles testified that based on his conversations with Mr.
                Gardner during his incarceration awaiting trial, that Mr. Gardner would have
                eternal security in God because he was a born-again Christian. (Vol. 23: 10-
                11).

        •       They called a former spouse of the victim, Juan Russel Sewell, who testified
                that he and Tammy were divorced after a year of marriage because they
                “couldn’t make it,” (Vol. 23:22), and that Tammy could be manipulative,
                and had a weakness for men. (Vol. 23:23).

        •       Only Elaine Hollifield, the older sister of Mr. Gardner, testified about
                repeated incidents of abuse of Mr. Gardner at the hands of his parents. (Vol.
                23:24).

        Elaine Holifield testified to the death of a sister who died in first grade of heart failure, and

how her illness and death caused financial stress in the family. (Vol. 23:26). Ms. Holifield also

testified to the violent temper of her father, the unhappy marriage and violent interaction of their

parents, (Vol. 23:30). The violence in her parents’ marriage was reflected in the presence of

knives, broom handles, and a gun. (Vol. 23:32).

        Ms. Holified also testified that their father was a Baptist preacher, who continuously moved

from church to church because the congregation would ask him to resign, (Vol. 23:26), and how he

would have them up at 5:30 am to do daily devotionals, only after their mother left for work at a

sewing factory at 4:00 am. Because playmates would have been forced to participate in this morning

ritual, Elaine and Steve did not invite friends to their home. (Vol. 23:28).




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        Ms. Holified testified that their father would physically abuse her and, Steve Gardner. Their

father would interrupt a church service to take Steve to the fellowship hall to beat him with a belt

while the congregants listened. The wails were heard by the parishioners, and the beating caused

welts on Steve’s body. (Vol 23: 35-36).

        Ms. Holifield testified to other physical and verbal abuse of Mr. Gardner, by his father and

mother. His father would beat Steve at least once a week for no apparent reason, not with his hand

but with a limb from a bush or with his belt. (Vol. 23:31-32, 34). Steve’s mother, who was a

screamer, would use her hand to slap the children, and Steve in particular. Ms. Holified could not

provide any particular reason for the beatings, and testified that their father would later take them

to the beach. (Vol. 23:40-41).



        2.      The mitigating evidence

        No mitigation was presented by the defense team.        According to defense counsel, the

mitigation investigation consisted of (Vol 23:77-78):

        •       Mr. Gardner’s prior childhood accidents and injuries, which did not reveal
                anything significant,
        •       there was no serious illnesses at any time;
        •       There was physical abuse to Mr. Gardner and Elaine Holifield, his sister, but
                no sexual abuse of any kind;
        •       The size of the immediate family “was four – plus grandchildren;”
        •       there was no drug or alcohol abuse by Mr. Gardner or any members of the
                family;
        •       there was no mental health treatment, issues as to family cohesiveness, or
                family standard of living and living conditions, that would aid in mitigation;
        •       “the social relationships with members of, basically, the opposite sex,
                marriage, divorces, etc; and that’s all come into evidence,”(as reflected in the
                state’s case-in-chief on the future dangerousness issue)
        •       all awards and honors shown by his military records




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 The affidavit of the defense attorneys recited, among other things, that they did not present any

 evidence in mitigation because:

         •       the State had not proven future dangerousness beyond a reasonable doubt.
                 Affidavit of Attorneys House and Hultkrantz, p. 5.

         •       “The fact of the matter there wasn’t much [mitigation] available given the
                 life style Steve had lived including his past homosexual relationships, his
                 past history of violence in many if not all of the relationships and the limited
                 testimony available from his family;” Affidavit of Attorneys House and
                 Hultkrantz, p. 5.

         •       “our mitigation expert had discovered little or nothing that was deemed
                 useful for trial,” and although they had hired Dr. Allen to “examine and
                 address about abandonment issues concerning Steve... [Dr. Allen] decided
                 she didn’t want to testify because of lack of information....” Id. at 9;

         •       the mitigation expert “had developed an overly close relationship with the
                 defendant,” and had “refused to share notes from her mitigation investigation
                 and refused to summarize her findings in a report to the attorneys;” Affidavit
                 of Attorneys House and Hultkrantz, pp. 4, 6, 7.

         •       testimony about Mr. Gardner’s “womanizing,” “his constant focus on sex,”
                 and “his life style ... including homosexual relationships, his past history of
                 violence in many if not all of the relationships and the limited testimony
                 available from his family,” would have been harmful because they were
                 “well aware of what the feelings and reactions jurors [in conservative Collin
                 County] are when it comes to presentation of evidence regarding transvestites
                 and other alternative lifestyles.” Affidavit of Attorneys House and
                 Hultkrantz, pp. 7, 8.


         Additionally, the prosecutor stated on the record in response to the defense attorneys

 assertion at trial that it was their “trial strategy not to put [experts] on,” that “at approximately 11:15

 a.m. that morning, we were summoned to the Chambers, and defense counsel was present. It was

 our understanding at that point the defense team had consulted with their client and that he was of




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 the opinion that he did not want to put on a mitigation case.”22 Defense counsel did not respond.

 (Vol 23:76).



 B.        No Presumption of Correctness for Fact Findings

           Findings of Fact Nos. 11-16 (Credibility of Counsel) and Findings of Fact Nos. 63-83

 (Grounds Three & Four: Investigation and Development of Mitigating Evidence) – as modified by

 the September 15, 2010 order of the Texas Court of Criminal Appeals rejecting Finding of Fact No.

 67, which recites that defense counsel “did not believe that their investigation was impaired,”

 because “their mitigation expert, Shelli Schade, was ‘overly close’ with Applicant and his family”),

 are not entitled to a presumption of correctness, as discussed supra, and as will be more fully

 discussed below. Guidry v. Dretke, 397 F.3d 306, 326 (5th Cir. 2005), citing Miller-El v. Cockrell,

 537 U.S. 322, 340 (2003); 28 U.S.C. § 2254(d)(2). Further, habeas relief should be granted because

 the state court adjudication resulted in a decision that was based on an unreasonable determination

 of the facts in light of the evidence presented in the State court proceeding. 28 U.S.C. § 2254(d)(2).



           1.     There is clear and convincing evidence that refutes that the mitigation
                  investigation was thorough

           In particular, there is clear and convincing evidence that contradicts that “counsel thoroughly

 investigated and prepared for Applicant’s trial, ....” FFCC No. 64. Setting aside the abandonment


      22
        In Rompilla v. Beard, 545 U.S. 374, 377 (2005), the Supreme Court made clear that
 “even when a capital defendant's family members and the defendant himself have suggested that
 no mitigating evidence is available, his lawyer is bound to make reasonable efforts to obtain and
 review material that counsel knows the prosecution will probably rely on as evidence of
 aggravation at the sentencing phase of trial.” And in Roe v. Flores-Ortega, 528 U.S. 470, 481
 (2000), the U.S. Supreme Court stated that “[t]he relevant question is not whether counsel's
 choices were strategic, but whether they were reasonable.”
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 rage theory, and looking at the acts and omissions of trial counsel in the Gardner matter, the affidavit

 of trial counsel themselves, the statements and attestations of the trial experts and that of the state

 habeas expert, as well as the billing records, all prove that trial counsel did not adequately

 investigate, develop or present mitigating evidence.



         2.      The TCCA’s September 15, 2010 order implicitly ruled that the mitigation
                 investigation was impaired

         In state habeas, the joint Affidavit of Counsel at 6-7, FFCL No. 67 recited that “Counsel

 believed that their mitigation expert, Shelli Schade, was ‘overly close’ with Applicant and his

 family, but they did not believe that their investigation was impaired.” As modified by the

 September 15, 2010 order, the Texas Court of Criminal Appeals rejected Finding of Fact No. 67.

 The Texas Court of Criminal Appeals implicitly ruled that the mitigation investigation was

 impaired. Thus, it is not entitled to a presumption of correctness.

         Hence, it does not follow that the trial attorneys were able to “humanize Steve as much as

 possible ....” when their “mitigation expert had discovered little or nothing that was deemed useful

 for trial.” See Affidavit of House and Hultkrantz, p. 4, last para.




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         3.      At the time of trial, trial experts Kate Allen and Gilda Kessner, Psy.D., put trial
                 counsel on notice of the inadequate mitigation investigation, and both refused
                 to testify about mitigation because of the lack of information

         At the trial, Mr. Gardner’s attorneys put on the record that it was “part of our trial strategy

 ... not to put them [experts as regards mitigation] on....” (RR 23:74). This self-serving, conclusory

 assertion of counsel at trial, is likewise not entitled to a presumption of correctness. Because the

 September 15, 2010 order of the Texas Court of Criminal Appeals rejected Finding of Fact No. 67,

 it recognized that the mitigation investigation was impaired.

         Therefore, setting aside the abandonment rage theory, and looking at the acts and omissions

 of trial counsel in the Gardner case, the attorneys could not have made a “strategic” decision to

 refrain from calling the experts to testify as to mitigation. The experts did not testify in punishment

 because of the inadequate mitigation investigation.

         Not only did the experts put defense counsel on notice, Mssrs. House and Hultkrantz

 admitted as much when they attested:

         “Dr. Kate Allen was retained to examine and address about abandonment issues
         concerning Steve. However, at the conclusion of watching some of the testimony,
         specially when the step-daughter stated Steve had been very abusive to her – she
         [Dr. Allen] decided she didn’t want to testify [to attachment disorder] because of
         lack of information....”

 Affidavit of House and Hultkrantz, p. 9. It is to be noted that the FFCL No. 68 d. conveniently

 omitted this crucial part of the attorney affidavit and recast it that Dr. Allen did not want to testify

 solely because Dr. Allen “concluded that Applicant was psychotic....” Compare FFCL No. 68, d.

 with Affidavit of House and Hultkrantz, p. 9.

         Likewise, the attestation of trial expert, Gilda Kessner, Psy.D., contradicts by clear and

 convincing evidence the FFCL that recite that the mitigation investigation was “thorough,” see

 FFCL Nos. 64, 63-83. Dr. Kessner attested:
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         10.     I also had a telephone conference and in person conferences with the defense
                 attorneys and various members of the defense team. I voiced my concern
                 that there were important corroborating witnesses who were not being
                 located and interviewed for mitigation. Ms. Shelli Schade the social worker
                 hired by the attorneys for the mitigation investigation indicated that people
                 in small towns would not be willing to reveal information and therefore
                 corroborating information could not be obtained from them. .... Ms. Schade
                 did not provide me with notes from any interviews she conducted. It was my
                 impression that she did not provide summary notes to the attorneys either.

         ....

         12.     It is my recollection that at the time of trial the attorneys had settled that I
                 would testify on risk assessment and Dr. Allen was going to testify on
                 attachment. I believe I had scant information for the development of a
                 coherent mitigation theme due to the absence of detailed and corroborated
                 information about Mr. Gardner’s background. There was an abundance
                 of information from Mr. Gardner but without corroborating witnesses my
                 ability to present mitigation information to the jury was necessarily very
                 limited.

 State Habeas Exhibit C: Affidavit of Gilda Kessner, Psy.D.

         In light of the experts notice to counsel at the trial stage that there was a lack information,

 couple with the TCCA’s September 15, 2010 order that recognized that the mitigation investigation

 was impaired, no theory could be developed or implemented. Hence, the trial attorneys House and

 Hultkrantz were incapable of “strategically” deciding on a theory to present. See ABA GUIDELINE

 10.4 (2008) located in O’BRIEN , 36 HOFSTRA L. REV . 693, 703 (6/15/2008) (“It is the duty of

 counsel to lead the team in conducting an exhaustive investigation into the life history of the client.

 It is therefore incumbent upon the defense to interview all relevant persons and obtain all relevant

 records and documents that enable the defense to develop and implement an effective defense

 strategy.”).




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         4.      The affidavit of state habeas expert, Toni Knox LCSW, corroborates the trial
                 experts opinions

         The attestation of the mitigation investigator, Toni Knox, LCSW, in state habeas

 corroborates Dr. Kessner’s professional observation. Ms. Knox attested:

         Although the defense team formed appropriate members for the defense team as
         described in the ABA Guidelines, the follow through of the presentation of the
         mitigation at trial did not follow.

         The mitigation specialist, while maintaining very good rapport with the client and
         frequently visiting him, other mitigation tasks were neglected. There was not a
         thorough mitigation investigation as there were quite a few friends and family that
         were not contacted to corroborate Steve’s information.

 State Habeas Exhibit D: Affidavit of Toni Knox, LCSW, and exhibits 1 - 12 appended thereto.



         5.      The billing records of Ms. Schade, the trial mitigation specialist, was inadequate

         A review of the billing records of defense team, and Shelli Schade in particular, reflects an

 absence of a thorough mitigation investigation. The May 8, 2006 Account Summary submitted by

 Schade reflects that at most 23.25 hours were dedicated to a “visit with parents, sister, attorney,

 investigator, notes – 13.5 hr; and a “visit with witnesses, parents, and sister” – 9.75 hr). Exhibit 1:

 May 8, 2006 Account Summary.

         On the one hand, the trial attorneys seek to shift blame to Ms. Schade wanting to make it

 appear that they were helpless in the face of her refusal to cooperate or undertake her assigned role:

         Shelli Schade refused to share notes from her mitigation investigation and refused
         to summarize her findings in a report to the attorneys. She was overly concerned
         with waht could be discoverable by the State and despite the attorneys reassurance
         that it wold not be discoverable, she refused to put together a report of any form for
         use by the investigator and the trial team.




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 Affidavit of House and Hultkrantz, p. 7. However, the commentary to the ABA guidelines for

 capital defense make clear that “‘ultimate responsibility’ for the investigation of such [mitigation]

 issues rests irrevocably with counsel. O’BRIEN , 36 HOFSTRA L. REV . 693, 703 (6/15/2008).

         Curiously, defense counsel at the same time were quick to assert that the decision on who

 to call was theirs alone:

         We realize that our mitigation specialist has complained that she was not consulted
         regarding the decision not to present our two consulting experts. However, it must
         be remembered that she was a part of the defense team and not the trial team. Her
         work, or lack thereof, was meant to assist us in our trial strategy but the trial team
         was not a democracy where we sought out the opinions of all involved and took a
         votes as what we should present or not present.

 Affidavit of House and Hultkrantz, p. 9.

         The aforementioned clear and convincing evidence reflect that trial counsel’s performance

 was constitutionally ineffective because they failed to closely supervise and monitor the work of Ms.

 Schade, for whose work they were responsible. O’BRIEN , 36 HOFSTRA L. REV . at 704.



         6.      The attorneys sought to impermissibly shift blame to the parents of Mr.
                 Gardner

         The joint affidavit of House and Hultkrantz blames the parents of Mr. Gardner for the

 inadequate mitigation investigation, because:

         [b]oth were adamant that Steve wasn’t abused by the father although admitting that
         he was punished on occasion. Their refusal to acknowledge even the least bit of
         problems with Steve growing up, their denying any physical or emotional abuse and
         their inability to identify potential individuals that could possibly provide useful
         information for trial led to very little of importance being developed through the time
         spent with them.

 Affidavit of House and Hultkrantz, p. 7.




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         This position is unsupportable in the law. Rompilla v. Beard, 545 U.S. 374, 377, 381 (2005)

 made clear that even where a client is “actively obstructive by sending counsel off on false leads,”

 and “when a capital defendant's family members and the defendant himself have suggested that no

 mitigating evidence is available, his lawyer is bound to make reasonable efforts to obtain and review

 material that counsel knows the prosecution will probably rely on as evidence of aggravation at the

 sentencing phase of trial.”



         7.      The evidence clearly and convincingly refutes that any one on the defense team
                 or their consultants could have made one or more “strategic” decisions

         Trial counsel made the following unsupported “strategy” assertions:

         •       In their joint affidavit, Mssrs. House and Hultkrantz attest that part of the
                 “strategy for the punishment phase ... was to humanize Steve as much as
                 possible ... Affidavit of House and Hultkrantz, p. 4.

         •       During the trial, these same attorneys put self-serving, conclusory assertions
                 on the record: “part of our trial strategy ... not to put them [experts as regards
                 mitigation] on....” (RR 23:74).

         •       The FFCL Nos. 21, 51, 71 recite that “counsel consulted with other
                 experienced local attorneys [John Niland of the Texas Defender Service, and
                 Bill Schultz]23 prior to trial, who agreed that counsel’s trial strategy was
                 reasonable.”

         •       The FFCL Nos. 68, 76 recites that counsel’s investigation uncovered
                 significant harmful information, which they reasonably concluded did not
                 merit further investigation.”




    23
         Joint Affidavit of House and Hultkrantz, p. 5 (“The trial team consulted with John
 Niland, with the Texas Defender Service and Bill Schultz, a local attorney, about our trial
 strategy and both agreed that it seemed sound.”) (emphasize supplied).
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         These fact findings are not presumed correct because of the clear and convincing evidence,

 see supra,24 that proves that their so-called “strategy” was neither “strategic” nor “reasonable.”

 Setting aside the abandonment rage theory, and looking at the work product of trial counsel in the

 Gardner trial, it is apparent that no one – neither the trial attorneys, nor the “local attorneys” with

 whom they consulted prior to trial – could have made any strategic decision “to humanize Steve,”

 or develop any an effective theory of the case whatsoever, or select witnesses to call or refrain from

 calling, for a very simple and obvious reason: the mitigation investigation was woefully inadequate.

 This is because no one on the defense team, and no one of the “local attorneys,” had the facts on

 which to make rationale, strategic choices. “[T]he known evidence would [have] lead a reasonable

 attorney to investigate further.” Wiggins, 539 U.S. at 527.

         The reason the so-called “significantly harmful information” to which the FFCL Nos. 68,

 76, 81-82 and other FFCL Nos. 74-80, which the findings label as “not compelling,” and would “not

 have made a difference,” was such only because the experts did not have the necessary information

 to provide context and explanation for this behavior (e.g., “[Dr. Allen] decided she didn’t want to

 testify [to attachment disorder] because of lack of information.” Affidavit of House and Hultkrantz,

 p. 9). An adequate mitigation investigation would have provided the necessary foundation that

 would have revealed that Petitioner had attachment disorder – a concept well-recognized in the


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          In light of the experts notice to counsel at the trial stage that there was a lack information,
 couple with the TCCA’s September 15, 2010 order that recognized that the mitigation
 investigation was impaired. Unless and until there is an adequate mitigation investigation into
 the life history of the client, no theory can be developed or implemented. Hence, the trial
 attorneys House and Hultkrantz were incapable of “strategically” deciding on a theory to
 present. See ABA GUIDELINE 10.4 (2008) located in O’BRIEN , 36 HOFSTRA L. REV . 693, 703
 (6/15/2008) (“It is the duty of counsel to lead the team in conducting an exhaustive investigation
 into the life history of the client. It is therefore incumbent upon the defense to interview all
 relevant persons and obtain all relevant records and documents that enable the defense to
 develop and implement an effective defense strategy.”)
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 mental health field. Attachment disorder would have been the springboard from which, an expert

 would have explained Petitioner’s depraved lifestyle as well as domestic violence. (Vol. 23:28);

 State Habeas Exhibit C: Affidavit of Gilda Kessner, Psy.D., paras. 13, 24.



 C.      Argument and Authorities.

         1.      Standard of Review.

         The Supreme Court in Strickland held that the "benchmark for judging any claim of

 ineffectiveness must be whether counsel's conduct so undermined the proper functioning of the

 adversarial process that the trial cannot be relied on as having produced a just result." Strickland

 v. Washington, 466 U.S. 668, 686 (1984). Strickland stated a two-pronged test for judging claims

 of ineffective assistance of counsel:

         First, "whether, in light of all the circumstances, [counsel's] acts or omissions were
         outside the wide range of professional competent assistance," and

         Second, "whether there is a reasonable probability that, absent the errors, the fact
         finder would have had a reasonable doubt respecting guilt"

 Strickland, 466 U.S. at 695.

         The Wiggins Court wrote that “[i]n assessing the reasonableness of an attorney's

 investigation ... a court must consider not only the quantum of evidence already known to counsel,

 but also whether the known evidence would lead a reasonable attorney to investigate further."

 Wiggins v. Smith, 539 U.S. 510, 527 (2003).


                                          The ABA Guidelines

         In evaluating an ineffective assistance of counsel claim, the United States Supreme Court

 has looked for guidance to the ABA Guidelines for the Appointment and Performance of Counsel

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 in Death Penalty Cases. Rompilla v. Beard, 545 U.S. 374 (2005), citing Wiggins v. Smith, 539 U.S.

 510, 522 (2003) (“[W]e long have referred [to these ABA Standards] as ‘guides to determining what

 is reasonable.’").

         In the case at bar, GUIDELINES     FOR THE   APPOINTMENT   AND   PERFORMANCE     OF   DEFENSE

 COUNSEL IN DEATH PENALTY CASES, specifically ABA GUIDELINE 10.7 – INVESTIGATION (rev. ed.

 Feb. 2003), and GUIDELINES AND STANDARDS FOR TEXAS CAPITAL COUNSEL, specifically TEXAS

 GUIDELINE 11.1 – TRIAL INVESTIGATION (adopted April, 2006) are applicable.



         a.      Counsel has an obligation to conduct a thorough and independent investigation

         ABA GUIDELINE 10.7 – INVESTIGATION specifically provides:

         A.      Counsel at every stage have an obligation to conduct thorough and
                 independent investigations relating to the issues of both guilt and penalty....

                 2.      The investigation regarding penalty should be conducted regardless
                         of any statement by the client that evidence bearing upon penalty is
                         not to be collected or presented.


         The ABA GUIDELINES were ed in 2008. They impose an obligation on the defense team to

 “conduct an ongoing, exhaustive and independent investigation of every aspect of the client’s

 character, history, record and any circumstances of the offense, or other factors, which may provide

 a basis for a sentence less than death. [followed by an enumeration of the kind and type of sources].”

 al ABA GUIDELINE 10.11 – The Defense Case: Requisite Mitigation Functions of the Defense

 Team.




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         b.      Counsel bears ultimate responsibility for the performance of the defense team

         ABA GUIDELINE 10.11 (2008) also imposes an obligation on the team members to “provide

 counsel with documentary evidence of the investigation through the use of such methods as

 genealogies, social history reports, chronologies and reports on relevant subjects including, but

 not limited to, cultural, socioeconomic, environmental, racial, and religious issues in the client’s

 life. ....” (emphasis supplied).

         Notwithstanding that the team is obligated to provide various types of data, the guidelines

 make clear that “counsel bears ultimate responsibility for the performance of the defense team and

 for decisions affecting the client and the case.” (emphasis supplied).

         It is the duty of counsel to lead the team in conducting an exhaustive investigation
         into the life history of the client. It is therefore incumbent upon the defense to
         interview all relevant persons and obtain all relevant records and documents that
         enable the defense to develop and implement an effective defense strategy.

 ABA GUIDELINE 10.11 (2008) (emphasis supplied).




         2.      Counsel’s performance was constitutionally ineffective

         In self-serving statements at the inception of the punishment phase, defense counsel claimed

 that the dearth of mitigation presentation was because of “trial strategy.” Mr. Hultkrantz asserted

 “that we have as part of our preparation for this trial used a number of experts, both testifying and

 consulting experts as regards mitigation.... The defense team has made a decision not to put those

 individuals on, although they were all ready to testify, and we prepared them to testify, and we had

 contacted witnesses and everything else. But it is part of our trial strategy ... not to put them on, and

 so I ... want the record to reflect that we, in fact, had done what is required of us by the ABA and

 by this Court as far as preparing for trial; but that the reason that we didn’t go forth with that was
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 because of trial strategy.” (RR 23:74). As will be amply demonstrated below, it was impossible for

 trial counsel to have made one or more “strategic decisions,” because the investigation that had been

 done was inadequate, and because “the known evidence would [have] lead a reasonable attorney

 to investigate further." Wiggins v. Smith, 539 U.S. 510, 527 (2003).



                                           Toni Knox, LCSW

         The mitigation investigator, Toni Knox, LCSW, for this state habeas proceeding, attested to

 the constitutional ineffectiveness of counsel as a result of the lack of an adequate and thorough

 investigation, development and presentation of mitigation evidence in the penalty phase of the trial.

 Ms. Knox attests:

         Although the defense team formed appropriate members for the defense team as
         described in the ABA Guidelines, the follow through of the presentation of the
         mitigation at trial did not follow.

         The mitigation specialist, while maintaining very good rapport with the client and
         frequently visiting him, other mitigation tasks were neglected. There was not a
         thorough mitigation investigation as there were quite a few friends and family that
         were not contacted to corroborate Steve’s information. Steve identified in several
         interviews his close relationship with Sylvia and Donald Reeves in Laurel. Steve’s
         third wife, Margaret, was Sylvia’s sister. There was no attempt to contact the Reeves
         and they live in the same home as when Steve lived with them. Dr. Kessner also had
         questions about Steve’s reported relationship with “China Blue” (Don Ware). Don
         Ware was contacted and he provided a brief interview corroborating his relationship
         with Steve, although he was hesitant to provide detailed information and did not
         want further contact. Mr. Ware was not contacted in the original mitigation
         investigation.

                A consulting psychologist, Dr. Kristi Compton, was also retained to help the
         defense attorneys identify mental health issues and possible mitigation themes for
         Steve’s trial.

                The defense team retained two testifying experts, Dr. Gilda Kessner, a
         psychologist and Dr. Kate Allen, a social worker. The testifying experts were
         scheduled to testify to provide information to the jury concerning factors in Steve’s

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         life that might have contributed to his abandonment rage issues. Additionally, Dr.
         Kessner was to testify concerning future dangerousness.

                After identifying the mitigation themes for the case, the prevailing standard
         in presenting mitigation evidence includes records, lay witnesses and expert
         testimony. By the choice of mitigation witnesses, I could not identify the
         mitigation themes the defense was attempting to present. Although the defense
         attorneys recognized the need for expert testimony to help explain Steve’s actions,
         it was decided at the last minute to not have the experts testify. If there was a
         decision to forego the future dangerousness testimony by Dr. Kessner, that should
         not have prevented her other testimony and the testimony of Dr. Allen.

                 After reading trial transcript for the punishment phase of Steve’s trial, it
         is understandable how the jury was able to reach a death verdict as Steve’s life
         history was not presented and little explanation (not excuse) was furnished for his
         actions.

 Exhibit D: Affidavit of Toni Knox, LCSW at p.17.



                 a.      The performance of counsel was deficient

         In light of all the circumstances, trial counsel's acts and omissions were outside the wide

 range of professional competent assistance in the following areas:

         a.      a complete psycho-social history was not compiled and documented, and

         b.      there was a lack of a thorough mitigation investigation and presentation.25

 Strickland, 466 U.S. at 695.

         Indeed, the jurors were astonished by the deficient performance as reflected by the statement

 of Arthur Wheaton, who declared that “when the defense rested early ... [m]y reaction was, ‘Is that

 it?’” Exhibit B5: Declaration of Arthur Wheaton. Likewise, another juror, Wendy Duerr attested




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         The lack of expert testimony is plead in the next ground, incorporated by reference
 herein.
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 that she “was shocked when the defense rested without putting on much of a mitigation case.”

 Exhibit B2: Affidavit of Wendy Duerr.

         And the absence of an adequate mitigation investigation and presentation provided the

 foundation supporting the prosecutor’s request for a sentence of death:

         “the evidence shows, after looking at all of it, there is nothing sufficiently mitigating
         to warrant a life sentence for this defendant. Because what you heard in the
         punishment phase and the guilt/innocence phase is that all of this defendant’s adult
         life, he has been violent and abusive toward women and children. It’s been a
         behavior, a pattern in his life that has repeated over and over. And the best
         indicator of future behavior is past behavior.”

 (RR 23: 85).



                 (1)     Absent an adequate psycho-social history, the defense team was unable
                         to formulate a viable defense theme based on documented trends,
                         patterns of behavior and causal factors

         Ms. Knox, the mitigation investigator in state habeas, attests that the “trial attorneys failed

 to ensure that a thorough social history was compiled and documented.... Consequently, when

 experts were retained, the trial attorneys failed to provide the experts with a documented social

 history, ... [and instead] were just provided with various records with no context. ....” Exhibit D:

 Affidavit of Toni Knox, LCSW at p. 4.

         The dates in the abbreviated time line “were vague and the time line did not document what

 records the information was obtained from. .... [Thus,] without the chronological time line, the trial

 team did not have this basic organizing tool ... [which] can frequently reveal trends, patterns of

 behavior and causal factors.” Exhibit D: Affidavit of Toni Knox, LCSW at p. 4.




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                 (2)     The mitigation investigation was restricted to the immediate family with
                         no corroborating information from other available sources

         Dr. Gilda Kessner was hired by the defense team as a forensic testifying expert in the case

 at bar – who trial counsel did not call to testify. Dr. Kessner attests:

         10.     I also had a telephone conference and in person conferences with the defense
                 attorneys and various members of the defense team. I voiced my concern
                 that there were important corroborating witnesses who were not being
                 located and interviewed for mitigation. Ms. Shelli Schade the social worker
                 hired by the attorneys for the mitigation investigation indicated that people
                 in small towns would not be willing to reveal information and therefore
                 corroborating information could not be obtained from them. The meeting
                 with the defense team and Ms. Holifield proved to be difficult. Ms. Holifield
                 kept looking to Ms. Schade before she would answer questions, at one point
                 she became very tearful, and asked if she could just speak with Ms. Schade.
                 I instructed Ms. Holifield that she was going to have to answer my questions
                 without coaching by Ms. Schade. She stated that she was concerned if she
                 spoke with anyone but Ms. Schade that the information could come out at
                 trial. Ms. Schade appeared to have developed an overly close relationship
                 with the defendant and his family members, such that she seemed to take
                 on the role of counselor to them instead of mitigation investigator. Ms.
                 Schade did not provide me with notes from any interviews she conducted.
                 It was my impression that she did not provide summary notes to the attorneys
                 either.

         11.     The attorneys also retained Kate Allen, Ph.D. (social worker) to address the
                 concept of attachment and its relationship to Mr. Gardner’s psychological
                 development.

         12.     It is my recollection that at the time of trial the attorneys had settled that I
                 would testify on risk assessment and Dr. Allen was going to testify on
                 attachment. I believe I had scant information for the development of a
                 coherent mitigation theme due to the absence of detailed and corroborated
                 information about Mr. Gardner’s background. There was an abundance
                 of information from Mr. Gardner but without corroborating witnesses my
                 ability to present mitigation information to the jury was necessarily very
                 limited.

 Exhibit D: Affidavit of Gilda Kessner, Psy.D. appended as Exhibit 10 to Affidavit of Toni Knox,

 LCSW, (emphasis supplied).


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         Ms. Knox confirms the impressions of Dr. Kessner. Ms. Knox attests that “although a great

 deal of time was spent by the mitigation specialist, Ms. Schade, with Steve and he furnished a

 considerable amount of information concerning his social history through interviews and writings

 to the mitigation specialist, she failed to do a diverse investigation and interviews of corroborating

 witnesses. Ms. Schade’s investigation was limited primarily to Steve’s mother, father and sister.

 There was contact with one of Steve’s former wives, but Ms. Schade documented little from that

 interview to incorporate into the social history. Ms. Schade did not appear to have adequately

 investigated into Steve’s former friends, and other life history informants....” Exhibit D: Affidavit

 of Toni Knox, LCSW at pp. 4-5.

         “In the habeas mitigation investigation to Mississippi, I located friends and a church member

 that could have provided corroborating information to some of Steve’s history. .... These friends

 were able to provide information that revealed Steve’s state of mind prior to the assault of his first

 wife. The furnished information about the manipulation and aggravation of Steve’s first wife and

 her immaturity, ... how remorseful Steve was about the shooting, ... how Steve had been taking cold

 medication [with codeine] prior to the shooting, which could have affected him ....” Exhibit D:

 Affidavit of Toni Knox, LCSW at p. 5, and Declaration of Sylvia Reeves, Exhibit 5, and Declaration

 of Donald Reeves, Exhibit 6; Declaration of Randall Reeves, Exhibit 7, attached as exhibits to the

 Knox affidavit.




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                 (3)     Corroborating testimony from the Reeves would have revealed the
                         manipulation of first wife, Rhoda, detailed Steve’s remorse, and revealed
                         the use of codeine in cold medication that Steve had taken prior to the
                         shooting

         Sylvia Reeves stated:

         7.      ... During the time that Rhoda had stayed with us previously, her ex-husband
                 would call and she would tell me to tell him that she was not there. During
                 tat time period we would go shopping and Rhoda’s ex-husband would be at
                 the same place we were shopping. Rhoda told me she thought he was
                 probably following her and acted as though she did not want to see him.
                 Later I found out she would call her ex-husband and tell him where we were
                 going and that was why he was there. Rhoda’s behavior was gamey. After
                 Rohda and Steve got married, Rhoda continued to play these types of games,
                 but with Steve....

         ....

         9.      .... In the days prior to the shooting, Steve had some type of cold or
                 something and was taking cough syrup with codeine. At the time of the
                 shooting, I was concerned the drugs in the cough syrup might have
                 contributed to Steve’s state of mind.

         10.     On the morning that Steve shot Rhoda, he took my husband’s gun. After
                 Steve shot Rhoda, he called me at work. He called me and was crying and
                 upset and state that he had shot Rhoda. ..... Steve seemed very remorseful
                 and wanted to confess to the shooting and turn himself in.

         11.     ... We continued to be supportive of Steve and although, we certainly did not
                 accept Steve shooting Rhoda, we could understand how Rhoda had “played”
                 him....

 Declaration of Sylvia Reeves, appended to Exhibit D: Affidavit of Toni Knox, LCSW at p. 5, and

 16.

         Sylvia Reeves provides further insight into Petitioner’s lack of control, providing her

 perspective that Petitioner was mentally ill, and that he had been sent to a psychiatric facility after

 one incidence of violence. Sylvia attests:

         16.     .... Steve seemed stable when we initially met him and had a stable job, but
                 as time went on, we began to see Steve’s impulse control and anger
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                  problems. It became more common for Steve to go off in an angry fit over
                  small things.....

           17.    When Steve and Margaret were living in Tennessee, Steve, my husband, and
                  me along with a few others, went to play golf at a three par golf course.
                  Steve became increasing angry because he did not like the way he was
                  playing. He left the group and just got further and further ahead. When we
                  finally caught up with him, I asked him to stay with the group. He because
                  so angry that my husband was fearful that he might attach me.....

           18.    After Steve hit my niece Becky in the head and all the problems Margaret
                  told me about, I began to believe more and more that Steve was mentally ill.
                  I know he was sent to a psychiatric facility for a time after he hit my niece.

           22.    I never talked with anyone associated with Steve’s defense team during the
                  time of his trial in 2006. I have lived at this same address for many years.

 Declaration of Sylvia Reeves, appended to Exhibit D: Affidavit of Toni Knox, LCSW.



           Donald Reeves also details Petitioner’s inability to control his anger over the smallest of

 things:

           5.     Steve seemed like a nice guy and we would do various things together. I did
                  notice that Steve had these anger episodes. We called them “flash-overs”
                  and “spasms.” He would get incredibly angry over some insignificant thing
                  and just go out of control for a few minutes. Then he would just calm down
                  and it would be as thought it had never happened.

 Declaration of Donald Reeves, appended to Exhibit D: Affidavit of Toni Knox, LCSW.



           Like his wife, Donald Reeves, too discussed the manipulative of Rhoda and the remorse of

 Petitioner in her shooting:

           6.     Steve met Rhoda Slaughter at our house and eventually they were married.
                  Rhoda had been married previously and was still in communication with her
                  ex-husband when she and Steve married. I considered Rhoda to be
                  manipulative. I did not agree with the way she treated Steve by keeping in
                  contact with her ex-husband. Her actions did not justify any violence by

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                 Steve, but knowing Rhoda helped me to understand better how it might have
                 happened.

         7.      When I talked with Steve after he shot Rhoda, he was very remorseful and
                 stated he did not know why he had done it. Steve kept repeating, “Lord, I
                 wish I hadn’t done this.”

 Declaration of Donald Reeves, appended to Exhibit D: Affidavit of Toni Knox, LCSW.




                 (4)     Testimony from Louise Lillis corroborates that of Petitioner’s sister,
                         Elaine: Petitioner’s father physically abused him

         Louise Lillis stated:

         3.      I was friends with Ollie and John Gardner and they had two children, Elaine
                 and Steve Gardner. Steve Gardner and my son, Rickie Lillis, were very good
                 friends during the time the Gardner’s lived near here. Steve was frequently
                 over at my house and he was a likeable boy and I did not have any problems
                 with him.....

         4.      John Gardner was very strict with Steve, much more so than with Elaine. I
                 remember one instance during the church services that John gave Steve a
                 particularly harsh whipping or so it sounded. ... He was whipping Steve so
                 loudly that everyone in the church could hear them. It was awkward as
                 everyone inside the church could hear and no one knew what to think or do.
                 ..... Shortly after that incident John Gardner left the church and the Gardner’s
                 moved to Eillisville.




                         (5)     Testimony from Dr. Kessner would have explained the killings as
                                 an “estrangement killing,” refuting capital murder based on
                                 retaliation

         As reflected above, an adequate mitigation investigation would have uncovered the crucial

 information known to the Reeves and to Lillis. The testimony of the Reeves, and that of Lillis,

 would have provided the fact-basis, supporting expert testimony about uxoricide. Thereafter, the


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 defense could have sponsored Dr. Kessner to testify about the childhood environmental factors

 experienced by Petitioner:

         1.      witnessing/experiencing violence as a source of trauma,

         2.      shaming as a source of trauma, and

         3.      insecure attachment as a source of trauma.

         Had the mitigation been adequate, Dr. Kessner could then have explained to the jurors how

 these environmental factors triggered the estrangement killing of Tammy Gardner (uxoricide), when

 she attempted to terminate the relationship. Dr. Kesser attests:

         I have concluded based on the records and literature review, that had I been allowed
         to testify in the 2006 Case about the impact of the developmental trauma cited by
         family members, that I could have provided a context for the jury to understand the
         etiology of Mr. Gardner’s personality and behavior. At the time of trial, there was
         a large and growing body of literature addressing the issue of perpetrators of
         domestic violence.

                Briefly, John Steven Gardner was born into a chaotic and dysfunctional
         family and events in his infancy and early childhood had a profound effect on his
         early and life long psychosocial development. Events taking place at critical
         developmental periods for trust, interpersonal relationships and self-concept had a
         damaging effect on his ability to relate to others in an intimate and sexual way. The
         modeling of violence and jealousy between his parents in their marital relationship
         served as a template for behavior in his future romantic relationships. These factors
         would have provided an explanation to the jurors, as to why John Steven Gardner
         perpetrated violence and threats of violence against his domestic partners, ....

 Exhibit C: Affidavit of Gilda Kessner, Psy.D. See also Donald G. Dutton & Greg Kerry, (1999a).

 Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, International Journal

 of Law & Psychiatry, 22(3-4), 287-299; Donald G. Dutton, (1999b) Traumatic Origins of Intimate

 Rage, Aggression and Violent Behavior, 4(4), 431-447.




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                 (6)     In summary, the performance was deficient. The known evidence
                         would have lead a reasonable attorney to investigate further

         In the case at bar, “[b]ecause the underlying investigation was not adequate, the presentation

 of mitigation at the punishment phase appeared ... disjointed, ... [and these] witnesses provided very

 limited testimony with no unifying theme that explained why Steve was less morally culpable and

 not deserving of death.” Exhibit D: Affidavit of Toni Knox, LCSW at p. 11. Thus, trial counsel’s

 performance was constitutionally deficient because “the known evidence would [have] lead a

 reasonable attorney to investigate further." Wiggins v. Smith, 539 U.S. 510, 527 (2003), U.S. Const.

 Amend VI.

         Accordingly, the decisions of trial counsel are owed no deference because they were made

 after less than complete investigation. Wiggins, 539 U.S. at 536 (finding that counsel is not in a

 position to “make a reasonable strategic choice” when his “investigation supporting [that] choice

 was unreasonable”). See also Miller v. Dretke, 420 F.3d 356, n.30 (5th Cir. 2005), citing Bouchillon

 v. Collins, 907 F.2d 589, 597 (5th Cir.1990) (“Tactical decisions must be made in the context of a

 reasonable amount of investigation, not in a vacuum.”); Profitt v. Waldron, 831 F.2d 1245, 1249

 (5th Cir.1987) (finding that “our usual deference to tactical decisions is not relevant” when the

 decisions are based on “information that was faulty because of [ ] ineffective investigatory steps”);

 Adams v. Quarterman, 2009 WL 1069330, *6 (5th Cir. April 22, 2009) (not designated for

 publication) (“When, as here, counsel does not conduct an investigation sufficient to enable him to

 reach an informed decision, we must reject the assertion that counsel made a strategic choice not to

 emphasize the defendant's background”).




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                 b.      There is a reasonable probability the outcome would have been different



                         (1)     The Strickland prejudice prong

         In Strickland v. Washington, 466 U.S. 668, 695-696 (1984), the Court held:

         In making this determination, a court hearing an ineffectiveness claim must consider
         the totality of the evidence before the judge or jury. Some of the factual findings will
         have been unaffected by the errors, and factual findings that were affected will have
         been affected in different ways. Some errors will have had a pervasive effect on the
         inferences to be drawn from the evidence, altering the entire evidentiary picture, and
         some will have had an isolated, trivial effect. Moreover, a verdict or conclusion only
         weakly supported by the record is more likely to have been affected by errors than
         one with overwhelming record support. Taking the unaffected findings as a given,
         and taking due account of the effect of the errors on the remaining findings, a
         court making the prejudice inquiry must ask if the defendant has met the burden
         of showing that the decision reached would reasonably likely have been different
         absent the errors.




                         (2)     The trial evidence

         The punishment phase of the trial last lasted two days: on November 13, 2006, the state’s

 case-in-chief consisted of testimony from seven (7) witnesses as to the future dangerousness issue,

 and then the state rested; on November 14, 2006, the defense called four (4) witnesses to refute the

 state’s future dangerousness issue and then it rested; immediately followed by two prosecution

 witnesses in rebuttal, again as to the future dangerousness issue only.




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         No mitigation was presented by the defense team.26 The affidavit of the defense attorneys

 recited, among other things, that they did not present any evidence in mitigation because:

         •       the State had not proven future dangerousness beyond a reasonable doubt.
                 Affidavit of Attorneys House and Hultkrantz, p. 5.

         •       “The fact of the matter there wasn’t much [mitigation] available given the
                 life style Steve had lived including his past homosexual relationships, his
                 past history of violence in many if not all of the relationships and the limited
                 testimony available from his family;” Affidavit of Attorneys House and
                 Hultkrantz, p. 5.

         •       “our mitigation expert had discovered little or nothing that was deemed
                 useful for trial,” and although they had hired Dr. Allen to “examine and
                 address about abandonment issues concerning Steve... [Dr. Allen] decided
                 she didn’t want to testify because of lack of information....” Id. at 9;

         •       the mitigation expert “had developed an overly close relationship with the
                 defendant,” and had “refused to share notes from her mitigation investigation
                 and refused to summarize her findings in a report to the attorneys;” Affidavit
                 of Attorneys House and Hultkrantz, pp. 4, 6, 7.

         •       testimony about Mr. Gardner’s “womanizing,” “his constant focus on sex,”
                 and “his life style ... including homosexual relationships, his past history of
                 violence in many if not all of the relationships and the limited testimony


    26
         According to defense counsel, the mitigation investigation consisted of (Vol 23:77-78):

         •       Mr. Gardner’s prior childhood accidents and injuries, which did not reveal
                 anything significant,
         •       there was no serious illnesses at any time;
         •       There was physical abuse to Mr. Gardner and Elaine Holifield, his sister, but
                 no sexual abuse of any kind;
         •       The size of the immediate family “was four – plus grandchildren;”
         •       there was no drug or alcohol abuse by Mr. Gardner or any members of the
                 family;
         •       there was no mental health treatment, issues as to family cohesiveness, or
                 family standard of living and living conditions, that would aid in mitigation;
         •       “the social relationships with members of, basically, the opposite sex,
                 marriage, divorces, etc; and that’s all come into evidence,”(as reflected in the
                 state’s case-in-chief on the future dangerousness issue)
         •       all awards and honors shown by his military records

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                 available from his family,” would have been harmful because they were
                 “well aware of what the feelings and reactions jurors [in conservative Collin
                 County] are when it comes to presentation of evidence regarding transvestites
                 and other alternative lifestyles.” Affidavit of Attorneys House and
                 Hultkrantz, pp. 7, 8.

         Additionally, the prosecutor stated on the record in response to the defense attorneys

 assertion at trial that it was their “trial strategy not to put [experts] on,” that “at approximately 11:15

 a.m. that morning, we were summoned to the Chambers, and defense counsel was present. It was

 our understanding at that point the defense team had consulted with their client and that he was of

 the opinion that he did not want to put on a mitigation case.”27 Defense counsel did not respond.

 (Vol 23:76).


                 (a)     The aggravating evidence

         As result, the only story of Mr. Gardner was the one told by the prosecution during the

 punishment phase on the issue of future dangerousness. The prosecution introduced evidence that

 despite having been raised by a “mother and father [who] made him pray on his knees every

 morning,” and whose “parents are still together,” and visit the grandchildren, (Vol. 23:114-115), Mr.

 Gardner was a man who perpetrated violence on women, sexually molested and/or physically

 assaulted the daughters of his former wives, and committed acts of sexual indecency in public.




    27
        In Rompilla v. Beard, 545 U.S. 374, 377 (2005), the Supreme Court made clear that
 “even when a capital defendant's family members and the defendant himself have suggested that
 no mitigating evidence is available, his lawyer is bound to make reasonable efforts to obtain and
 review material that counsel knows the prosecution will probably rely on as evidence of
 aggravation at the sentencing phase of trial.” And in Roe v. Flores-Ortega, 528 U.S. 470, 481
 (2000), the U.S. Supreme Court stated that “[t]he relevant question is not whether counsel's
 choices were strategic, but whether they were reasonable.”
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         Specially, the evidence in aggravation included the testimony of:

         •       Dr. Rohr, the medical examiner for Collin County, who testified from the
                 Mississippi medical records of Rhoda Gardner. Rhoda was Mr. Gardner’s
                 former spouse, who was pregnant at the time he ambushed and shot her three
                 times, resulting in paraplegia. (Vol. 22:17). As a result of complications
                 from having lost the fetus, she was required to undergo subsequent surgery
                 and died as a result of cardiac arrhythmia. The medical records recited that
                 the manner of death was homicide, and listed four reasons for her death:
                 massive pulmonary embolism; paraplegia; gunshot wounds; homicide. (Vol
                 22:21, 25).

         •       Margaret Westmoreland (Vol. 22:27) testified that during the marriage,
                 although Mr. Gardner was work-capable, he was unemployed, (Vol. 22:39),
                 that he was controlling, threatened to “hunt [her] down” and kill her and her
                 children if she left him, (Vol. 22:54), and isolated her from her family.

         •       Rebecca Fethiere, the daughter of Ms. Westmoreland, testified Mr. Gardner
                 had hit her in the head three times with his fist, causing injury, which
                 required 78 stitches. (Vol. 22:74). Ms. Fethiere also testified to the
                 inappropriate, “boyfriendish” approach of Mr. Gardner, who wanted to put
                 her makeup on her, and suggested that if she had “sex with the devil,”
                 meaning himself, she would get devil-like powers. (Vol. 22:65, 68).

         •       Several law enforcement officers testified to an incident by Mr. Gardner of
                 indecent exposure and unlawful carrying of a weapon, (Vol. 22: 103);
                 specifically for masturbating in his vehicle in the parking lot at the Irving
                 Mall at Christmas time in December, 1992, where there were women and
                 children. (Vol. 22:91, 96, 100).

         •       Jessie Mangum, the daughter of capital murder victim Tammy Gardner,
                 testified that when she was in second grade and living with her mom and Mr.
                 Gardner, Mr. Gardner acted sexually inappropriate with her by kissing her
                 and touching her, and having her touch him. (Vol. 22:124-126).

         •       Both Ms. Mangum and Ms. Fethiere had testified that Mr. Gardner showed
                 no remorse when he told each of them about his ambushing and shooting his
                 former wife, Rhoda Gardner. (Vol. 22:77; Vol. 22:132-133). Ms. Mangum
                 also testified that when a former wife of Mr. Gardner, Sandra, would dropped
                 off Nicholas (biological son of Mr. Gardner and Sandra), Sandra appeared
                 “frantic” around Mr. Gardner and wanted to “get out of there.” (Vol. 22:128-
                 129).




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         In an attempt to refute the future dangerousness presentation, the defense called:

         •       two former co-workers (William Campbell Miles and Kelly Dowdy), who
                 testified that Mr. Gardner was a diligent, responsible employee, (Vol.23:7-8;
                 Vol 23: 17-18). Mr. Miles testified that based on his conversations with Mr.
                 Gardner during his incarceration awaiting trial, that Mr. Gardner would have
                 eternal security in God because he was a born-again Christian. (Vol. 23: 10-
                 11).

         •       They called a former spouse of the victim, Juan Russel Sewell, who testified
                 that he and Tammy were divorced after a year of marriage because they
                 “couldn’t make it,” (Vol. 23:22), and that Tammy could be manipulative,
                 and had a weakness for men. (Vol. 23:23).

         •       Only Elaine Hollifield, the older sister of Mr. Gardner, testified about
                 repeated incidents of abuse of Mr. Gardner at the hands of his parents. (Vol.
                 23:24).

         Elaine Holifield testified to the death of a sister who died in first grade of heart failure, and

 how her illness and death caused financial stress in the family. (Vol. 23:26). Ms. Holifield also

 testified to the violent temper of her father, the unhappy marriage and violent interaction of their

 parents, (Vol. 23:30). The violence in her parents’ marriage was reflected in the presence of

 knives, broom handles, and a gun. (Vol. 23:32).

         Ms. Holified also testified that their father was a Baptist preacher, who continuously moved

 from church to church because the congregation would ask him to resign, (Vol. 23:26), and how he

 would have them up at 5:30 am to do daily devotionals, only after their mother left for work at a

 sewing factory at 4:00 am. Because playmates would have been forced to participate in this morning

 ritual, Elaine and Steve did not invite friends to their home. (Vol. 23:28).

         Ms. Holified testified that their father would physically abuse her and, Steve Gardner. Their

 father would interrupt a church service to take Steve to the fellowship hall to beat him with a belt

 while the congregants listened. The wails were heard by the parishioners, and the beating caused

 welts on Steve’s body. (Vol 23: 35-36).
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          Ms. Holifield testified to other physical and verbal abuse of Mr. Gardner, by his father and

 mother. His father would beat Steve at least once a week for no apparent reason, not with his hand

 but with a limb from a bush or with his belt. (Vol. 23:31-32, 34). Steve’s mother, who was a

 screamer, would use her hand to slap the children, and Steve in particular. Ms. Holified could not

 provide any particular reason for the beatings, and testified that their father would later take them

 to the beach. (Vol. 23:40-41).



                 (b)     The mitigating evidence

          As reflected above, there was no expert testimony to provide context and both refute and

 explain the prosecution’s picture of Mr. Gardner’s “pattern in his life that has repeated over and

 over,” of being “violent and abusive toward women and children.” (Vol. 23:85, 86). Such expert

 testimony would have provided an explanation to the jury about “the critical phase of development

 for attachment insecurity that leads to abandonment rage.”

          Also left uncontested was the prosecution’s assertion that even if there was evidence of child

 abuse:

          1.     there was “nothing in his background [that] explain[s] or justifies his
                 behavior;”

          2.     his sister grew up in the same household and was able to lead a normal life;
                 and

          3.     the parents have remained together, visiting “grandkids and greatgrand
                 children on a regular basis.”

 (Vol. 23:85, 86, 92, 115).




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                 c.      State habeas evidence revealed a reasonable probability the outcome
                         would have been different

         The evidence in state habeas sought to address the Strickland prejudice prong from the

 psychological and the neurobiological perspective.28 Each perspective illustrates how and why Mr.

 Gardner is less morally culpable for the death of his wife, Tammy Gardner, than someone who did

 not experience the trauma he experienced at the hands of his parents, and the increased risk in all

 aspects of his life as a result of the attachment disorder. These different perspectives seek to appeal

 to those jurors who are inclined toward hard-data by presenting a neurobiological approach, and also

 to appeal to those jurors who are receptive to the soft sciences, using the psychological-study

 approach.


                         (1)     Adequate lay witness testimony would have provided personal
                                 knowledge about the rigid religious environment and childhood
                                 abuse experienced by Mr. Gardner

         The mitigation investigator, Toni Knox, LCSW, for this state habeas proceeding, attested to

 the constitutional ineffectiveness of counsel as a result of the failure to adequately present lay

 witness testimony in the penalty phase of the trial, such as Sylvia and Donald Reeves; Steve’s third

 wife, Margaret; Steve’s son, Randall Reeves. Ms. Knox attests that the failure of trial counsel to

 present this additional lay witness testimony resulted in a “disjointed” mitigation “with no unifying

 theme.”



    28
         Social Judgment Theory posits three perspectives from which a juror views the evidence:
 latitude of acceptance; latitude of non-commitment; and latitude of rejection. “The latitude of
 acceptance are those positions which are acceptable. The latitude of non-commitment are those
 positions which are neither accepted nor rejected. The latitude of rejection are positions which
 will be actively opposed.” Social Judgment Theory,
 http://changingminds.org/explanations/theories/social_judgment.htm

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         Had these additional lay witnesses been called, they would have provided additional

 information at the punishment phase, which would have given credence to testimony about the rigid

 religious environment and abuse and violence in Steve’s family home. It would have refuted the

 prosecutor’s suggestion that the testimony of Steve’s sister, Elaine, was a biased effort to save her

 brother from a sentence of death. And it would have bolstered expert testimony concerning Steve’s

 life history. See Exhibit D: Affidavit of Toni Knox, LCSW at pp. 10-13.



                         (2)     Expert witness testimony would have explained Petitioner’s
                                 domestic violence, with its origins in Petitioner’s psycho-social
                                 history

         The mitigation investigator, Toni Knox, LCSW, for this state habeas proceeding, attested to

 the constitutional ineffectiveness of counsel as a result of the failure to adequately present expert

 witness testimony in the penalty phase of the trial to address the issue of domestic violence.    Ms.

 Knox attests:

         Rather than allow their expert witnesses to come in to present Steve’s life history and
         attempt to possibly explain his behavior in the abusive relationships, Mr. House
         announced in his closing statement:

                 But here is my question to you: This abuse by itself, how does that
                 work? How many people do you know that are in abusive
                 relationships? How many people do you know that are in those
                 relationships, stay in those relationships when they shouldn’t? They
                 do. And you know why? Because they still love them.

         The reason for remaining in an abusive relationship is not this simple as there are
         a myriad of reasons for people remaining in abusive relationships, other than they
         still love the person. This is not the testimony that would have been presented by
         a mental health expert to the jury.

 Exhibit D: Affidavit of Toni Knox, LCSW at p.17 (emphasis supplied).




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         Ms. Knox further attests:

                Two expert witnesses were retained by the defense to testify and present
         Steve’s life history and provide some research data concerning Steve’s behavior
         when he believed he was being abandoned.

                 Dr. Gilda Kessner, a psychologist, spent hours interviewing Steve and his
         sister. Additionally, she reviewed numerous records and researched the literature in
         preparation of her testimony. [See exhibit 10, to Knox affidavit] If Dr. Kessner had
         been allowed to testify, she would have provided information to the jury
         concerning the neurobiology of abandonment homicide. Additional rather than
         the simplistic explanation given by Mr. House concerning domestic violence, she
         would have provided research based information about domestic violence. ....

                Dr. Kate Allen, a social worker, was also retained to provide life history
         testimony at the trial. As with Dr. Kessner, she was not called to testify, although
         she was present and ready to testify.

 Exhibit D: Affidavit of Toni Knox, LCSW at pp.15-16 (emphasis supplied).



         Dr. Kessner attests in this state habeas proceeding:

                  I have concluded based on the records and literature review, that had I been
         allowed to testify in the 2006 Case about the impact of the developmental trauma
         cited by family members, that I could have provided a context for the jury to
         understand the etiology of Mr. Gardner’s personality and behavior. At the time
         of trial, there was a large and growing body of literature addressing the issue of
         perpetrators of domestic violence.

                 Briefly, John Steven Gardner was born into a chaotic and dysfunctional
         family and events in his infancy and early childhood had a profound effect on his
         early and life long psychosocial development. Events taking place at critical
         developmental periods for trust, interpersonal relationships and self-concept had
         a damaging effect on his ability to relate to others in an intimate and sexual way.
         The modeling of violence and jealousy between his parents in their marital
         relationship served as a template for behavior in his future romantic relationships.
         These factors would have provided an explanation to the jurors, as to why John
         Steven Gardner perpetrated violence and threats of violence against his domestic
         partners, and therefore, would have given them a basis to find that he was less
         morally culpable and not worthy of death.




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 Exhibit C: Affidavit of Gilda Kessner, Psy.D, para. 12 (emphasis supplied). Thereafter, Dr. Kessner

 explains the concept of abandonment rage and its neurobiological effects.

         As the aforementioned state habeas evidence revealed, the psycho-social history of Mr.

 Gardner reflects his insecurity, possessiveness, jealousy, and probable sex addiction, as well as

 abandonment rage that had its genesis in early childhood.


                         (3)     At the psychological level, Dr. Dutton’s work could have
                                 explained how Petitioner’s family origin resulted in a depraved
                                 lifestyle

         At the psychological level, Dutton’s work could have explained how the violent Gardner

 household, with rigid enforcement of strict rules by a remote, depressed, angry, former alcoholic

 father, may have affected Mr. Gardner’s development and behavior, and resulted in a depraved

 lifestyle. (Vol. 23:28). Relying on the work of Dutton, Dr. Kessner attests: “[T]he critical phase

 of development for attachment insecurity that leads to abandonment rage ... is seen in all of Steve

 Gardner’s relationships and especially in his relationship with Tammy.” State Habeas Application,

 Exhibit C: Affidavit of Kessner, Psy.D., p. 8, para. 21.


                         (4)     At the neurobiological level, Dr. Dutton’s work could have shown
                                 the link between abandonment and homicidal rage

         At the neurobiological level, Dutton’s work on domestic abuse and spousal killings reflects

 a neurobiological link between abandonment and homicidal rage. Once again, relying on the work

 of Dutton, Dr. Kessner attests: “... Gardner’s early childhood history of exposure to extreme trauma

 provided the basis for his insecurity, dependence and over-controlled hostility in intimate

 relationships.” State Habeas Application, Exhibit C: Affidavit of Kessner, Psy.D., p. 10, para. 25.




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                         (5)     Jurors’ affidavits refute that they would not have responded to
                                 the abandonment rage theory

         The FFCL Nos. 8-10, recite that the affidavits are inadmissible, and purport to “strike” them,

 because they violate TEX . R. EVID . 606(b) – which they do not. TEX . R. EVID . 606(b) provides:

         (b)     Inquiry into Validity of Verdict or Indictment. Upon an inquiry into the
                 validity of a verdict or indictment, a juror may not testify as to any matter or
                 statement occurring during the jury’s deliberations, or to the effect of
                 anything on any jurors mind or emotions or mental processes, as influencing
                 any juror’;s assessment to or dissent from the verdict or indictment. Nor may
                 a juror’s affidavit or any statement by a juror concerning any matter about
                 which the juror would be precluded from testifying be admitted in evidence
                 for any of these purposes.

         Remarkably, the Fact Findings strike the juror affidavits on the basis that state statute makes

 them inadmissible because they concern the jurors’ deliberation of the effect certain evidence had

 or might have had ...” on the verdict. Fact Finding Nos. 8-10. Yet at the same time, the fact findings

 as drafted by the prosecutors and signed verbatim by the judge, use this same evidence to support

 “the effect [this] evidence had or might have had” on the verdict. For example, they refer to it as

 proof that juries would be distrustful of such evidence, characterize abandonment rage theory as a

 “novel” theory FF No. 53; which “would not have affected the jury’s decision on future

 dangerousness,” FF No. 58, 82; and which “would not have affected the jury’s decision on

 mitigation,” FF No. 59, 81. This inconsistent application of the statute arising from Fact Finding

 Nos. 8-10 violates Mr. Gardner’s due process, substantive and procedural rights.

         Putting aside this aside, the juror affidavits go above and beyond any inquiry into the validity

 of a verdict. Instead, the juror affidavits refute FF No. 53. The theory of abandonment rage is not

 a “novel” theory. At least as early as 1999, there were published studies as to it. Donald G. Dutton

 and Greg Kerry, Modus Operandi and Personality Disorder in Incarcerated Spousal Killers, 22

 International Journal of Law & Psychiatry 287, 287 (1999). Further, the juror affidavits refute, by
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 clear and convincing evidence, the unsubstantiated, conclusory and self-serving assertions of

 defense counsel that “local juries’[in Collin County] distrust .... ‘novel’ defensive theories....”

 Compare Affidavit of House and Hultkrantz, p.3 with State Habeas Exhibit B4: Declaration of Gail

 Stafford: “I believe that had I seen the reports of Toni Knox and Gilda Kessner, I would have

 seriously considered that testimony ....” and with State Habeas Exhibit B3: Declaration of Paul

 Reichenbach: “The mitigation evidence investigated by Toni Knox and Gilda Kessner may have

 [made me] ... more willing to consider a life sentence;” and with State Habeas Exhibit B2: Affidavit

 of Wendy Duerr: “The declaration of Gardner’s friends and his psychological evaluation would have

 affected my deliberations.”

         Accordingly, these affidavits refute that “counsel’s reasons for not pursuing such a defense

 were reasonable.” FF No. 53.In the case at bar, there was no strategic reason for the failure of trial

 counsel to adequately present lay and expert witness testimony to explain Mr. Gardner’s actions.29


    29
         ABA GUIDELINE 10.11 – THE DEFENSE CASE CONCERNING PENALTY specifically
         provides:

         F.      In deciding which witnesses and evidence to prepare concerning penalty, the
                 areas counsel should consider include the following:

                 1.      Witnesses familiar with and evidence relating to the client’s life and
                         development, from conception to the time of sentencing, that would
                         be explanatory of the offense(s) for which the client is being
                         sentenced, would rebut or explain evidence presented by the
                         prosecutor, would present positive aspects of the client’s life, or
                         would otherwise support a sentence less than death;

                 2.      Expert and lay witnesses along with supporting documentation (e.g.,
                         school records, military records) to provide medical, psychological,
                         sociological, cultural or other insights into the client’s mental and/or
                         emotional state and life history that may explain or lessen the client’s
                         culpability for the underlying offense(s); ... [to] support a sentence
                         less than death; ....

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         The deficient performance resulted in a failure to “integrate all of the facts and circumstances

 of the defendant’s life and the crime and present a persuasive narrative of the events that encourages

 values of accountability over retribution, grace over vengeance, and life over death.” RICHARD G.

 DUDLEY , Getting It Right: Life History Investigation as the Foundation for a Reliable Mental

 Health Assessment, SUPPLEMENTARY GUIDELINES             FOR THE   MITIGATION FUNCTION     OF   DEFENSE

 TEAMS IN DEATH PENALTY CASES, Vol. 36, No. 3 HOFSTRA L. REV . at 963, 965 (Spring 2008).

 Following therefrom, the one-sided story of the prosecution, in the absence of a thoroughly

 investigated and developed mitigation presentation were “errors [of trial counsel] ... which had a

 pervasive effect on the inference to be drawn from the evidence, altering the entire evidentiary

 picture ....” Strickland, 466 U.S. at 695-696.


 D.      The Conclusions of Law Nos. 97-102 are contrary to, and an unreasonable application
         of federal law

         The State court decision denying relief on the basis that trial counsel was not ineffective, and

 specifically Conclusions of Law Nos. 97-102 are contrary to, and an unreasonable application of,

 Strickland and its progeny. 28 U.S.C. § 2254(d)(1)(2).

         Had there been a thorough mitigation investigation, coupled with an adequate time line, a

 unified theme of abandonment rage and trauma could have emerged. This theme would have made

 maximum use of the undisputed fact of Petitioner’s history of domestic abuse and violence, while

 at the same time providing a viable explanation of the shooting of Rhoda and the subsequent

 shooting of Tammy.

         In the guilt/innocence phase, an adequate mitigation investigation would have given rise to

 the distinction between a non-capital killing arising from estrangement, and capital murder arising

 from retaliation. Because of an inadequate mitigation investigation, the defense fail to object to the
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 prosecution’s focus on the “divorce.” The defense too mislead the jury into finding retaliation by

 eliciting testimony about the “divorce.” (RR 19:37, 143, 164, 166, 209, 292, 294, 259, 260, 266),

 Thrust of TEX . PENAL CODE 36.36(a)(1) is not about whether a couple is divorcing. It is about

 whether a defendant intends to prevent a witness from testifying. The defense was not capable of

 making this distinction in fact or law because the mitigation investigation was not adequate.

         In the punishment phase, an adequate mitigation investigation would have demonstrated why

 Petitioner was not as morally culpable as someone who did not experience such childhood trauma,

 and supported a verdict other than death. Strickland, 466 U.S. at 695.

         Mr. Gardner had a Sixth Amendment right to effective assistance counsel. Strickland, 466

 U.S. at 695; U.S. CONST . Amend. VI. However trial counsel failed to fulfill their obligation to

 conduct an adequate, thorough and independent investigation. Mssrs. House and Hultkrantz bear

 ultimate responsibility for the performance of the defense team, and Ms. Schade’s acts and

 omissions in particular.     al ABA GUIDELINES 10.4 and 10.11 (2008) located in O’BRIEN , 36

 HOFSTRA L. REV . 693, 703 (6/15/2008). As a result of the constitutionally ineffective assistance of

 his trial counsel, Mr. Gardner was also denied his right to individualized sentencing under the Eighth

 amendment. U.S. CONST . Amend. VIII.

         Taking the unaffected findings in the punishment phase of the trial as a given, and taking due

 account of the effect of the errors on the remaining findings, Mr. Gardner satisfied his burden of

 showing that the decision reached would reasonably likely have been different absent the errors.

 Even the jurors attested that they would have listened and considered the mitigating evidence of

 attachment disorder, and its concomitant abandonment rage theory, thereby refuting the attestations

 of defense counsel.


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         For all the aforementioned reasons, the state court decision to deny relief on the merits is not

 entitled to the deference ordinarily due under the AEDPA. Mr. Gardner had made a prima facie

 showing that trial counsel were constitutionally ineffective in failing to fulfill their obligation to

 adequately investigate and develop, and thereafter present mitigating evidence in the punishment

 phase of the trial. U.S. CONST . Amend. VI. Yet, the state court denied him an opportunity to

 develop his claim in an evidentiary hearing. See Panetti v. Quarterman, 551 U.S. 930, 953-54

 (2007), Wiley v. Epps, 625 F.3d 199, 207 (5th Cir. 2010) (“[W]hen a petitioner makes a prima facie

 showing of [his federal constitutional law claim], a state court's failure to provide him with an

 opportunity to develop his claim deprives the state court decision of the deference ordinarily due

 under the AEDPA.”).        Hence, the state court decision is both contrary to, and an objectively

 unreasonable application of, Strickland and its progeny. In light of the aforementioned arguments

 and authorities, habeas relief is in order.




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 GROUND FIVE (THE         ADMISSION OF THE TESTIMONY CONCERNING THE      911 CALL TO THE
 DISPATCHER VIOLATED CRAWFORD AND ITS PROGENY ): Mr. Gardner was denied his Sixth
 amendment right to confrontation because the trial court admitted testimony about the 911
 call to the dispatcher

         The admission of the 911 call, which contained un-redacted, testimonial statements, violated

 the Confrontation Clause, therefore, this court should grant habeas relief. U.S. CONST . amend. VI,

 Crawford v. Washington, 541 U.S. 36 (2004); Davis v. Washington, 547 U.S. 813 (2006).


 A.      Statement of Facts.

         During the testimony of Erin Whitfield, a “9-1-1" dispatcher, the State developed the facts

 surrounding a 9-1-1 call received on January 23, 2005. Mr. Howard asked her, “Could you please

 tell us about that call?” At this point, Mr. Hultkrantz objected, arguing “I’m going to object as to

 hearsay. Object based on hearsay, based on confrontation clause in Article 1, Section 10 of the Tex

 – Texas Constitution. And object based on the confrontation in the Sixth Amendment of the U.S.

 Constitution.” In response, Mr. Howard stated:

         Your Honor, as far as the confrontation clause goes, this is a dying declara -- first of
         all, I’m going to address somebody uttering a dying declaration; also excited
         utterance, present sense impression. There’s no confrontation issue here because it
         was coming in during an emergency situation, not a -- not a testimonial aspect
         because there’s not a gathering of information for prosecution later.

 The trial court overruled the defense objection but granted Mr. Hultkrantz’s request for a running

 objection (RR Vol. 19, P. 24-25).

         Referring to the caller, Whitfield then testified, “She advised that her husband had either

 slapped or shot her. It was -- it was difficult to understand exactly what -- what she had said” (RR

 Vol. 19, P. 25). She subsequently testified that the caller had stated,


         She told me that, as I said, her head -- her head hurt. There was -- there was blood
         everywhere. She said that -- I asked her if the person who shot her was still there,
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         and she said, No, he left in a white Ford pickup truck with Mississippi plates. And
         I asked her her husband’s name. And it sounded -- the first name sounded like
         Steven, and she said Gardner”

 (RR Vol. 19, PP. 26-27).

         Whitfield then testified that the call lasted about 20 minutes then they got disconnected.

 When Whitfield attempted to call back she got the caller’s voicemail.




 B.      Argument and Authorities.

         1.      Standard of Review.

         In Crawford v. Washington, 541 U.S. 36, 62 (2011), the U.S. Supreme Court held:

         Where testimonial statements are involved, we do not think the Framers meant to
         leave the Sixth Amendment's protection to the vagaries of the rules of evidence,
         much less to amorphous notions of “reliability.” Certainly none of the authorities
         discussed above acknowledges any general reliability exception to the common-law
         rule. Admitting statements deemed reliable by a judge is fundamentally at odds with
         the right of confrontation. To be sure, the Clause's ultimate goal is to ensure
         reliability of evidence, but it is a procedural rather than a substantive guarantee. It
         commands, not that evidence be reliable, but that reliability be assessed in a
         particular manner: by testing in the crucible of cross-examination.




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         2.      The state court findings are not entitled to a presumption of correctness because
                 the trial record contradicts that Tammy “believed her death was imminent”

         In the direct appeal opinion, the Texas Court of Criminal Appeals held

         In his fifth point of error, appellant claims that the trial judge erred in permitting Erin
         Whitfield to testify to the contents of the 911 call Tammy made after she was shot.
         Appellant objected to Ms. Whitfield's testimony at trial, [footnote omitted] arguing
         that this testimony was hearsay and that it violated the Confrontation Clause of both
         the federal and Texas constitutions. The State argued that it was a nontestimonial
         statement and admissible as (1) a dying declaration, (2) an excited utterance, and (3)
         a present sense impression. Because we find that the 911 call was admissible as a
         dying declaration, [footnote omitted] we need not address its admissibility as a
         nontestimonial excited utterance or present-sense impression. Gardner, 306 S.W.3d
         at 289-290.

         ...

         All that the rule requires is sufficient evidence, direct or circumstantial, that
         demonstrates that the declarant must have realized that he was at death's door at
         the time that he spoke. It is both (1) the solemnity of the occasion – the speaker
         peering over the abyss into the eternal – which substitutes for the witness oath,
         [footnote omitted] and (2) the necessity principle – since the witness had died, there
         was a necessity for taking his only available trustworthy statements [footnote
         omitted] – that provide the underpinning for the doctrine. Gardner, 306 S.W.3d at
         291-292.

         ...

         In determining that sufficient evidence supported a finding that Tammy believed that
         her death was imminent, the trial judge could have relied upon the following facts:

         (1)     The single bullet entered her right temple, went through her brain, and exited
                 below her left ear. This was a mortal wound;

         (2)     Ms. Whitfield testified that Tammy's voice was very slurred and hard to
                 understand;

         (3)     Tammy kept repeating that her head hurt and that she could not hear very
                 well “because her ears were ringing from the gunshots”;

         (4)     She said that her husband had shot her, there was blood everywhere, and she
                 needed an ambulance;
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         (5)     Before the phone disconnected, Ms. Whitfield heard what sounded like
                 Tammy choking and vomiting;

         (6)     When the first deputy arrived, he found Tammy on the blood-soaked bed,
                 trying to sit up; she appeared to be in shock and was bleeding badly from
                 both the back and top right of her head;

         (7)     There was a trail of blood leading into the bathroom, around the toilet, and
                 in the trash can;

         (8)     When the paramedics finally arrived, Tammy was “spitting up a lot of blood”
                 and mumbling incomprehensibly;

         (9)     She was in a vegetative state and died at the hospital two days later.

         To satisfy the dying declaration exception, Tammy's sense of impending death may
         be established in any satisfactory mode, including her express words, her conduct,
         the severity of her wounds, the opinions of others stated to her, or any other relevant
         circumstances. [footnote omitted]. The totality of the circumstances set out in this
         record support the trial judge's conclusion that Tammy believed that her death was
         imminent at the time she made the 911 call, even though she did not expressly state
         that belief and no one explicitly told her that she was dying [footnote omitted].

 Gardner, 306 S.W.3d at 289-290, 291-292.



         The aforementioned nine (9) state court findings are not entitled to a presumption of

 correctness. Further, the conclusion that there was “sufficient evidence, direct or circumstantial, that

 demonstrate[d] that the declarant [Tammy] must have realized that [s]he was at death's door at the

 time that [s]he spoke,” is contrary to federal law.

         The state court relied on Mattox v. United States, 146 U.S. 140, 151-152 (1892) for the

 proposition:

         This may be made to appear from what the injured person said; or from the nature
         and extent of the wounds inflicted being obviously such that he must have felt or
         known that he could not survive; as well as from his conduct at the time and the
         communications, if any, made to him by his medical advisers, if assented to or
         understandingly acquiesced in by him. (Emphasis supplied).

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         While the aforementioned nine (9) recitals by the state court are not entitled to a presumption

 of correctness for several reasons. First, the state court is retrospectively making a fact finding to

 support its outcome that Tammy “felt or knew that she could not survive.” The state court’s fact

 finding that “Tammy believed that her death was imminent,” is speculative. No one can read the

 mind of another, or intuit a subjective belief. Third, – and as argued on direct appeal – nothing

 in the call between Tammy and the dispatcher demonstrated that Tammy believed her death was

 imminent. Gardner, 306 S.W.3d at 289-290, 291-292.

         Fourth, the testimony of William Armstrong an officer for Collin County contradicts the state

 court’s outcome determinative fact finding. Officer Armstrong testified that Tammy wanted to get

 out of bed and walk around:


         She way laying – when I first went in, she was laying down and she sat up and she
         kept wanting to get out of bed, .... She was trying to make words just wanted to get
         up and try to walk.

 (RR 19:49-50). The state court relied on Mattox for the proposition that the declarant made a dying

 declaration based on the “nature and extent of the wounds inflicted being obviously such that he

 must have felt or known that he could not survive....” However, the state court ignored the applicable

 portion of Mattox, which instructs that in making the determination, the court is to look to the

 “conduct at the time and the communications....” The trial record of Tammy’s conduct at the time

 contradicts that any statement made by Tammy was a dying declaration. Officer Armstrong testified

 that Tammy “sat up ... kept wanting to get out of bed, .... [trying] to get up and try[ing] to walk.”

 This conduct is not indicative of an individual who believed her death was imminent. Hence, any

 statement made to the dispatcher was not a dying declaration.




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         3.      The state court conclusion that the admission of the 911 call did not violate the
                 Confrontation Clause is contrary to and an unreasonable application of federal
                 law

         As the aforementioned reflects, the statements made by Tammy in the 911 was not a dying

 declaration. Hence, the state court’s reliance on dicta in Crawford, and Giles is unavailing.30

         Further, the statements made by Tammy about Petitioner were testimonial in nature:

         I asked her if the person who shot her was still there, and she said, No, he left in a
         white Ford pickup truck with Mississippi plates. And I asked her her husband’s
         name. And it sounded ... she said Gardner..

 (RR 19:49-50).

         The statements made in the 911 call in response to questioning by the dispatcher were not

 necessary to address an on-going emergency. Rather, the primary purpose of the questioning of the

 dispatcher was to establish or prove past events potentially relevant to later criminal prosecution.

 Hence, they were testimonial as Davis v. Washington, 547 U.S. 813 (2006) makes clear.

         In Davis, the Supreme Court held:

         The question before us in Davis, then, is whether, objectively considered, the
         interrogation that took place in the course of the 911 call produced testimonial
         statements. When we said in Crawford, 124 S.Ct. 1354, that “interrogations by law


    30
         Gardner, 306 S.W.3d at 289, n. 20:

       Appellant concedes that if Tammy's 911 call qualified as a dying declaration,
       “neither the Confrontation Clause nor Crawford [v. Washington, 541 U.S. 36 (2004)]
       or Davis [v. Washington, 547 U.S. 813 (2006)] would bar its admission.” Appellant's
       Brief at 44. Although this question was not explicitly addressed by the Supreme
       Court, appellant's concession seems well taken. See Crawford, 541 U.S. at 56 n. 6
       (“We need not decide in this case whether the Sixth Amendment incorporates an
       exception for testimonial dying declarations. If this exception must be accepted on
       historical grounds, it is sui generis.”); Giles v. California, 554 U.S. 353, 361-362
       (2008) (“We have previously acknowledged that two forms of testimonial statements
       were admitted at common law even though they were unconfronted. The first of
       these were declarations made by a speaker who was both on the brink of death and
       aware that he was dying....
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           enforcement officers fall squarely within [the] class” of testimonial hearsay, we had
           immediately in mind (for that was the case before us) interrogations solely directed
           at establishing the facts of a past crime, in order to identify (or provide evidence to
           convict) the perpetrator. The product of such interrogation, whether reduced to a
           writing signed by the declarant or embedded in the memory (and perhaps notes) of
           the interrogating officer, is testimonial. .... A 911 call, on the other hand, and at
           least the initial interrogation conducted in connection with a 911 call, is ordinarily
           not designed primarily to “establis[h] or prov[e]” some past fact, but to describe
           current circumstances requiring police assistance. Davis, 547 U.S. at 826.

           ....

           In this case, for example, after the operator gained the information needed to address
           the exigency of the moment, the emergency appears to have ended (when Davis
           drove away from the premises). The operator then told McCottry to be quiet, and
           proceeded to pose a battery of questions. It could readily be maintained that, from
           that point on, McCottry's statements were testimonial, not unlike the “structured
           police questioning” that occurred in Crawford, 541 U.S. at 53, n. 4


 Davis, 547 U.S. at 828-829.

           Accordingly, the state trial court was required to “redact or exclude the portions of any

 statement that have become testimonial, as they do, for example, with unduly prejudicial portions

 of otherwise admissible evidence.” Davis, 547 U.S. at 829. The trial court failed to do so.

           Given that the fact findings of the state court in its direct appeal opinion were rebutted by

 clear and convincing evidence in the trial record, and that the state court incorrectly held that the 911

 call did not violate the Confrontation Clause, this court should grant habeas relief. U.S. CONST .

 amend. VI, Crawford v. Washington, 541 U.S. 36 (2004); Davis v. Washington, 547 U.S. 813

 (2006).




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                                             CONCLUSION

         For the reasons set forth above, Mr. Gardner is entitled to relief from his unconstitutional

 conviction and sentence.

         WHEREFORE, Mr. Gardner prays that this federal court:

         1.      Issue a writ of habeas corpus to him brought before it, to the end that he may be

 discharged from his unconstitutional confinement and restraint and/or relieved of his

 unconstitutional sentence of death;

         2.      Grant him one or more hearings (see separately filed motion accompanying this

 petition) at which he may present any evidence in support of his claims, and allow him a reasonable

 period of time subsequent to any hearing this court determines to brief the issues of fact and of law

 raised by this Petition or such hearing.

         3.      Direct that under Habeas Corpus Rule 7, the record in this case be expanded to

 include the “additional materials relevant to the determination of the merits of the petition” which

 are found in exhibits filed with this Petition.



                                                                             Respectfully submitted,




                                                           ___________________________________
                                                                               Lydia M.V. Brandt
                                                                          Texas Bar No. 00795262
                                                                      THE BRANDT LAW FIRM , P.C.




 _____________________
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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION

 JOHN STEVEN GARDNER                                      )
                Petitioner                                )
                                                          )        1:10-CV-610
 v.                                                       )
                                                          )
 RICK THALER, Director                                    )
 Texas Department of Criminal Justice,                    )        (Death Penalty Case)
 Correctional Institutions Division,                      )
                        Respondent                        )



                                            VERIFICATION

         I, Lydia M.V. Brandt, pursuant to 28 U.S.C. § 2242, acting on behalf of Petitioner, certify

 under penalty of perjury that the foregoing Petition for Writ of Habeas Corpus is true and correct

 to the best of my belief.

         DATE: September 7, 2011




                                                                    ______________________________
                                                                                     Lydia M.V. Brandt
                                                                               Texas Bar No. 00795262
                                                                           THE BRANDT LAW FIRM , P.C.
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                                    CERTIFICATE OF SERVICE

         This certifies that on September 7, 2011, I electronically filed the foregoing document with

 the clerk of court for the US District Court Northern District Texas using the electronic case filing

 system of the court. The electronic case filing system sent a notice of electronic filing to the

 following attorney of record, who has consented in writing to accept this notice as service of this

 document by electronic means:

         Matthew Ottoway, Assistant Attorney General
         Attorney General’s Office
         Post Conviction Division
         P.O. Box 12548
         Austin, TX 78711




                                                                        _______________________
                                                                                Lydia M.V. Brandt




 cc:     Mr. John Steven Gardner
         #999-516
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 EXHIBITS


 FEDERAL HABEAS EXHIBITS

         Exhibit 1:              Shelli Schade Billing Records

         Exhibit 2:              Defense Team Billing Records

         Exhibit 3A&B:           Findings of Fact & Conclusions of Law (3A) and TCCA Sept 15,
                                 2010 Order Denying Habeas Relief (3B)

         Exhibit 4:              Joint Affidavit of House and Hultkrantz




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